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·1· · · · · IN THE UNITED STATES DISTRICT COURT FOR THE
· · · · · · · · · · · · DISTRICT OF COLORADO
·2
· · · · · · · · · · ·CASE NO. 1:14-cv-02887-JLK
·3

·4· ·ALEJANDRO MENOCAL, et al.,

·5· · · · · · · · · ·Plaintiffs,

·6· ·-vs-

·7· ·THE GEO GROUP, INC.,

·8· · · · · · · · ·Defendant.
· · ·__________________________________/
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13· · · · · · · · · ·DEPOSITION OF AMBER MARTIN
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17·   · · · · · · · · ·Wednesday, October 9, 2019
· ·   · · · · · · · · · ·8:58 a.m. - 3:21 p.m.
18
· ·   · · · · · · · · · · · 951 Yamato Road
19·   · · · · · · · · · · · · ·Suite 285
· ·   · · · · · · · · ·Boca Raton, Florida 33431
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24· · · · · · · · ·Stenographically Reported By:
· · · · · · · · · · · ·Nancy Cannizzaro, RMR
25· · · · · · · · · ·Registered Merit Reporter


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    ·4· · · ·685 Third Avenue                                               · ·   ·   · ·   · · · ·GEO_MEN 00040670
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    · · · · ·212.245.1000                                                   ·6·   ·   · ·   · · · · · · · · · ·CONFIDENTIAL
    ·6· · · ·mscimone@outtengolden.com                                      ·7·   ·   No.   9· · · Award/Contract - Bates stamp Nos.· · · · · ·90
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    · · · · ·Suite 1700                                                     11·   ·   · ·   · ·   ·   ·Bates stamp Nos. GEO-MEN 00105553
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    ·1·   · ·Deposition taken before Nancy Cannizzaro, Registered       ·1·   ·talking about things that happened in the past and you
    ·2·   ·Merit Reporter and Notary Public in and for the State of     ·2·   ·may have a partial memory of something, but part of the
    ·3·   ·Florida at Large, in the above cause, at 8:58 a.m.           ·3·   ·oath you take is to tell the whole truth.· And so to the
    ·4·   · · · · · · · · · · · ·- - - - - - -                          ·4·   ·extent that you have a partial memory of something or you
    ·5·   · · · · · · · ·THE COURT REPORTER:· Ma'am, I'll have you      ·5·   ·recall some aspect of a conversation or part of a
    ·6·   · · · · ·raise your right hand for me so that I can swear     ·6·   ·transaction or series of events, I'm entitled to know
    ·7·   · · · · ·you in.                                              ·7·   ·that part of it.· And it's helpful to me if you let me
    ·8·   · · · · · · · ·Do you swear or affirm testimony you're        ·8·   ·know that it's only a partial recollection and you don't
    ·9·   · · · · ·about to give shall be the truth, the whole truth,   ·9·   ·remember the other part.· So that makes for a clearer
    10·   · · · · ·and nothing but the truth?                           10·   ·record.· We would all appreciate that.
    11·   · · · · · · · ·THE WITNESS:· Yes, I do.                       11·   · · · · · · · ·You can take a break at any time as long as
    12·   ·Thereupon,                                                   12·   ·there's no pending question.· You've heard all this
    13·   · · · · · · · · · · · ·AMBER MARTIN,                          13·   ·before, I'm sure.
    14·   ·A WITNESS CALLED by the Plaintiffs, being first duly         14·   · · · · · · · ·And your attorney may state an objection at
    15·   ·sworn or affirmed, testified as follows:                     15·   ·some point, but the rule at a deposition is that unless
    16·   · · · · · · · · · · ·DIRECT EXAMINATION                       16·   ·he instructs you not to answer the question, you go ahead
    17·   ·BY MR. SCIMONE:                                              17·   ·and answer the question anyway.
    18·   · · · · ·Q.· · Good morning, Ms. Martin.                      18·   · · · · · · · ·All familiar territory, I assume?
    19·   · · · · ·A.· · Good morning.                                  19·   · · · · ·A.· · Yes.
    20·   · · · · ·Q.· · My name is Michael Scimone.· I'm an            20·   · · · · ·Q.· · Okay.· You said you were deposed about
    21·   ·attorney representing the plaintiffs in this case.           21·   ·three months ago.· What kind of matter was that in?
    22·   · · · · · · · ·Have you ever been deposed before?             22·   · · · · ·A.· · It was in the election committee matter.
    23·   · · · · ·A.· · Yes.                                           23·   · · · · ·Q.· · Election committee for what?
    24·   · · · · ·Q.· · So I'm going to go over just a couple of       24·   · · · · ·A.· · For the federal government.
    25·   ·ground rules, which I'm sure you've heard before.            25·   · · · · ·Q.· · Oh, okay.

                                                             Page 7                                                             Page 9
    ·1·   · · · · · · · ·How recently, by the way, were you deposed?    ·1·   · · · · ·A.· · It was a legislative branch deposition.
    ·2·   · · · · ·A.· · About three months ago.                        ·2·   · · · · ·Q.· · Okay.· Which legislature?
    ·3·   · · · · ·Q.· · Okay.· So this should all be pretty fresh      ·3·   · · · · ·A.· · Oh, God.· I want to say House.
    ·4·   ·in your mind.· Ground rules are worth repeating.             ·4·   · · · · ·Q.· · Got it.· And so that was a legislative
    ·5·   · · · · · · · ·You have to give a verbal answer to my         ·5·   ·committee deposition.· Have you ever given a deposition
    ·6·   ·questions today.· No nods, shrugs, or gestures.· And         ·6·   ·in a lawsuit?
    ·7·   ·please wait for me to finish asking my question before       ·7·   · · · · ·A.· · Yes.
    ·8·   ·you start to answer.· It's a natural speech pattern that     ·8·   · · · · ·Q.· · Okay.· How many times have you been
    ·9·   ·just about everybody has that we start to answer as soon     ·9·   ·deposed?
    10·   ·as we know where the person is going or think we do, but     10·   · · · · ·A.· · Approximately about 20, 25 times.
    11·   ·I sometimes change direction, which I try not to do, but     11·   · · · · ·Q.· · Okay.· So you're an old hand at this.
    12·   ·it sometimes happens.· So wait until you hear the whole      12·   · · · · · · · ·So what did you do to prepare for today's
    13·   ·question so you can be sure exactly what it is that I'm      13·   ·deposition?· And I'm not asking -- please don't disclose
    14·   ·asking and answer that question and not have kind of a       14·   ·the content of anything you discussed with your attorney.
    15·   ·false start.· And it also makes it easier, of course, for    15·   ·But just in general, what have you done to prepare for
    16·   ·the court reporter to take down everything that happens      16·   ·today?
    17·   ·today.                                                       17·   · · · · ·A.· · Spoke to my attorney, spoke to in-house
    18·   · · · · · · · ·So you're under oath today.· And you           18·   ·counsel.
    19·   ·understand that's the same oath that you would take if       19·   · · · · ·Q.· · How many times did you meet with your
    20·   ·you were in court testifying before a judge or jury,         20·   ·attorney?
    21·   ·correct?                                                     21·   · · · · ·A.· · Once.
    22·   · · · · ·A.· · Correct.                                       22·   · · · · ·Q.· · For about how long?
    23·   · · · · ·Q.· · Okay.· And so just one thing about that        23·   · · · · ·A.· · Two hours.
    24·   ·oath that I always sort of remind people, is that it's an    24·   · · · · ·Q.· · And how long ago was that?
    25·   ·oath to tell the whole truth, and so we're going to be       25·   · · · · ·A.· · Yesterday.


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    ·1·   · · · · ·Q.· · Was that in person?                            ·1·   · · · · ·Q.· · And any other kind of certification or
    ·2·   · · · · ·A.· · Yes.                                           ·2·   ·training other than bachelor's degree?
    ·3·   · · · · ·Q.· · And how many times have you spoken with        ·3·   · · · · ·A.· · I'm a member of the American Corrections
    ·4·   ·in-house counsel to prepare?                                 ·4·   ·Association and a member of the Executive Women in
    ·5·   · · · · ·A.· · Once or twice.                                 ·5·   ·Corrections.
    ·6·   · · · · ·Q.· · When was that?                                 ·6·   · · · · ·Q.· · And so do those come with educational
    ·7·   · · · · ·A.· · Probably about two months ago.                 ·7·   ·certifications?
    ·8·   · · · · ·Q.· · Okay.· Was anybody else present for your       ·8·   · · · · ·A.· · Continuing education, yes.
    ·9·   ·meeting with your attorney outside counsel?                  ·9·   · · · · ·Q.· · Okay.· What's your current title at The GEO
    10·   · · · · ·A.· · Just in-house counsel.                         10·   ·Group?
    11·   · · · · ·Q.· · So in-house counsel and outside counsel?       11·   · · · · ·A.· · Executive vice president for contract
    12·   · · · · ·A.· · Uh-huh.                                        12·   ·administration.
    13·   · · · · ·Q.· · Got it.· Did you review any documents to       13·   · · · · ·Q.· · How long have you been in that position?
    14·   ·prepare for today?                                           14·   · · · · ·A.· · I've been in that position since -- the
    15·   · · · · ·A.· · Yes.                                           15·   ·executive position since 2014.
    16·   · · · · ·Q.· · What did you review?                           16·   · · · · ·Q.· · What was your title prior to 2014?
    17·   · · · · · · · ·MR. BARNACLE:· I'm going to object on          17·   · · · · ·A.· · Vice president of contract administration.
    18·   · · · · ·work-product privilege.· I'm going to instruct her   18·   · · · · ·Q.· · So you've given executive and vice
    19·   · · · · ·not to answer the question.                          19·   ·president in 2014.· That was the change?
    20·   ·BY MR. SCIMONE:                                              20·   · · · · ·A.· · Yes.
    21·   · · · · ·Q.· · How many documents did you review?             21·   · · · · ·Q.· · What was the difference between being vice
    22·   · · · · ·A.· · Probably five or six.                          22·   ·president and then executive vice president?
    23·   · · · · · · · ·MR. SCIMONE:· And so you're instructing the    23·   · · · · ·A.· · More responsibility.
    24·   · · · · ·witness not to answer about what she looked at to    24·   · · · · ·Q.· · And when you say "more responsibility,"
    25·   · · · · ·prepare for today's deposition?                      25·   ·does that mean a difference in scope in terms of, like,

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    ·1·   · · · · · · · ·MR. BARNACLE:· The content, yes.               ·1·   ·number of facilities you were responsible for or
    ·2·   · · · · · · · ·MR. SCIMONE:· Okay.· We're going to mark       ·2·   ·something else?
    ·3·   · · · · ·that for a ruling.                                   ·3·   · · · · ·A.· · Yes.· We acquired several companies and so
    ·4·   · · · · · · · ·MR. BARNACLE:· Sure.                           ·4·   ·my scope grew.
    ·5·   ·BY MR. SCIMONE:                                              ·5·   · · · · ·Q.· · About when did those acquisitions happen?
    ·6·   · · · · ·Q.· · Okay.· Did you do anything else outside of     ·6·   · · · · ·A.· · Well, there's several acquisitions over the
    ·7·   ·your preparation sessions to prepare for today or refresh    ·7·   ·years.· The last acquisition was in 2016.
    ·8·   ·your memory?                                                 ·8·   · · · · ·Q.· · Okay.· And how long were you in the
    ·9·   · · · · ·A.· · No, I did not.                                 ·9·   ·position of vice president for contract administration?
    10·   · · · · ·Q.· · Okay.· When did you first find out about       10·   · · · · ·A.· · I became vice president of contract
    11·   ·this lawsuit?                                                11·   ·administration in 2011.
    12·   · · · · ·A.· · It's been probably about four years ago.       12·   · · · · ·Q.· · Prior to that, what title did you hold?
    13·   · · · · ·Q.· · And how did you come to learn about it?        13·   · · · · ·A.· · Vice president of contract administration,
    14·   · · · · ·A.· · In conversation with my in-house counsel.      14·   ·contract compliance.
    15·   · · · · ·Q.· · Okay.· Have you had any involvement in         15·   · · · · ·Q.· · So just let me try to unpack the title.
    16·   ·searching for documents related to this lawsuit?             16·   · · · · · · · ·So is that vice president for contract
    17·   · · · · ·A.· · Yes, I have.                                   17·   ·administration within the contract compliance department
    18·   · · · · ·Q.· · And have you provided documents to your        18·   ·or did you have two separate responsibilities?
    19·   ·attorneys in connection with this lawsuit?                   19·   · · · · ·A.· · I had two separate responsibilities.
    20·   · · · · ·A.· · Yes, I have.                                   20·   · · · · ·Q.· · I see.· And so broadly speaking, can you
    21·   · · · · ·Q.· · Okay.· What's your educational background?     21·   ·just describe kind of what those two areas were.
    22·   · · · · ·A.· · I have a bachelor's degree in criminal         22·   · · · · ·A.· · Contract compliance is the audit function
    23·   ·justice.                                                     23·   ·of the contractual team.· Contract administration is the
    24·   · · · · ·Q.· · Okay.· Any post-college education?             24·   ·administration of contracts dealing with modifications
    25·   · · · · ·A.· · No.                                            25·   ·and negotiations.


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    ·1·   · · · · ·Q.· · And did the contract compliance function      ·1·   · · · · ·Q.· · Okay.· So you said -- so your current --
    ·2·   ·shift to a different person?                                ·2·   ·well, I'm going to focus most of my questions today on
    ·3·   · · · · ·A.· · Yes.                                          ·3·   ·the period from 2004 to 2014.
    ·4·   · · · · ·Q.· · Okay.· And who now fills that role?           ·4·   · · · · ·A.· · Okay.
    ·5·   · · · · ·A.· · The current -- it's Dan Ragsdale.             ·5·   · · · · ·Q.· · And so just keep that in mind.· It's kind
    ·6·   · · · · ·Q.· · And was that about 2011 that he became        ·6·   ·of a framing point.· But please specify if it's unclear
    ·7·   ·that?                                                       ·7·   ·or ask me to clarify if it's unclear what time period I'm
    ·8·   · · · · ·A.· · No.                                           ·8·   ·focusing on.· So I'm going to focus, I think, mostly on
    ·9·   · · · · ·Q.· · When did he become the person in charge of    ·9·   ·the role in contract administration.
    10·   ·contract compliance?                                        10·   · · · · · · · ·So can you -- you said that involves
    11·   · · · · ·A.· · I think he's been there about two years, so   11·   ·responsibility for administration and negotiation of
    12·   ·probably 2017, if I'm right.                                12·   ·contracts and modifications.· Did I get that right?
    13·   · · · · ·Q.· · And who preceded him in that role?            13·   · · · · ·A.· · Yes.
    14·   · · · · ·A.· · Patricia Persante.                            14·   · · · · ·Q.· · Okay.· And is that -- you have an executive
    15·   · · · · ·Q.· · And does that take us back to 2011?           15·   ·role at that --
    16·   · · · · ·A.· · Yes.                                          16·   · · · · ·A.· · Yes.
    17·   · · · · ·Q.· · Okay.· How long were you vice president       17·   · · · · ·Q.· · -- in that area?
    18·   ·responsible for contract administration and compliance?     18·   · · · · · · · ·And so how many direct reports do you have?
    19·   · · · · ·A.· · Since 2000.                                   19·   · · · · ·A.· · Seventeen.
    20·   · · · · ·Q.· · Okay.· Prior to 2000, what role did you       20·   · · · · ·Q.· · I won't ask you to name them all, but can
    21·   ·hold?                                                       21·   ·you describe their roles or titles?
    22·   · · · · ·A.· · Regional director for contract compliance.    22·   · · · · ·A.· · I have two particular departments within
    23·   · · · · ·Q.· · And how long were you in that position?       23·   ·contract administration.· One is research and
    24·   · · · · ·A.· · A little over a year.· Since November of      24·   ·development; so I have a senior director over that.· And
    25·   ·1998.                                                       25·   ·then the other is basically administering the

                                                           Page 15                                                            Page 17
    ·1·   · · · · ·Q.· · Did you hold any other positions at The GEO   ·1·   ·modifications and clarifying all the financial aspects;
    ·2·   ·Group prior to that?                                        ·2·   ·so I have a senior director over finance.· And there are
    ·3·   · · · · ·A.· · No.                                           ·3·   ·people underneath both of them.
    ·4·   · · · · ·Q.· · And did you work anywhere else before 1998?   ·4·   · · · · ·Q.· · Who is the senior for R&D?
    ·5·   · · · · ·A.· · Yes.· I was with the Department of Criminal   ·5·   · · · · ·A.· · His name is Dan O'Donnell.
    ·6·   ·Justice for the State of Texas.                             ·6·   · · · · ·Q.· · And the other person, is that a director of
    ·7·   · · · · ·Q.· · For about how long?                           ·7·   ·finance, did you say?
    ·8·   · · · · ·A.· · Fifteen years.                                ·8·   · · · · ·A.· · Yes.· Senior director of finance.
    ·9·   · · · · ·Q.· · And prior to that, did you have any           ·9·   · · · · ·Q.· · Senior director.· Who is in that title?
    10·   ·employment?                                                 10·   · · · · ·A.· · Andrew Grossman.
    11·   · · · · ·A.· · Yes.· I was -- where was I?· I was a cop.     11·   · · · · ·Q.· · And when you say "administering contract
    12·   ·And then I was, before that, a manager in the Hilton        12·   ·modifications," what does that entail?
    13·   ·hotels.                                                     13·   · · · · ·A.· · Once modifications have been finalized --
    14·   · · · · ·Q.· · Okay.· About how long were you a police       14·   ·negotiated and finalized, they will come through.
    15·   ·officer?                                                    15·   ·They're tracked.· They make sure that everything is, you
    16·   · · · · ·A.· · About eight months.                           16·   ·know, complete and correct and accurate on the
    17·   · · · · ·Q.· · And where were you a police officer?          17·   ·modification.· If there is anything that's not accurate,
    18·   · · · · ·A.· · San Antonio, Texas.                           18·   ·then they go back to the client and, you know, work those
    19·   · · · · ·Q.· · And about how long were you manager at        19·   ·things out.· Once that comes in, then we have a database.
    20·   ·Hilton?                                                     20·   ·They distribute things.· They make sure they're, you
    21·   · · · · ·A.· · Approximately year and a half.                21·   ·know, up in the database with the contracts and
    22·   · · · · ·Q.· · Any employment prior to that?                 22·   ·everything is correct.
    23·   · · · · ·A.· · College and Pizza Hut.                        23·   · · · · ·Q.· · And has that general sort of overview you
    24·   · · · · ·Q.· · Okay.· Got the good-old college jobs.         24·   ·described been consistent in the period from 2004 to
    25·   · · · · ·A.· · Thank you.· You're making me remember.        25·   ·2014?


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    ·1·   · · · · ·A.· · It became more formal in 2011.                ·1·   · · · · ·Q.· · And prior to that, how long ago?
    ·2·   · · · · ·Q.· · Okay.· In what way?                           ·2·   · · · · ·A.· · Probably about six years would be a guess.
    ·3·   · · · · ·A.· · That we introduced a contract database.· It   ·3·   · · · · ·Q.· · And prior to that, did you visit Aurora
    ·4·   ·came more to put the technology more up to date.            ·4·   ·infrequently or frequently?
    ·5·   · · · · ·Q.· · So when you say that you review the           ·5·   · · · · ·A.· · Infrequently.
    ·6·   ·modifications to make sure they're complete, correct, and   ·6·   · · · · ·Q.· · Can you say on average about how often you
    ·7·   ·accurate, what are you reviewing for accuracy?· Is that a   ·7·   ·visited Aurora prior to that?
    ·8·   ·preexisting contract you're looking at or something else?   ·8·   · · · · ·A.· · Maybe once every three years.
    ·9·   · · · · ·A.· · When we're talking about modifications,       ·9·   · · · · ·Q.· · Okay.· And what was the purpose of those
    10·   ·we're modifying the existing contracts and we're looking    10·   ·visits?
    11·   ·for accuracy, as far as terminology, financial aspects,     11·   · · · · ·A.· · Which ones?
    12·   ·dates, you know, and everything that we've agreed to is     12·   · · · · ·Q.· · Okay.· Fair enough.· What was the purpose
    13·   ·in the modification.                                        13·   ·of your visit two months ago?
    14·   · · · · ·Q.· · Okay.· About how many people work in the      14·   · · · · ·A.· · I was actually visiting our satellite
    15·   ·research and development department?                        15·   ·office in Boulder, and since it had been a while since I
    16·   · · · · ·A.· · Well, the research and development            16·   ·had been to Aurora, I decided to take a side visit to
    17·   ·department also has the satellite office, which is in       17·   ·Aurora.
    18·   ·Boulder.                                                    18·   · · · · ·Q.· · And what did you do at the Aurora facility
    19·   · · · · ·Q.· · About how many people work there?             19·   ·when you visited two months ago?
    20·   · · · · ·A.· · There's four people that work there and       20·   · · · · ·A.· · I toured the facility and talked to the
    21·   ·then there's four that work in the corporate office.· So    21·   ·warden.
    22·   ·eight.                                                      22·   · · · · ·Q.· · Did you talk to anyone else there?
    23·   · · · · ·Q.· · Okay.· And where is the finance department    23·   · · · · ·A.· · I'm sure I did with the staff, but I
    24·   ·located?                                                    24·   ·couldn't tell you who it was I talked to.
    25·   · · · · ·A.· · In Boca, the corporate office.                25·   · · · · ·Q.· · Who is the current warden?

                                                           Page 19                                                            Page 21
    ·1·   · · · · ·Q.· · And are there about nine people in that       ·1·   · · · · ·A.· · Johnny Choate.
    ·2·   ·office?                                                     ·2·   · · · · ·Q.· · And do you recall what the purpose of your
    ·3·   · · · · ·A.· · Yes.                                          ·3·   ·visit six years ago was?
    ·4·   · · · · ·Q.· · I meant in that department, not the Boca      ·4·   · · · · ·A.· · No, I don't.
    ·5·   ·office as a whole.                                          ·5·   · · · · · · · ·(Plaintiff Exhibit No. 1 was marked for
    ·6·   · · · · ·A.· · I'm sorry.· There's six.· I'm off on the      ·6·   · · · · ·identification.)
    ·7·   ·17.· I apologize.                                           ·7·   ·BY MR. SCIMONE:
    ·8·   · · · · ·Q.· · Okay.· So you have, in total, about 14        ·8·   · · · · ·Q.· · Ms. Martin, the court reporter has just
    ·9·   ·direct employees?                                           ·9·   ·handed you an exhibit which we've marked as A. Martin
    10·   · · · · ·A.· · I actually have an administrative assistant   10·   ·Exhibit 1.· And have you ever seen this document before?
    11·   ·also.                                                       11·   · · · · ·A.· · No, I haven't.
    12·   · · · · ·Q.· · Got it.· Whom do you report to?               12·   · · · · ·Q.· · Okay.· I can represent to you that this is
    13·   · · · · ·A.· · The CEO.                                      13·   ·a document that was created as part of this litigation by
    14·   · · · · ·Q.· · Who is that?                                  14·   ·The GEO Group and served on plaintiffs' counsel, and it's
    15·   · · · · ·A.· · George Zoley.                                 15·   ·a discovery document providing answers to certain
    16·   · · · · ·Q.· · Are you familiar with the Aurora, Colorado    16·   ·questions that we've posed called interrogatories.
    17·   ·facility?                                                   17·   · · · · · · · ·Have you ever answered interrogatories --
    18·   · · · · ·A.· · Yes, I am.                                    18·   · · · · ·A.· · Yes.
    19·   · · · · ·Q.· · Have you been there before?                   19·   · · · · ·Q.· · -- as part of a lawsuit before?
    20·   · · · · ·A.· · Yes, I have.                                  20·   · · · · ·A.· · Yes, I have.
    21·   · · · · ·Q.· · About how often do you visit the Aurora       21·   · · · · ·Q.· · Have you answered any interrogatories as
    22·   ·facility?                                                   22·   ·part of this lawsuit?
    23·   · · · · ·A.· · I hadn't visited the Aurora facility in       23·   · · · · ·A.· · No, I haven't.
    24·   ·years.· The last time I was there was approximately two     24·   · · · · ·Q.· · Okay.· If you could please turn to
    25·   ·months ago.                                                 25·   ·page 8 -- sorry, page 7 of the document.· So you'll see


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    ·1·   ·there is -- I'm going to direct your attention to the top   ·1·   · · · · ·Q.· · So it's possible there's a number of
    ·2·   ·half of the page, which is a continuation from page 6 of    ·2·   ·communications that happen between people at ICE and
    ·3·   ·a response to one of our interrogatories, and I'm just      ·3·   ·people at GEO.· But my question is really who has
    ·4·   ·going to direct your attention to the last paragraph        ·4·   ·responsibility for those communications and speak -- in
    ·5·   ·here.· And so this is written by The GEO Group and it's     ·5·   ·terms of speaking on behalf of The GEO Group and making
    ·6·   ·in response to our question saying: Subject and without     ·6·   ·official communications.
    ·7·   ·waiving any above-stated objections, GEO Group responds:    ·7·   · · · · · · · ·So this answer says that you are
    ·8·   · · · · · · · ·"The following GEO Group employee was         ·8·   ·responsible for communicating with ICE regarding
    ·9·   ·responsible for communicating with ICE regarding            ·9·   ·compliance with the contract and legal requirements
    10·   ·compliance with the contractual and legal requirements      10·   ·associated with the contract.· And I'm wondering if there
    11·   ·associated with GEO's contract with ICE to operate the      11·   ·are other people who have kind of a principal
    12·   ·Aurora detention facility between October 22, 2004, and     12·   ·responsibility in their official capacity at The GEO
    13·   ·October 22, 2014: Amber Martin; executive vice president,   13·   ·Group for communicating with ICE about Aurora?
    14·   ·contract administration," and then provides your dates of   14·   · · · · ·A.· · Well, obviously the on-site ICE staff would
    15·   ·employment.                                                 15·   ·be communicating with the warden.
    16·   · · · · · · · ·So is this statement accurate, that you       16·   · · · · ·Q.· · Okay.· The warden --
    17·   ·have knowledge about those matters?                         17·   · · · · ·A.· · The facility administrator.
    18·   · · · · ·A.· · Yes.                                          18·   · · · · ·Q.· · Those two terms are used interchangeably?
    19·   · · · · ·Q.· · Okay.· And that's true throughout this time   19·   · · · · ·A.· · Yes.
    20·   ·period that they -- that's stated in this document?         20·   · · · · ·Q.· · Okay.· Anyone else?
    21·   · · · · ·A.· · Yes.                                          21·   · · · · ·A.· · As far as official communications, I would
    22·   · · · · ·Q.· · Okay.· During that time period, was there     22·   ·be the main point of contact.
    23·   ·anyone else who was responsible for communicating with      23·   · · · · ·Q.· · And is it fair to say that if other people
    24·   ·ICE about the Aurora facility?                              24·   ·are having official communications with ICE, that you
    25·   · · · · ·A.· · In what respect?                              25·   ·should generally be made aware of that given your role

                                                           Page 23                                                            Page 25
    ·1·   · · · · ·Q.· · It's a broad question, and I'm trying to      ·1·   ·and position?
    ·2·   ·get an answer about anyone at The GEO Group who was         ·2·   · · · · ·A.· · Yes, sir.
    ·3·   ·responsible for that.· Can you let me know how many --      ·3·   · · · · ·Q.· · Okay.· Who was your primary point of
    ·4·   ·generally speaking, you know, what's the scope of the       ·4·   ·contact at ICE during the 2004 to 2014 time period?· And
    ·5·   ·answer there?· Are we talking about a lot of people, a      ·5·   ·if people changed, the title or position is sufficient.
    ·6·   ·handful?                                                    ·6·   · · · · ·A.· · Well, it would be the contracting officers
    ·7·   · · · · ·A.· · Are you specifically talking about people     ·7·   ·who are stationed out of DC and Laguna Nigel, in
    ·8·   ·specifically communicating with ICE about these issues?     ·8·   ·California.· During that time, there was also contracting
    ·9·   · · · · ·Q.· · That's correct.                               ·9·   ·officers in Dallas, I believe.· The contracting officer
    10·   · · · · ·A.· · I would guess it would be several people.     10·   ·is obviously the warrant of the contract, and that would
    11·   ·It would be operations people, there would be regional      11·   ·be my counterpart, for their leadership.
    12·   ·people, there would be compliance people.· That pretty      12·   · · · · ·Q.· · You said, I think, Laguna Nigel.· I didn't
    13·   ·much would -- health services possibly.                     13·   ·catch that reference.· Is that a person or --
    14·   · · · · ·Q.· · Okay.· Who are the officers with principal    14·   · · · · ·A.· · Contracting office.· I'm just telling you
    15·   ·responsibility for those communications other than          15·   ·where contracting offices are.
    16·   ·yourself, if any?                                           16·   · · · · ·Q.· · Oh, I see.· That's where the office is
    17·   · · · · ·A.· · When you say responsible for communications   17·   ·located?
    18·   ·with ICE, I'm not understanding the question.               18·   · · · · ·A.· · Uh-huh.
    19·   · · · · ·Q.· · Sure.· So as I understand it, GEO has         19·   · · · · ·Q.· · Got it.
    20·   ·contact with ICE in many different capacities; is that      20·   · · · · ·A.· · During that tenure of time, those positions
    21·   ·fair to say?                                                21·   ·have changed over several times.
    22·   · · · · ·A.· · Yes.                                          22·   · · · · ·Q.· · Understood.· But, generally, the
    23·   · · · · ·Q.· · For example, there are ICE personnel          23·   ·contracting officer is the primary point of contact?
    24·   ·on-site at Aurora, correct?                                 24·   · · · · ·A.· · The contracting officer and the office of
    25·   · · · · ·A.· · Correct.                                      25·   ·acquisition would be my general point of contact.


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    ·1·   · · · · ·Q.· · The contracting officer sits within the       ·1·   ·warden at the Aurora facility currently, correct?
    ·2·   ·office of the contracting --                                ·2·   · · · · ·A.· · Correct.
    ·3·   · · · · ·A.· · Yes.                                          ·3·   · · · · ·Q.· · Okay.· And do you recognize the attachment
    ·4·   · · · · ·Q.· · -- sorry, office of acquisitions?             ·4·   ·to this e-mail?
    ·5·   · · · · ·A.· · Office of acquisitions, uh-huh.               ·5·   · · · · ·A.· · Yes.
    ·6·   · · · · ·Q.· · Okay.· Are there other officials at the       ·6·   · · · · ·Q.· · What do you recognize it to be?
    ·7·   ·office of acquisitions who have ongoing contact about the   ·7·   · · · · ·A.· · It's the table of contents for the
    ·8·   ·Aurora facility with GEO Group?                             ·8·   ·corporate policies.
    ·9·   · · · · ·A.· · With me?                                      ·9·   · · · · ·Q.· · And if you'll turn to the last page of that
    10·   · · · · ·Q.· · You or others at GEO.· I'm just trying to     10·   ·attachment and look at the bottom, there is a statement
    11·   ·get a picture of who else besides the contracting officer   11·   ·and a signature block there with your name printed.
    12·   ·may be in communication.                                    12·   · · · · · · · ·Do you see that?
    13·   · · · · ·A.· · Well, there's supervisors that have a         13·   · · · · ·A.· · Correct.
    14·   ·relationship with the LRQ.                                  14·   · · · · ·Q.· · Is that your signature on the signature
    15·   · · · · ·Q.· · Is that a particular title or official?       15·   ·line?
    16·   · · · · ·A.· · There's assistant directors, there's          16·   · · · · ·A.· · That's my electronic signature, yes.
    17·   ·directors.                                                  17·   · · · · ·Q.· · Okay.· And it's dated September 24, 2014.
    18·   · · · · · · · ·MR. SCIMONE:· Okay.· Let's mark another       18·   ·You see that?
    19·   · · · · ·exhibit.                                            19·   · · · · ·A.· · Yes.
    20·   · · · · · · · ·(Plaintiff Exhibit No. 2 was marked for       20·   · · · · ·Q.· · Did you sign this document?
    21·   · · · · ·identification.)                                    21·   · · · · ·A.· · Yes.
    22·   ·BY MR. SCIMONE:                                             22·   · · · · ·Q.· · And the statement above that is that all of
    23·   · · · · ·Q.· · Okay.· The court reporter has just handed     23·   ·the preceding GEO corporate policies and procedures were
    24·   ·you Exhibit 2, which is Bates stamped GEO-MEN 00079796      24·   ·reviewed on an ongoing basis throughout the calendar year
    25·   ·through 798.· And take a minute to look through this        25·   ·2013.· Do you see that?

                                                           Page 27                                                            Page 29
    ·1·   ·document.· It's fairly short.· Let me know when you've      ·1·   · · · · ·A.· · Yes.
    ·2·   ·finished reviewing it.                                      ·2·   · · · · ·Q.· · Does that give you any further indication
    ·3·   · · · · · · · ·MR. SCIMONE:· While you're reviewing, let     ·3·   ·of what this document is?
    ·4·   · · · · ·me also state for the record there's also an        ·4·   · · · · · · · ·MR. BARNACLE:· Object to the form.
    ·5·   · · · · ·attachment to this e-mail Bates stamped GEO-MEN     ·5·   · · · · ·A.· · I don't understand the question.
    ·6·   · · · · ·79799 through 805.                                  ·6·   ·BY MR. SCIMONE:
    ·7·   · · · · ·A.· · Okay.                                         ·7·   · · · · ·Q.· · Well, you testified that this was a table
    ·8·   ·BY MR. SCIMONE:                                             ·8·   ·of contents, and I'm pointing out that it also has a
    ·9·   · · · · ·Q.· · Okay.· Do you recognize this to be an         ·9·   ·statement and signature block at the end.· And I'm just
    10·   ·e-mail exchange between various employees of The GEO        10·   ·wondering if that causes you to reevaluate what this
    11·   ·Group?                                                      11·   ·attachment is?
    12·   · · · · ·A.· · Yes.                                          12·   · · · · ·A.· · Oh, I'm sorry.· Yes.· It's a statement
    13·   · · · · ·Q.· · Okay.· And how do you recognize this to be    13·   ·indicating that there was a review of corporate policies
    14·   ·an e-mail among those people?· What tells us that that's    14·   ·during the year 2013.
    15·   ·what it is?                                                 15·   · · · · ·Q.· · Okay.· And if you'll turn to the e-mail,
    16·   · · · · ·A.· · The e-mail addresses.                         16·   ·just looking at the -- looking at the second page of the
    17·   · · · · ·Q.· · Okay.· And so in particular, there's a        17·   ·document, there's an e-mail from Marilyn Van Valkenburgh.
    18·   ·domain name here for several of these, and that's           18·   ·And just based on her signature block, was she your
    19·   ·GEOGroup.com.· Is that what you're referring to?            19·   ·administrative assistant at this time?
    20·   · · · · ·A.· · Yes.                                          20·   · · · · ·A.· · Yes, she was.
    21·   · · · · ·Q.· · Okay.· And there are signature blocks as      21·   · · · · ·Q.· · And she describes the attachment here.· It
    22·   ·well?                                                       22·   ·says:· "Attached please find the forms signed by Amber
    23·   · · · · ·A.· · Yes.                                          23·   ·Martin declaring that all the policies and procedures
    24·   · · · · ·Q.· · And so on the first page we see Johnny        24·   ·from 2013 have been reviewed."· Do you see that?
    25·   ·Choate, warden at The GEO Group.· You testified he's the    25·   · · · · ·A.· · Yes.


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    ·1·   · · · · ·Q.· · Okay.· What was the purpose of this form or   ·1·   · · · · ·Q.· · So that general universe of documents that
    ·2·   ·declaration?                                                ·2·   ·are related to the policies?
    ·3·   · · · · ·A.· · It was in accordance with the ACA             ·3·   · · · · ·A.· · Yes.
    ·4·   ·requirements that the policies have to be reviewed on an    ·4·   · · · · ·Q.· · Okay.· And does it also store
    ·5·   ·annual basis, and it was a declaration saying that they     ·5·   ·correspondence with ICE about policies --
    ·6·   ·were.                                                       ·6·   · · · · ·A.· · No.
    ·7·   · · · · ·Q.· · ACA is the American Correctional              ·7·   · · · · ·Q.· · -- and communications with ICE?
    ·8·   ·Association?                                                ·8·   · · · · ·A.· · No.
    ·9·   · · · · ·A.· · Yes.                                          ·9·   · · · · ·Q.· · Are those stored somewhere else?
    10·   · · · · ·Q.· · And if you turn to the first page, the        10·   · · · · ·A.· · In what respect?
    11·   ·e-mail at the very top is from Kevin Martin.· First of      11·   · · · · ·Q.· · Stored in any respect.
    12·   ·all, is he any relation to you?                             12·   · · · · ·A.· · Communications with ICE about our corporate
    13·   · · · · ·A.· · No.· I don't know who he is.                  13·   ·policies?
    14·   · · · · ·Q.· · Did you say you don't know who he is?         14·   · · · · ·Q.· · Yes.
    15·   · · · · ·A.· · I don't recognize -- I don't remember him.    15·   · · · · ·A.· · I don't really have communication with ICE
    16·   ·I don't remember his name.                                  16·   ·about corporate policies.
    17·   · · · · ·Q.· · Okay.· Turning back to -- looking at the      17·   · · · · ·Q.· · Are there communications between The GEO
    18·   ·bottom of that page and continuing on to the next,          18·   ·Group and ICE about GEO's policies at the various
    19·   ·there's a long list of people that your assistant is        19·   ·facilities that it runs for ICE?
    20·   ·sending this to.· Do you have an understanding looking at   20·   · · · · ·A.· · Yes.· ICE has to approve all the facility
    21·   ·that sort of generally who the distribution group is        21·   ·policies.
    22·   ·supposed to be for this?                                    22·   · · · · ·Q.· · Okay.· And those communications are, I
    23·   · · · · ·A.· · It's to all the -- it looks like to all the   23·   ·assume, stored and maintained over time.· Is that fair to
    24·   ·regional people, the vice -- corporate wide.                24·   ·say?
    25·   · · · · ·Q.· · And if you look at her e-mail, it follows,    25·   · · · · ·A.· · I'm not sure how the communications are

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    ·1·   ·there's a reference there to GEONet.· Do you see that?      ·1·   ·done.· I know the policies are signed off by ICE or they
    ·2·   · · · · ·A.· · Yes.                                          ·2·   ·could have been e-mailed.· I'm not sure what the...
    ·3·   · · · · ·Q.· · What is GEONet?                               ·3·   · · · · ·Q.· · In your communications with the contracting
    ·4·   · · · · ·A.· · It's our internal electronic system that      ·4·   ·officer, are those typically by e-mail?
    ·5·   ·holds policies and procedures, forms, internal documents,   ·5·   · · · · ·A.· · By e-mail or by formal letter usually.
    ·6·   ·technically.                                                ·6·   · · · · ·Q.· · And so those formal letters, do they get
    ·7·   · · · · ·Q.· · You referred earlier to a database.· Is       ·7·   ·stored anywhere or saved as a record?
    ·8·   ·that the same thing or is that a different system?          ·8·   · · · · ·A.· · Yes.
    ·9·   · · · · ·A.· · It's a different system.                      ·9·   · · · · ·Q.· · Okay.
    10·   · · · · ·Q.· · Okay.· What is that system called, that       10·   · · · · ·A.· · Anything that is a communication about
    11·   ·database that holds -- I think you said contains the        11·   ·modifications or anything like that is in the contract
    12·   ·contract?                                                   12·   ·database.
    13·   · · · · ·A.· · The contract database.· I think it's called   13·   · · · · ·Q.· · Okay.· So it gets stored in the contract
    14·   ·Determine now.· It's changed names a couple times.          14·   ·database?
    15·   · · · · ·Q.· · Can you spell that.                           15·   · · · · ·A.· · Uh-huh.
    16·   · · · · ·A.· · Determine, D-e-t-e-r-m-i-n-e.                 16·   · · · · ·Q.· · That's really what I was just trying to --
    17·   · · · · ·Q.· · Okay.· So GEONet stores policies?· Is that    17·   · · · · ·A.· · Anything having to do with contracts.
    18·   ·what you --                                                 18·   · · · · ·Q.· · Understood.
    19·   · · · · ·A.· · It holds policies, among other corporate      19·   · · · · · · · ·Okay.· And you said that database Determine
    20·   ·documents.· I'm not exactly sure what all it holds, but     20·   ·has been in use since 2011; is that right?
    21·   ·policies and procedures are one of them.                    21·   · · · · ·A.· · A form of it.· It's now expanded
    22·   · · · · ·Q.· · Okay.· Is the primary purpose to store        22·   ·considerably.· And it wasn't Determine back then.· It was
    23·   ·policies and documents related to policies, you said        23·   ·kind of our own database-type thing.· So we've expanded
    24·   ·procedures?                                                 24·   ·to where it is now.
    25·   · · · · ·A.· · Uh-huh.                                       25·   · · · · ·Q.· · Was it a different database prior to 2011


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    ·1·   ·that was used?                                              ·1·   ·there would have been different representatives from
    ·2·   · · · · ·A.· · Just internal files.· I mean, just -- not     ·2·   ·different departments.
    ·3·   ·really.                                                     ·3·   · · · · ·Q.· · Okay.· And you write here that these were
    ·4·   · · · · ·Q.· · Okay.                                         ·4·   ·reviewed on an ongoing basis.· Can you sort of describe
    ·5·   · · · · ·A.· · It was -- you know, we were trying to get     ·5·   ·the timing and time frame that it was that -- I see there
    ·6·   ·up to gear.                                                 ·6·   ·are a lot of policies here, so is that something that
    ·7·   · · · · ·Q.· · So were those files saved on just a hard      ·7·   ·began in the beginning of the year and continued in a
    ·8·   ·drive or a share drive or something like that?              ·8·   ·straight review throughout?
    ·9·   · · · · ·A.· · They wouldn't have been shared on a share     ·9·   · · · · ·A.· · Right.· You would section it off, as far as
    10·   ·drive.· Most of it would have been paper at that time.      10·   ·this group is reviewed in this quarter, this group is
    11·   · · · · ·Q.· · Okay.· Is that the case going back to 2004?   11·   ·reviewed in this quarter, and this group is reviewed in
    12·   · · · · ·A.· · Oh, definitely.                               12·   ·this quarter.· So they were all reviewed throughout the
    13·   · · · · ·Q.· · If you'll look back at the declaration --     13·   ·year, one time throughout the year, on an annual basis,
    14·   ·and I'm turning to your statement on the last page, in      14·   ·each policy.
    15·   ·the back.                                                   15·   · · · · ·Q.· · And that was for the purpose of certifying
    16·   · · · · · · · ·So you write here that the policies and       16·   ·to ACA that they had been reviewed?
    17·   ·procedures were reviewed.· Who was conducting that          17·   · · · · ·A.· · That, and it was also an internal policy
    18·   ·review?                                                     18·   ·that we had for GEO Group.
    19·   · · · · ·A.· · We had a policy and procedure committee. I    19·   · · · · ·Q.· · Was that a review that was required by ICE
    20·   ·was the head of the committee.· And then there were         20·   ·as well?
    21·   ·representatives from each of the departments, such as       21·   · · · · ·A.· · For corporate policies?
    22·   ·operations, legal, human resources.                         22·   · · · · ·Q.· · Yes.
    23·   · · · · ·Q.· · Any other departments?                        23·   · · · · ·A.· · No.
    24·   · · · · ·A.· · Back in 2013, I believe we had -- not sure    24·   · · · · ·Q.· · Was it required for any other policies?
    25·   ·what company we had.· Maybe -- it would have been health    25·   · · · · ·A.· · An annual review?· It would have been

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    ·1·   ·services also.· I'm sure there may have been more, but      ·1·   ·required because of contract requirements that we had to
    ·2·   ·that's all I can recollect back then.                       ·2·   ·abide by ACA.· So, yes, I would guess it would be, as far
    ·3·   · · · · ·Q.· · You referred to a company --                  ·3·   ·as that's concerned.
    ·4·   · · · · ·A.· · Well, any time we acquire a company, we       ·4·   · · · · ·Q.· · So, in other words, the ACA requirement was
    ·5·   ·would have representatives from that company.               ·5·   ·incorporated in the ICE contract?
    ·6·   · · · · ·Q.· · I see.· And so that was in 2013?              ·6·   · · · · ·A.· · Yes.
    ·7·   · · · · ·A.· · Yes.                                          ·7·   · · · · ·Q.· · Okay.· Did ICE require any other sort of
    ·8·   · · · · ·Q.· · Has the general composition of that --        ·8·   ·independent review of policies relevant to ICE
    ·9·   ·well, withdrawn.                                            ·9·   ·facilities?
    10·   · · · · · · · ·Has there been a policy and procedure         10·   · · · · ·A.· · Only if the policies would change, and they
    11·   ·committee in existence throughout the 2004 to 2014 time     11·   ·would have to review and approve them.
    12·   ·frame?                                                      12·   · · · · ·Q.· · If you'll turn to the first page, I'm just
    13·   · · · · ·A.· · Yes.                                          13·   ·going to direct your attention to Kevin Martin's e-mail.
    14·   · · · · ·Q.· · And has the composition of that committee     14·   ·Looking at the third sentence, he writes -- I mean, you
    15·   ·been approximately the same as what you just described?     15·   ·can read the whole e-mail if that helps refresh your
    16·   · · · · ·A.· · I would say approximately.· Maybe even less   16·   ·recollection, but he writes:· "We ended up having to make
    17·   ·than that.· It's grown, like I said.                        17·   ·all local policy in order to comply with ACA."
    18·   · · · · ·Q.· · Approximately how many people in total are    18·   · · · · · · · ·Do you have any understanding what he's
    19·   ·on that committee?                                          19·   ·referring to here?
    20·   · · · · ·A.· · In 2013?                                      20·   · · · · ·A.· · I have no understanding.
    21·   · · · · ·Q.· · Yes.                                          21·   · · · · ·Q.· · Okay.· Reading the rest of this e-mail from
    22·   · · · · ·A.· · Probably -- what did I give you there?        22·   ·him, does that refresh your memory at all?
    23·   · · · · ·Q.· · Yourself and you mentioned three              23·   · · · · ·A.· · I can make an assumption.· Corporate, from
    24·   ·departments: legal, HR, and health services.                24·   ·my perspective, has given a declaration every year for
    25·   · · · · ·A.· · I would say probably six people, because      25·   ·the corporate policies, and it looks like he's mixing up


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    ·1·   ·corporate policies and local policies.· The declaration      ·1·   · · · · · · · ·(Plaintiff Exhibit No. 3 was marked for
    ·2·   ·is for corporate policies, and that's the ACA                ·2·   · · · · ·identification.)
    ·3·   ·requirement, even though there is a policy and committee     ·3·   ·BY MR. SCIMONE:
    ·4·   ·review on a local level.                                     ·4·   · · · · ·Q.· · The court reporter has just handed you
    ·5·   · · · · · · · ·So I'm thinking he's talking about -- it       ·5·   ·Exhibit 3, which is Bates stamped GEO-MEN 71642 through
    ·6·   ·used to be done in a memo format and now it's done in        ·6·   ·43, with an attachment running from 71645 through 701.
    ·7·   ·this format.· So from reading this, I think he's             ·7·   ·And my question will be mostly confined to the first
    ·8·   ·intertwining a couple of things, but I'm not sure what       ·8·   ·document.· Do you recognize this document?· Let me
    ·9·   ·he's alluding to.                                            ·9·   ·rephrase the question.
    10·   · · · · ·Q.· · Can you talk a little more about sort of       10·   · · · · · · · ·Do you recognize this to be an e-mail among
    11·   ·what you mean by the difference between corporate            11·   ·various employees of The GEO Group?
    12·   ·policies and local policies.· You've drawn that              12·   · · · · ·A.· · Yes.
    13·   ·distinction a couple of times.· I'm trying to get a sense    13·   · · · · ·Q.· · Okay.· I'm just going to ask you about some
    14·   ·of where that line is.                                       14·   ·of the cast of characters here.· So if you turn to the
    15·   · · · · ·A.· · Well, the corporate policies -- we have        15·   ·second page, I'll start at the bottom there.
    16·   ·several different divisions obviously.· There's secure       16·   · · · · ·A.· · All right.
    17·   ·operations, there's Abraxas, there's BI.· There's several    17·   · · · · ·Q.· · Who is -- or who at the time was Tonya
    18·   ·different divisions within the corporation.· The             18·   ·Andrews?
    19·   ·corporate policies go out with everyone on -- such as HR     19·   · · · · ·A.· · It says here training director.
    20·   ·and ethical policies, and those type of things that          20·   · · · · ·Q.· · And she's writing to Teresa Hunt.· Who was
    21·   ·affect everything.· Then you have the local policies, at     21·   ·Teresa Hunt?
    22·   ·the local level, that are, in respect, dedicated to those    22·   · · · · ·A.· · I think she worked in the regional office,
    23·   ·local policies to the facilities.· So corporate policies     23·   ·but I'm not absolutely sure.· I'm not recognizing the
    24·   ·are the overbroad policies for all the divisions.            24·   ·name.
    25·   · · · · ·Q.· · So you mentioned HR, for example.· So I        25·   · · · · ·Q.· · Tonya writes "Warden Hunt" in the e-mail at

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    ·1·   ·would assume that -- well, you know, HR policies are in      ·1·   ·the bottom.· Does that jog your memory at all?
    ·2·   ·some ways somewhat more internal to GEO and less related,    ·2·   · · · · ·A.· · Yes.· I guess she was the warden at the
    ·3·   ·for example, to how a facility is going to run, how food     ·3·   ·time.
    ·4·   ·service will operate, for example, in a given facility.      ·4·   · · · · ·Q.· · And Teresa then writes to James Black.· Do
    ·5·   · · · · · · · ·So is that sort of a partial dividing line     ·5·   ·you know who that is?
    ·6·   ·that the local policies have to do more with running the     ·6·   · · · · ·A.· · He was the regional vice president.
    ·7·   ·facility?                                                    ·7·   · · · · ·Q.· · Okay.· And turning the page, he responds
    ·8·   · · · · ·A.· · Correct.                                       ·8·   ·copying Cheryl Nelson and Ed Brown.· Do you know who
    ·9·   · · · · ·Q.· · Okay.                                          ·9·   ·Cheryl Nelson is?
    10·   · · · · ·A.· · It's specific to the operations of the         10·   · · · · ·A.· · Cheryl Nelson was compliance director.
    11·   ·facility.                                                    11·   ·This is -- let me look at the dates.· I apologize.
    12·   · · · · ·Q.· · And the corporate policies have to do more     12·   · · · · ·Q.· · Sure.
    13·   ·with administrative functions?                               13·   · · · · ·A.· · This says this is Ed Brown.· Ed Brown was a
    14·   · · · · ·A.· · That would be --                               14·   ·regional VP before James Black.· James Black was in a
    15·   · · · · ·Q.· · Fair?                                          15·   ·compliance position and operations position, and Cheryl
    16·   · · · · ·A.· · -- fair.                                       16·   ·Nelson was in compliance position.· So they were all
    17·   · · · · · · · ·MR. BARNACLE:· And I know you're not           17·   ·under region.
    18·   · · · · ·feeling well, so if you need a break, let us know.   18·   · · · · ·Q.· · Okay.· And if you'll turn back to the
    19·   ·BY MR. SCIMONE:                                              19·   ·second page and look at Teresa's e-mail to James Black,
    20·   · · · · ·Q.· · Yeah.· By all means.                           20·   ·she writes:· "James, COTR wants quarterly
    21·   · · · · ·A.· · I apologize.                                   21·   ·requalifications on firearms."
    22·   · · · · ·Q.· · Once I get started, I tend to get              22·   · · · · · · · ·What does COTR refer to?
    23·   ·distracted on time.                                          23·   · · · · ·A.· · Contracting officer technical
    24·   · · · · ·A.· · Well, you'll just have to bear with me a       24·   ·representative.
    25·   ·little bit.                                                  25·   · · · · ·Q.· · And who or what is that?


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    ·1·   · · · · ·A.· · That is the on-site, basically, ICE monitor   ·1·   ·mean, it's a joint effort, but I'm the final authority.
    ·2·   ·for the Aurora facility.                                    ·2·   · · · · ·Q.· · Understood.
    ·3·   · · · · ·Q.· · Do you know what "requalifications" means     ·3·   · · · · · · · ·THE WITNESS:· Before you go, I'm going to
    ·4·   ·in this context?                                            ·4·   · · · · ·have to take a break.
    ·5·   · · · · ·A.· · Yes.· They have to qualify for firearms       ·5·   · · · · · · · ·MR. SCIMONE:· No problem.
    ·6·   ·before this on an annual basis.                             ·6·   · · · · · · · ·I'm going to mark this.
    ·7·   · · · · ·Q.· · Okay.· Have you read through the e-mail       ·7·   · · · · · · · ·(Plaintiff Exhibit No. 4 was marked for
    ·8·   ·exchange here?                                              ·8·   · · · · ·identification.)
    ·9·   · · · · ·A.· · Yes.                                          ·9·   · · · · · · · ·(Recess from 9:46 a.m. to 9:49 a.m.)
    10·   · · · · ·Q.· · Okay.· So my understanding, just to           10·   ·BY MR. SCIMONE:
    11·   ·summarize the exchange a little bit, there's a discussion   11·   · · · · ·Q.· · Okay.· Ms. Martin, the court reporter has
    12·   ·about the COTR wanting quarterly requalifications as        12·   ·handed you Exhibit 4, which is Bates stamped 3 -- GEO_MEN
    13·   ·opposed to yearly requalification, which had been GEO       13·   ·37752 through 757, with a series of attachments, which I
    14·   ·policy at the time.· And there's a discussion about         14·   ·won't be spending much time on so I'm going to omit the
    15·   ·whether the contract requires quarterly requalifications.   15·   ·Bates number, but they're here for completeness.· Let me
    16·   · · · · · · · ·Does that comport with your understanding?    16·   ·know when you finish reading.
    17·   · · · · ·A.· · No.                                           17·   · · · · ·A.· · Okay.
    18·   · · · · · · · ·MR. BARNACLE:· Object to the form.            18·   · · · · ·Q.· · Okay.· Do you recognize this to be an
    19·   · · · · ·A.· · Actually, the annual policy -- the annual     19·   ·e-mail among various GEO employees?
    20·   ·firearms requalification had been ICE policy at the time.   20·   · · · · ·A.· · Yes.
    21·   ·ICE was attempting to change the policy -- their policy     21·   · · · · ·Q.· · And if you turn to the last page of the
    22·   ·and incorporate it into the contract.                       22·   ·thread, the first e-mail on 37756, those first couple of
    23·   ·BY MR. SCIMONE:                                             23·   ·e-mails, you're on that part of the thread, correct?
    24·   · · · · ·Q.· · I see.· All right.· And then, if you look     24·   · · · · ·A.· · Yes.
    25·   ·at the very top of the first page, the last e-mail in the   25·   · · · · ·Q.· · Okay.· And I'll again ask you about some of

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    ·1·   ·thread, James writes:· "I am still of the opinion that we   ·1·   ·the folks here.· So the first one is -- e-mail is from
    ·2·   ·don't do anything without either being directed to by       ·2·   ·Roberta Halls.· Do you recognize that name?
    ·3·   ·Amber for a contract mod."                                  ·3·   · · · · ·A.· · Yes.
    ·4·   · · · · · · · ·You understand that to be referring to you?   ·4·   · · · · ·Q.· · Who was she at this time?
    ·5·   · · · · ·A.· · Yes.                                          ·5·   · · · · ·A.· · She was contracting officer for the Aurora
    ·6·   · · · · ·Q.· · Okay.· And "contract mod" means contract      ·6·   ·facility in Laguna Nigel.
    ·7·   ·modification, I take it?                                    ·7·   · · · · ·Q.· · Okay.· And she's writing to you and Diane
    ·8·   · · · · ·A.· · Yes.                                          ·8·   ·Kaplan?
    ·9·   · · · · ·Q.· · Okay.· So my question is just sort of about   ·9·   · · · · ·A.· · Yes.
    10·   ·in cases like this, where there's a question about          10·   · · · · ·Q.· · Who's Diane Kaplan?
    11·   ·whether the contract requires GEO to do something, is       11·   · · · · ·A.· · At the time, she was my manager of
    12·   ·that something that you generally have authority to         12·   ·contracts.· She was handling the database and those type
    13·   ·resolve or weigh in on?                                     13·   ·of things.
    14·   · · · · ·A.· · Yes.· I mean, any time a contract is          14·   · · · · ·Q.· · Okay.· And I won't go through all of the
    15·   ·modified, I would be obviously leading that.                15·   ·CCs here, but do you recognize generally who these people
    16·   · · · · ·Q.· · Okay.· Is there anyone else at The GEO        16·   ·are in terms of their role or position?
    17·   ·Group who would have authority to deal with or resolve      17·   · · · · ·A.· · Yes.
    18·   ·situations like that?                                       18·   · · · · ·Q.· · Who are they?
    19·   · · · · ·A.· · Well, I'm over that division, so I'm the      19·   · · · · ·A.· · They're all ICE headquarters.
    20·   ·one that does that.                                         20·   · · · · ·Q.· · Okay.· And --
    21·   · · · · ·Q.· · Right.                                        21·   · · · · ·A.· · I believe there's also COTR and another
    22·   · · · · ·A.· · And my staff.· You know, I'm not saying       22·   ·contracting officer.
    23·   ·that somebody, like the senior VP over operations, can't,   23·   · · · · ·Q.· · Who do you recognize to be the COTR?
    24·   ·you know, be involved in the resolution.· Obviously the     24·   · · · · ·A.· · I want to say it was Sanchez, I believe.
    25·   ·regional vice presidents are involved in resolutions. I     25·   · · · · ·Q.· · Okay.· And then Diane sends this to


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    ·1·   ·Patricia Persante and James Black, who we spoke about a     ·1·   · · · · ·A.· · She was an admin assistant in the western
    ·2·   ·minute ago, copying you and your assistant Marilyn,         ·2·   ·regional office.
    ·3·   ·correct?                                                    ·3·   · · · · ·Q.· · Okay.· So going back to the original e-mail
    ·4·   · · · · ·A.· · Yes.                                          ·4·   ·from Roberta Halls at ICE, based on her e-mail, do you
    ·5·   · · · · ·Q.· · And Patricia Persante, you mentioned          ·5·   ·understand what sort of process this e-mail exchange
    ·6·   ·earlier.· She's currently in contract compliance, right?    ·6·   ·reflects?
    ·7·   · · · · ·A.· · No.· She is retired from GEO.· She was in     ·7·   · · · · ·A.· · Yes.
    ·8·   ·contract compliance at the time.                            ·8·   · · · · ·Q.· · And what is that?
    ·9·   · · · · ·Q.· · I see.· At this time, in 2013?                ·9·   · · · · ·A.· · There was modification to incorporate the
    10·   · · · · ·A.· · Yes.                                          10·   ·PBNDS 2011 standards that had some standards that were
    11·   · · · · ·Q.· · Okay.· And then who is Jeff Wrigley, the      11·   ·changed and were agreed on.
    12·   ·next e-mail?                                                12·   · · · · ·Q.· · What is the PBNDS?
    13·   · · · · ·A.· · He is a warden.                               13·   · · · · ·A.· · Performance-Based National Detention
    14·   · · · · ·Q.· · At which facility?                            14·   ·Standards.
    15·   · · · · ·A.· · At the time, I believe he was at Adelanto,    15·   · · · · ·Q.· · And those were modified in 2011?
    16·   ·but I'm not absolutely sure.                                16·   · · · · ·A.· · There was some optimal standards that they
    17·   · · · · · · · ·He was a warden in the western region.        17·   ·wanted to incorporate in 2013.· They were modified in
    18·   · · · · ·Q.· · And --                                        18·   ·2011, modified in 2008, and then there was additional
    19·   · · · · ·A.· · Or he may have been the warden at Aurora at   19·   ·optimal standards that they wanted to see if the
    20·   ·the time.                                                   20·   ·contractors could incorporate into the contract.
    21·   · · · · ·Q.· · Okay.                                         21·   · · · · ·Q.· · And so this exchange is from 2013.· So most
    22·   · · · · ·A.· · Yeah.· It looks like that.                    22·   ·likely referring to those optimal standards?
    23·   · · · · ·Q.· · Okay.· And who is Mark Bowen?· He's CC'd      23·   · · · · ·A.· · Yes.
    24·   ·there.                                                      24·   · · · · ·Q.· · And so what is the purpose of circulating
    25·   · · · · ·A.· · He was the western regional director of       25·   ·those changes in standards among this group here?

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    ·1·   ·operations, I believe.                                      ·1·   · · · · ·A.· · Once the modification was done, it was to
    ·2·   · · · · ·Q.· · And Jeff Wrigley then sends this to Johnny    ·2·   ·distribute so everybody would know what they needed to be
    ·3·   ·Choate, who you talked about before.                        ·3·   ·doing, and everybody was involved in this process anyway,
    ·4·   · · · · ·A.· · Yeah.· Jeff Wrigley was the director of       ·4·   ·and make sure all the local policies are up to date and,
    ·5·   ·operations.· I'm sorry.· He's had several positions with    ·5·   ·you know, that we abide by that standard -- I mean, by
    ·6·   ·GEO.                                                        ·6·   ·that modification.
    ·7·   · · · · ·Q.· · Okay.                                         ·7·   · · · · ·Q.· · And so part of the follow up here is to
    ·8·   · · · · ·A.· · So Jeff Wrigley, from reading this e-mail,    ·8·   ·make sure that those policies comply with the changes to
    ·9·   ·would have been the director of operations.                 ·9·   ·the PBNDS.· Is that --
    10·   · · · · ·Q.· · Okay.                                         10·   · · · · ·A.· · Yes.
    11·   · · · · ·A.· · For the western region.· And Mark Bowen and   11·   · · · · ·Q.· · Okay.· And so how does that process of
    12·   ·Cheryl Nelson would have probably been assistant director   12·   ·translating changes in the PBNDS into policies work?· If
    13·   ·of -- in compliance.                                        13·   ·you can kind of walk me through the process.· So who is
    14·   · · · · ·Q.· · Okay.                                         14·   ·responsible and is there a series of steps that is
    15·   · · · · ·A.· · Johnny Choate was the warden.                 15·   ·involved?
    16·   · · · · ·Q.· · And who at the time was Dawn Ceja?            16·   · · · · ·A.· · As far as the facility policies?
    17·   · · · · ·A.· · The assistant warden.                         17·   · · · · ·Q.· · That's right, yes.
    18·   · · · · ·Q.· · Okay.· And how about Lowell Clark?· Do you    18·   · · · · ·A.· · This would be the series of steps.· We
    19·   ·know who he or she was?                                     19·   ·would send it out to the regional offices and to be -- so
    20·   · · · · ·A.· · I know the name, but I'm not real sure        20·   ·they can oversee the facilities and to make sure that
    21·   ·where he was at the time.                                   21·   ·everything is in compliance with the new modification.
    22·   · · · · ·Q.· · Okay.                                         22·   · · · · ·Q.· · And then, from the regional offices, what's
    23·   · · · · ·A.· · He was at one time the warden in Tacoma, I    23·   ·the next step?
    24·   ·believe.                                                    24·   · · · · ·A.· · Well, ICE would have to approve the
    25·   · · · · ·Q.· · And how about Jennifer Rozean?                25·   ·policies.


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    ·1·   · · · · ·Q.· · So are those facility policies modified, if   ·1·   · · · · ·A.· · During --
    ·2·   ·they are modified, at the regional level?                   ·2·   · · · · ·Q.· · Is that right?
    ·3·   · · · · ·A.· · No.· I mean, the regional -- it's just a      ·3·   · · · · ·A.· · Yeah.· Well, there's facility level
    ·4·   ·regional oversight.· It would be modified at the facility   ·4·   ·reviews, there's regional level reviews, and there's
    ·5·   ·level.                                                      ·5·   ·corporate level reviews.
    ·6·   · · · · ·Q.· · So the regional office receives these         ·6·   · · · · ·Q.· · Right.· And so we have been talking about
    ·7·   ·changes from ICE.· I guess it runs through your office      ·7·   ·how the policies initially modified at the facility level
    ·8·   ·first?                                                      ·8·   ·are then reviewed for compliance at the regional level,
    ·9·   · · · · ·A.· · Yes.                                          ·9·   ·but then only reviewed again at the corporate level if
    10·   · · · · ·Q.· · And then you push that out to the regions,    10·   ·that's in relation to the audit.· Is that correct?
    11·   ·and then they push that out to the specific facilities?     11·   · · · · ·A.· · No.· That's not what I'm saying.
    12·   · · · · ·A.· · Correct.                                      12·   · · · · ·Q.· · I misunderstood.
    13·   · · · · ·Q.· · And so the policies are then modified at      13·   · · · · ·A.· · They're done at the facility level, they're
    14·   ·the facility level?                                         14·   ·reviewed at the facility level.· If the regional goes in
    15·   · · · · ·A.· · Correct.                                      15·   ·to do an audit, they would most likely review these
    16·   · · · · ·Q.· · Okay.· And you mentioned oversight at the     16·   ·policies to make sure that a new modification was in
    17·   ·regional level.· Who is responsible for that oversight?     17·   ·place.
    18·   · · · · ·A.· · Ultimately the regional vice president.       18·   · · · · ·Q.· · Okay.
    19·   ·Then, you know, whoever he assigns to it, probably a        19·   · · · · ·A.· · So they would probably review during an
    20·   ·compliance director or the regional -- you know, they're    20·   ·audit.
    21·   ·just included into the knowledge of all this that's going   21·   · · · · ·Q.· · Okay.· So the policies -- once the
    22·   ·on through the process.· So it's whoever that person        22·   ·policy -- I'm focusing more now on the modification of
    23·   ·assigns that duty to.                                       23·   ·the policy at the time that there's a change to something
    24·   · · · · ·Q.· · Is there anyone above that level who has      24·   ·like the PBNDS.· The policy is modified at the facility
    25·   ·further oversight role?                                     25·   ·level.· Does it then go directly from the facility to ICE

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    ·1·   · · · · ·A.· · As far as?                                    ·1·   ·for review?
    ·2·   · · · · ·Q.· · Within GEO Group.· Just to review policies    ·2·   · · · · ·A.· · Yes.
    ·3·   ·and to ensure they are in fact compliant.                   ·3·   · · · · ·Q.· · Okay.· It doesn't go up through the
    ·4·   · · · · ·A.· · At the facility level?                        ·4·   ·corporate chain first, in other words?
    ·5·   · · · · ·Q.· · No.· I mean above the regional level.         ·5·   · · · · ·A.· · No.
    ·6·   · · · · ·A.· · Okay.· But for facility policies?             ·6·   · · · · ·Q.· · Okay.
    ·7·   · · · · ·Q.· · Yes.· That's right.                           ·7·   · · · · ·A.· · In this instance, we did have -- I believe
    ·8·   · · · · ·A.· · Not necessarily, but they would be reviewed   ·8·   ·there was some audits that made sure that all these --
    ·9·   ·possibly doing compliance on it.· But as far as making      ·9·   ·because it was a new addition to the PBNDS, that all of
    10·   ·sure that the facility -- I mean, the facility is           10·   ·these were in place.· It would have been a one-off, but
    11·   ·responsible for facility operations.· So they're            11·   ·normal process would have been facility does their
    12·   ·responsible for, you know, reviewing their policies and     12·   ·policies and then region comes in and audits or corporate
    13·   ·then updating their policies.                               13·   ·comes in and audits and makes sure they're approved, but
    14·   · · · · ·Q.· · You mentioned audits.· What sort of           14·   ·ICE has the ultimate approval.
    15·   ·compliance audits are you referring to?· Are those          15·   · · · · ·Q.· · What's the difference in this review
    16·   ·internal to GEO?· Are they done by an outside group,        16·   ·process?· You said this was a one-off.
    17·   ·something else?                                             17·   · · · · ·A.· · Well, because this was an update to some
    18·   · · · · ·A.· · Well, we have several audits.· We have        18·   ·optimal policies, optimal standards in PBNDS, and PBNDS
    19·   ·internal audits, we have outside audits, we have ICE        19·   ·is, you know, very much part of our contract, obviously,
    20·   ·audits.· I mean, obviously ICE would be monitoring this     20·   ·and we wanted to make sure that everything got updated.
    21·   ·to make sure that our policies are in compliance with       21·   · · · · ·Q.· · Okay.· So --
    22·   ·PBNDS and the contract.                                     22·   · · · · ·A.· · And, basically, we covered, "Did you update
    23·   · · · · ·Q.· · And you had mentioned that in the context     23·   ·your policies?
    24·   ·of review at the, I guess, corporate level above            24·   · · · · · · · ·"Yes."
    25·   ·regional?                                                   25·   · · · · ·Q.· · I see.· So that's the level of oversight


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    ·1·   ·from corporate?                                             ·1·   · · · · ·A.· · No.
    ·2·   · · · · ·A.· · From my office.                               ·2·   · · · · ·Q.· · Is it a separate division within ICE?
    ·3·   · · · · ·Q.· · From your office?                             ·3·   · · · · ·A.· · Yes.
    ·4·   · · · · ·A.· · Corporate compliance would have been a        ·4·   · · · · ·Q.· · Okay.
    ·5·   ·different thing.· They may have gone in and reviewed them   ·5·   · · · · ·A.· · It's contracts.· ERO is operations.
    ·6·   ·afterwards, during an audit.· I don't know.· But from my    ·6·   · · · · ·Q.· · So do you have -- I guess, who -- do you
    ·7·   ·perspective, I wanted to make sure that the modifications   ·7·   ·have other communication with Kevin Landy outside of this
    ·8·   ·were in place, everybody knew what they needed to do, and   ·8·   ·process on a regular basis throughout --
    ·9·   ·that they told me that they did it.                         ·9·   · · · · ·A.· · I wouldn't say a regular basis.· I would
    10·   · · · · ·Q.· · Okay.· And the purpose of that oversight      10·   ·say intermittently, you know.· Anything to do where he
    11·   ·was just because it was important to make sure, as you      11·   ·was involved in modifications or of that nature.
    12·   ·said, that this complies with PBNDS because that's part     12·   · · · · ·Q.· · That's when you would typically get
    13·   ·of the contract?                                            13·   ·involved?
    14·   · · · · ·A.· · Yes.· It's part of contract administration    14·   · · · · ·A.· · Yes.
    15·   ·to make sure that it's being done properly.                 15·   · · · · ·Q.· · Okay.· All right.· One question in Jeff
    16·   · · · · ·Q.· · Okay.· I think we'll go into this a little    16·   ·Wrigley's e-mail on 37755, at the very bottom of that
    17·   ·more later.                                                 17·   ·page.
    18·   · · · · · · · ·You had mentioned optimal standards.          18·   · · · · ·A.· · On the first page?
    19·   ·What's the difference between -- well, what's the -- I      19·   · · · · ·Q.· · 37755.
    20·   ·guess if not an optimal standard, what other kind is        20·   · · · · ·A.· · Okay.· I'm sorry.
    21·   ·there?                                                      21·   · · · · ·Q.· · No problem.· The very bottom, you see where
    22·   · · · · ·A.· · Well, they're all optimal, but what           22·   ·it says --
    23·   ·happened was the PBNDS came out in 2008, 2011 with          23·   · · · · · · · ·MR. BARNACLE:· 37755?
    24·   ·different revisions, and then there was some other          24·   · · · · · · · ·THE WITNESS:· 3775.
    25·   ·additional things that ICE wanted to see if we could do     25·   ·············////

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    ·1·   ·that, you know, may change the scope of the contract,       ·1·   ·BY MR. SCIMONE:
    ·2·   ·such as more recreation time or more days or things.· So    ·2·   · · · · ·Q.· · 37755.
    ·3·   ·change the scope of the contract.· May increase staff,      ·3·   · · · · ·A.· · Okay.· I'm sorry.· I'm missing a 5.
    ·4·   ·may increase cost.· So we went through the process with     ·4·   · · · · ·Q.· · Just above the Bates number in the last
    ·5·   ·Kevin Landy and -- Kevin Landy, and went through all the    ·5·   ·line of the e mail, you see where it says "NLT"?
    ·6·   ·standards and said, "Okay, you know, structurally, we're    ·6·   · · · · ·A.· · No later than.
    ·7·   ·going to have to do some construction on this, so maybe     ·7·   · · · · ·Q.· · I'm sorry, what is that?
    ·8·   ·we don't" -- "maybe, you know, it's going to cost you       ·8·   · · · · ·A.· · No later than.
    ·9·   ·because we have to do construction."                        ·9·   · · · · ·Q.· · Oh, no later than.· Got it.· I was
    10·   · · · · · · · ·Because the physical plant is not able to     10·   ·wondering about that.
    11·   ·handle this optimal standard, as far as more square         11·   · · · · · · · ·So once these PBNDS changes are
    12·   ·footage in a library or something.· I'm just giving you     12·   ·incorporated into facility-level policies, you said
    13·   ·an example.· So it was up to ICE to decide whether or not   13·   ·they're communicated typically to ICE.· Who at ICE are
    14·   ·they wanted us to go ahead and do that.· That's all this    14·   ·they communicated to?
    15·   ·was, was just enhancing the standards.                      15·   · · · · ·A.· · Their on-site auditor, their COTR.
    16·   · · · · ·Q.· · Okay.· Who was Kevin Landy?· I don't think    16·   · · · · ·Q.· · That's the technical representative?
    17·   ·I got his position.                                         17·   · · · · ·A.· · Yes.
    18·   · · · · ·A.· · He was -- I think he was over what they       18·   · · · · ·Q.· · Okay.· And do you know what ICE -- ICE's
    19·   ·call policy.· He worked in, I believe, at the time, ERO     19·   ·review process is from there?
    20·   ·operations.                                                 20·   · · · · ·A.· · I don't know.
    21·   · · · · ·Q.· · That's an ICE subdivision?                    21·   · · · · ·Q.· · Okay.· You have no visibility into that
    22·   · · · · ·A.· · ICE.· Yeah, ICE headquarters.                 22·   ·process at all?
    23·   · · · · ·Q.· · Okay.· So this is within the ICE structure    23·   · · · · ·A.· · No.· I don't think they think I need to
    24·   ·a little bit.· So you had spoken before about the office    24·   ·know that.
    25·   ·of acquisitions.· Is that part of ERO?                      25·   · · · · ·Q.· · Okay.· And -- withdrawn.


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    ·1·   · · · · · · · ·Okay.· Let me back up a little bit.· I'm      ·1·   ·you to walk me through a couple of those.· You talked
    ·2·   ·going to take a step back.· So how long has GEO had a       ·2·   ·about a timeline to question and then respond.· So I'm
    ·3·   ·contract to operate the Aurora facility?                    ·3·   ·going to be focusing, I think, mostly on the process in a
    ·4·   · · · · ·A.· · The Aurora facility was the first facility    ·4·   ·case where GEO has a prior contract and is bidding to
    ·5·   ·for GEO, so it's around the 1986, '87 era.                  ·5·   ·renew that contract, as has happened in Aurora between
    ·6·   · · · · ·Q.· · First facility for ICE?                       ·6·   ·2004 and 2014.
    ·7·   · · · · ·A.· · First facility ever.                          ·7·   · · · · ·A.· · Okay.
    ·8·   · · · · ·Q.· · Oh, okay.· And that contract has been         ·8·   · · · · ·Q.· · So typically the RFP goes out.· There would
    ·9·   ·renewed over time, I take it?                               ·9·   ·typically be a period where, if GEO had any questions
    10·   · · · · ·A.· · Yes.                                          10·   ·about the RFP, they could go back and forth with ICE to
    11·   · · · · ·Q.· · How many times has it been renewed?           11·   ·understand it better?
    12·   · · · · ·A.· · I can't recollect.                            12·   · · · · ·A.· · No.· It's a more formal process than that.
    13·   · · · · ·Q.· · Okay.· When was the current version signed,   13·   ·It's not just GEO.· It's if any vendors has a question
    14·   ·the current contract?                                       14·   ·about the RFP.
    15·   · · · · ·A.· · I think a couple of years ago.· I have to     15·   · · · · ·Q.· · Are those questions -- are the
    16·   ·look.                                                       16·   ·communications and response to those questions public to
    17·   · · · · ·Q.· · Do you know when the prior iteration of a     17·   ·all the bidders?
    18·   ·contract was signed before that one?                        18·   · · · · ·A.· · Yes.
    19·   · · · · ·A.· · No.· I'm assuming they're five-year           19·   · · · · ·Q.· · How does that process work?· Is it --
    20·   ·contracts.                                                  20·   · · · · ·A.· · Usually the questions go in and then we get
    21·   · · · · ·Q.· · Okay.                                         21·   ·answers back, and they are a combination of all the
    22·   · · · · ·A.· · Okay.                                         22·   ·vendors' questions and all the answers.
    23·   · · · · ·Q.· · Okay.· Typically -- just about sort of the    23·   · · · · ·Q.· · Okay.
    24·   ·process from one version of the contract to the next, is    24·   · · · · ·A.· · Or if they say that they can't answer it
    25·   ·it typical that there are modifications from one period     25·   ·and they won't answer it, say they won't answer it.

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    ·1·   ·of -- one term of a contract to the next one?               ·1·   · · · · ·Q.· · Okay.· And then, I take it, a bid is
    ·2·   · · · · ·A.· · Okay.· When you're saying from one contract   ·2·   ·submitted once that time -- that time period, that
    ·3·   ·to the next or one term?                                    ·3·   ·question process is ended?
    ·4·   · · · · ·Q.· · Yeah.· So you had said you assume they're     ·4·   · · · · ·A.· · Well, there's set dates.· I mean, it's a
    ·5·   ·typically five-year contracts.· So when one contract        ·5·   ·very formal process.· There's set dates.· You have until
    ·6·   ·period is ending, there's a renewal of the contract?        ·6·   ·this time to respond to the proposal -- I mean, to the
    ·7·   · · · · ·A.· · Well, it usually goes out for an RFP and      ·7·   ·RFP, and then we submit a proposal by the due date.
    ·8·   ·there's a competition.· So it's not necessarily a           ·8·   · · · · ·Q.· · Is there a further exchange before a
    ·9·   ·renewal; it's a brand new contract.                         ·9·   ·proposal is accepted, in terms of specific aspects of the
    10·   · · · · ·Q.· · Okay.· RFP is request for proposal?           10·   ·proposal?
    11·   · · · · ·A.· · Yes.                                          11·   · · · · ·A.· · No.· It's pretty much, like I said, a
    12·   · · · · ·Q.· · Okay.· And can you just kind of walk me       12·   ·formal process.· I mean, I'm not over proposals, but I'm
    13·   ·through that overall process of the RFP.· How does that     13·   ·very involved with them obviously.
    14·   ·work?                                                       14·   · · · · ·Q.· · Okay.
    15·   · · · · ·A.· · Request for proposal goes out on a            15·   · · · · ·A.· · With the contracts and the language and all
    16·   ·government data line, which is called FedBizOpps.· So       16·   ·that, but it's very regimented.
    17·   ·it's open to whoever wants to bid on those contracts.· It   17·   · · · · ·Q.· · Right.· Is the contract language negotiated
    18·   ·gives timelines as far as, you know, ability to ask         18·   ·as part of that process or does that come after the
    19·   ·questions, to respond to the RFP.· And then there's a       19·   ·proposal?
    20·   ·review process, just like any other request for proposal    20·   · · · · ·A.· · No.· The part of the proposal is the
    21·   ·process.· It's pretty much standard throughout federal,     21·   ·Performance Work Statement, and that's your primary
    22·   ·state governments, local governments.· And then they        22·   ·contract, which also includes the proposal, the RFP, and
    23·   ·grade the proposal and award the contract.                  23·   ·all the attachments.· That's why I say I'm involved in
    24·   · · · · ·Q.· · Okay.· I don't have a lot of familiarity      24·   ·the proposals, because I'm looking at that PWS,
    25·   ·with the federal contracting process, so I'm going to ask   25·   ·Performance Work Statement.


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    ·1·   · · · · ·Q.· · Okay.· Let's talk about a couple of           ·1·   ·so they can look through and see if there's anything that
    ·2·   ·documents.                                                  ·2·   ·they want to question or they don't understand.· In that
    ·3·   · · · · · · · ·MR. SCIMONE:· This is, I think, 5.            ·3·   ·respect, I do -- my research and development team does
    ·4·   · · · · · · · ·(Plaintiff Exhibit No. 5 was marked for       ·4·   ·review all the RFPs.
    ·5·   · · · · ·identification.)                                    ·5·   · · · · ·Q.· · Okay.· So -- and then are all of those
    ·6·   ·BY MR. SCIMONE:                                             ·6·   ·questions aggregated before being sent to ICE?
    ·7·   · · · · ·Q.· · The court reporter has just handed you        ·7·   · · · · ·A.· · Yes.
    ·8·   ·Exhibit 5, which is Bates stamped GEO_MEN 30577             ·8·   · · · · ·Q.· · Who is responsible for that?
    ·9·   ·through 83.· And the first question would be, do you        ·9·   · · · · ·A.· · They go through the proposal development
    10·   ·recognize the document?· But take your time to read it.     10·   ·group, which David Venturella is over.
    11·   · · · · ·A.· · It looks like an amendment to an RFP.         11·   · · · · ·Q.· · Okay.· And what is David Venturella's
    12·   · · · · ·Q.· · Okay.                                         12·   ·position?
    13·   · · · · ·A.· · Which one, I don't know.                      13·   · · · · ·A.· · He's the senior VP for right now in
    14·   · · · · ·Q.· · Okay.· So let me direct your attention to     14·   ·business development.
    15·   ·the number at the very, very top of the document:           15·   · · · · ·Q.· · Okay.· And so he's a parallel level to you
    16·   ·HSCEOP-06-R-0013.· Is that notation format familiar to      16·   ·then in terms of level of hierarchy?
    17·   ·you?                                                        17·   · · · · ·A.· · Uh-huh.
    18·   · · · · ·A.· · Yes.· I mean, as far as the RFP numbers, I    18·   · · · · ·Q.· · Okay.· And what is -- you said your R&D
    19·   ·guess it would be -- I don't know this particular one.      19·   ·group, research and development group, reviews the RFPs.
    20·   · · · · ·Q.· · Is that a notation system used by ICE as      20·   ·Is there a particular part of the contract or the RFP,
    21·   ·part of the RFP process?                                    21·   ·rather, that your group is responsible for?
    22·   · · · · ·A.· · It could be, yes.                             22·   · · · · ·A.· · No.· We read the whole thing.· Basically
    23·   · · · · ·Q.· · Does the 06 here refer to a year?             23·   ·what we're reviewing is, you know, standards and older
    24·   · · · · ·A.· · I don't know.                                 24·   ·contracts and those type of things.
    25·   · · · · ·Q.· · Okay.                                         25·   · · · · ·Q.· · Okay.· And is there a particular aspect

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    ·1·   · · · · ·A.· · I don't know what the numbers mean.           ·1·   ·that you're sort of focused on -- when you say -- let me
    ·2·   · · · · ·Q.· · Okay.· Do you recognize this from having      ·2·   ·try to ask a more specific question.
    ·3·   ·seen similar documents?                                     ·3·   · · · · · · · ·So when you say you review prior contracts,
    ·4·   · · · · ·A.· · Yes.                                          ·4·   ·are you being attentive to changes that have happened
    ·5·   · · · · ·Q.· · Okay.· And so this section from number 1 to   ·5·   ·between one RFP and the previous contract?
    ·6·   ·number 2 begins with a reference to a page and then         ·6·   · · · · ·A.· · Yes.
    ·7·   ·there's a question or questions and then a response in      ·7·   · · · · ·Q.· · And so whereas, like, for example, the
    ·8·   ·boldface at the bottom of it.· Does that shed any light     ·8·   ·health division would be focused on health care issues
    ·9·   ·on what this exchange is?                                   ·9·   ·and other sort of specific subject matter, you would have
    10·   · · · · ·A.· · Like I said, this is the                      10·   ·sort of oversight over the entire contract for any
    11·   ·question-and-response stage.                                11·   ·changes in language.· Is that a fair characterization?
    12·   · · · · ·Q.· · Okay.                                         12·   · · · · ·A.· · Yes.
    13·   · · · · ·A.· · And this is how they do.· They amend the      13·   · · · · ·Q.· · All right.· So I guess my sort of takeaway
    14·   ·contract -- I mean, they amend the RFP if they need to      14·   ·from this process is that -- well, let me -- my takeaway
    15·   ·restate something in the RFP.                               15·   ·from this process, and I guess your role in it is just
    16·   · · · · ·Q.· · I see.· And so the questions here are         16·   ·that there's a sort of very close attention being paid to
    17·   ·questions that have been submitted by one of the entities   17·   ·the language of the RFP to make sure that there's a good
    18·   ·bidding on the contract?                                    18·   ·understanding of what exactly is entailed.· Is that fair
    19·   · · · · ·A.· · Yes.                                          19·   ·to say?
    20·   · · · · ·Q.· · And then the response is from ICE?            20·   · · · · ·A.· · Yes.
    21·   · · · · ·A.· · Yes.                                          21·   · · · · ·Q.· · And your department specifically is
    22·   · · · · ·Q.· · I see.· Are you involved in the               22·   ·attentive to any changes that might happen from one
    23·   ·question-and-answer process during these renewals?          23·   ·version of the contract to the RFP that you might receive
    24·   · · · · ·A.· · Each department gets the RFP -- the           24·   ·from the next version?
    25·   ·operations, contracts, legal HR, IT, health services --     25·   · · · · ·A.· · Yes.


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    ·1·   · · · · · · · ·(Plaintiff Exhibit No. 6 was marked for       ·1·   ·sanitation and hygiene.
    ·2·   · · · · ·identification.)                                    ·2·   · · · · ·Q.· · So, in other words, there's certain
    ·3·   ·BY MR. SCIMONE:                                             ·3·   ·standards of sanitation that GEO has to maintain and
    ·4·   · · · · ·Q.· · Okay.· The court reporter has just handed     ·4·   ·uphold?· If it falls below that level, it would not be in
    ·5·   ·you Exhibit 6, which is Bates stamped GEO_MEN 42206         ·5·   ·compliance with the contract.· Fair to say?
    ·6·   ·through 09.· Please take a minute to review.                ·6·   · · · · ·A.· · Yes.· I mean, there's a section of the
    ·7·   · · · · ·A.· · Okay.                                         ·7·   ·contract that deals with sanitation.· We have to abide by
    ·8·   · · · · ·Q.· · Do you recognize this document?               ·8·   ·anything that's in the contract.
    ·9·   · · · · ·A.· · I recognize it as part of a proposal for an   ·9·   · · · · ·Q.· · For a -- this refers to itself as a
    10·   ·RFP.                                                        10·   ·"Technical Proposal."· Is that terminology still in use?
    11·   · · · · ·Q.· · Is this a proposal made by The GEO Group?     11·   · · · · ·A.· · Yes.
    12·   · · · · ·A.· · It's made by Wackenhut Corrections            12·   · · · · ·Q.· · For a subset of a larger RFP?
    13·   ·Corporation, which is our entity before The GEO Group.      13·   · · · · ·A.· · Well, technical -- okay.· There's different
    14·   · · · · ·Q.· · I see.· What tells you that?                  14·   ·sections of a proposal.
    15·   · · · · ·A.· · "WCC" at the top.                             15·   · · · · ·Q.· · Yeah.
    16·   · · · · ·Q.· · Okay.· I see.· And can you tell from          16·   · · · · ·A.· · You have the tech proposal, which is
    17·   ·anything in this document what the time frame of this       17·   ·basically outlining all the operational aspects.· You
    18·   ·document is?                                                18·   ·have a past performance section.· You have, you know, a
    19·   · · · · ·A.· · WCC would have been pre 2012, but no.         19·   ·pricing section.· You have different sections.· Technical
    20·   · · · · ·Q.· · If I may direct your attention to the top     20·   ·Proposal is overall encompassing everything within that
    21·   ·right of the first page.· In small print you'll see it's    21·   ·RFP, as far as the language.
    22·   ·a solicitation number.· Does that give you any indication   22·   · · · · ·Q.· · And that tech proposal has subsections that
    23·   ·of the time frame?                                          23·   ·refer to particular aspects, like, in this case,
    24·   · · · · ·A.· · No.· Again, I don't know these numbers        24·   ·sanitation?
    25·   ·until they become contract numbers.                         25·   · · · · ·A.· · Yes.

                                                           Page 67                                                            Page 69
    ·1·   · · · · ·Q.· · Okay.· The reference to "INS," do you         ·1·   · · · · ·Q.· · Okay.· And so for the sanitation aspect,
    ·2·   ·understand that to refer to Immigration and                 ·2·   ·who -- I'll ask, from the 2004 to 2014 time frame, who or
    ·3·   ·Naturalization Services?                                    ·3·   ·what office was responsible for drafting those aspects of
    ·4·   · · · · ·A.· · Yes.                                          ·4·   ·the Technical Proposal?
    ·5·   · · · · ·Q.· · And that's what ICE was prior to 2002,        ·5·   · · · · ·A.· · It could have been a combination.· I don't
    ·6·   ·correct?· That was the agency that preceded ICE?            ·6·   ·know.
    ·7·   · · · · ·A.· · Yes.                                          ·7·   · · · · ·Q.· · Okay.
    ·8·   · · · · ·Q.· · So this would have to be prior to 2002 then   ·8·   · · · · ·A.· · I don't know if it would have been our
    ·9·   ·based on that?                                              ·9·   ·operations folks.· I know that that would have all fallen
    10·   · · · · ·A.· · It would be my assumption.                    10·   ·under the business development people to identify who
    11·   · · · · ·Q.· · Okay.· So is this typical of the kind of      11·   ·their subject-matter expert was.· So I couldn't answer
    12·   ·proposals that The GEO Group submits during part of the     12·   ·who they would have picked.
    13·   ·RFP process?                                                13·   · · · · ·Q.· · So not a particular department then?
    14·   · · · · ·A.· · Yes.· Partial.                                14·   · · · · ·A.· · Not necessarily.
    15·   · · · · ·Q.· · So this deals with a specific aspect of a     15·   · · · · ·Q.· · Okay.· In a case like that, would it be
    16·   ·contract?                                                   16·   ·typical to identify a subject-matter expert from the
    17·   · · · · ·A.· · Yes.                                          17·   ·facility level to be responsible for that?
    18·   · · · · ·Q.· · In this case, sanitation and hygiene?         18·   · · · · ·A.· · Sometimes they brought facility level in,
    19·   · · · · ·A.· · Yes.                                          19·   ·sometimes they brought regional level in.· Like I said,
    20·   · · · · ·Q.· · Are sanitation standards a typical term of    20·   ·it was their determination on who they wanted to bring in
    21·   ·a contract between ICE and GEO?                             21·   ·to assist in responding to the proposal.
    22·   · · · · ·A.· · I'm sorry?                                    22·   · · · · ·Q.· · Okay.· Do you know who was responsible for
    23·   · · · · ·Q.· · Are sanitation standards a typical term of    23·   ·drafting the sanitation policies that are currently in
    24·   ·a contract between ICE and GEO?                             24·   ·place at Aurora?
    25·   · · · · ·A.· · I mean, yes, we would have to cover           25·   · · · · ·A.· · It would have been the facility.


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    ·1·   · · · · ·Q.· · Okay.· And the sanitation policies that       ·1·   · · · · ·A.· · I'm involved in an initial review and
    ·2·   ·were in effect from 2004 to 2014, do you have any idea      ·2·   ·that's pretty much it.
    ·3·   ·who was responsible for drafting those originally?          ·3·   · · · · ·Q.· · I'm sorry.· Did you just say you were --
    ·4·   · · · · ·A.· · No.                                           ·4·   · · · · ·A.· · I'm just involved in the initial review of
    ·5·   · · · · ·Q.· · If I wanted to find out that information,     ·5·   ·the RFP to see what the language changes are and that
    ·6·   ·is there a way to do that?· Is there someplace --           ·6·   ·sort of thing, because that's from a contractual
    ·7·   · · · · ·A.· · For the policies?                             ·7·   ·perspective.· But from a business -- I don't know the
    ·8·   · · · · ·Q.· · Yeah.· Who was responsible for originally     ·8·   ·intricacies of their process.
    ·9·   ·drafting those?                                             ·9·   · · · · ·Q.· · Understood.
    10·   · · · · ·A.· · Let me go back.· When a facility is           10·   · · · · ·A.· · Just overall.
    11·   ·awarded -- when we're awarded a contract and it's a brand   11·   · · · · · · · ·MR. SCIMONE:· Okay.· Let's do one more
    12·   ·new facility, there's regional oversight starting           12·   · · · · ·document and then we'll take another break.
    13·   ·policies and operations and all of that, because you        13·   · · · · · · · ·(Plaintiff Exhibit No. 7 was marked for
    14·   ·don't have all your facility administration there.          14·   · · · · ·identification.)
    15·   · · · · ·Q.· · Right.                                        15·   ·BY MR. SCIMONE:
    16·   · · · · ·A.· · So regional takes the lead on, you know,      16·   · · · · ·Q.· · All right.· The court reporter has just
    17·   ·developing policies when a facility first opens.            17·   ·handed you a document Bates stamped GEO_MEN 400665
    18·   · · · · · · · ·Now, after that, you know, all of it goes     18·   ·through 69 -- sorry 70.· Take a moment to review and let
    19·   ·through the client to get approved before being             19·   ·me know when you're ready.
    20·   ·instituted on the facility.· After that, any updates and    20·   · · · · ·A.· · Okay.
    21·   ·changes and policies and procedures are handled by the      21·   · · · · ·Q.· · Okay.· Do you recognize this document?
    22·   ·facility.· From a contract to a contract, it would most     22·   · · · · ·A.· · Not specifically.· It looks like a response
    23·   ·likely have been the same policies and updated along the    23·   ·to our RFP, again, Technical Proposal response.
    24·   ·timelines, you know, when they needed to be updated, when   24·   · · · · ·Q.· · So it was in response to a typical
    25·   ·they were reviewed annually, those type of things.          25·   ·response?

                                                           Page 71                                                            Page 73
    ·1·   · · · · · · · ·So when I say "the facility is responsible    ·1·   · · · · ·A.· · Right.
    ·2·   ·for," they're responsible for maintaining those             ·2·   · · · · ·Q.· · And this would be submitted as part of the
    ·3·   ·operations on a day-to-day, but there's things that began   ·3·   ·RFP process?
    ·4·   ·when a new contract begins.                                 ·4·   · · · · ·A.· · Yes.
    ·5·   · · · · ·Q.· · Okay.· Thank you.· So the original policies   ·5·   · · · · ·Q.· · Okay.· And this one deals with detainee
    ·6·   ·from Aurora would have been created probably back in 1986   ·6·   ·services and programs; is that correct?
    ·7·   ·at least?                                                   ·7·   · · · · ·A.· · Yes.
    ·8·   · · · · ·A.· · And that would have probably been at the      ·8·   · · · · ·Q.· · I think you had mentioned a section dealing
    ·9·   ·corporate level, because we were a smaller group then.      ·9·   ·with past experience?
    10·   · · · · ·Q.· · And that was the first facility that was      10·   · · · · ·A.· · Uh-huh.· Past performance.
    11·   ·opened?                                                     11·   · · · · ·Q.· · Past performance, all right.· Can you
    12·   · · · · ·A.· · Yes.                                          12·   ·explain what that means, what role it plays.
    13·   · · · · ·Q.· · Okay.                                         13·   · · · · ·A.· · There's a section on -- identifies where
    14·   · · · · ·A.· · We've evolved.                                14·   ·our past performance is.· We usually put -- they usually
    15·   · · · · ·Q.· · I'm sure.· Can you speak to the process       15·   ·ask for references from different clients and different
    16·   ·again during a renewal for the RFP process.· When there's   16·   ·contracts, you know, a number or whatever.· And we give
    17·   ·a Technical Proposal on a particular aspect like this,      17·   ·what the past performance is, you know, as far as with
    18·   ·can you speak to the process of how that's developed        18·   ·different clients.· I mean, the specifics of that, like I
    19·   ·internally at GEO.· In other words, it's created -- you     19·   ·said, I'm not really involved in either, but just kind of
    20·   ·mentioned the subject-matter expert.· Is there then a       20·   ·outlines it.
    21·   ·further process of renewing that?                           21·   · · · · ·Q.· · Okay.· Let me take another step back just
    22·   · · · · ·A.· · Yes.· Like I said, business development has   22·   ·to get a sense of where you are in the process so I'm not
    23·   ·a whole process on how they answer, review, et cetera.      23·   ·asking questions outside your purview.
    24·   ·I'm not really involved in that.                            24·   · · · · · · · ·But -- so do you end up developing some of
    25·   · · · · ·Q.· · Okay.                                         25·   ·the technical proposals as part of the RFP process?


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    ·1·   · · · · ·A.· · No.· Not usually.                             ·1·   ·one of those categories?
    ·2·   · · · · ·Q.· · Okay.                                         ·2·   · · · · ·A.· · Well, we have people in operations that are
    ·3·   · · · · ·A.· · I -- no.· Like I said, I don't do the         ·3·   ·over programs.· So a lot of the programs are developed at
    ·4·   ·writing, the technical writing of this.                     ·4·   ·the corporate level, and then they can be enhanced or
    ·5·   · · · · ·Q.· · That's all handled by business development?   ·5·   ·whatever at the regional levels.· This would probably be
    ·6·   · · · · ·A.· · Yes.                                          ·6·   ·at a corporate level to answer these questions.
    ·7·   · · · · ·Q.· · Okay.· Do you -- and do you review these      ·7·   · · · · ·Q.· · Okay.· Can you speak -- who is in charge of
    ·8·   ·technical proposals before they go to ICE?                  ·8·   ·the operations division?
    ·9·   · · · · ·A.· · No.                                           ·9·   · · · · ·A.· · Dave Donohue.
    10·   · · · · ·Q.· · Okay.                                         10·   · · · · ·Q.· · And that's a GEO corporate office?
    11·   · · · · ·A.· · Only, like I said, if there's an issue that   11·   · · · · ·A.· · Yes.
    12·   ·they want me to look at, they'll bring it to me and I'll    12·   · · · · ·Q.· · And their -- your understanding is there
    13·   ·look at it.· But as far as overall, no.                     13·   ·are subdivisions within operations for different aspects
    14·   · · · · ·Q.· · Okay.· What sorts of issues typically are     14·   ·of facility management?
    15·   ·brought to your attention as part of this process?          15·   · · · · ·A.· · Yes.
    16·   · · · · ·A.· · If there's contractual language that looks    16·   · · · · ·Q.· · Are you familiar with those subdivisions?
    17·   ·like it's conflicting or something, they'll ask my advice   17·   · · · · ·A.· · Yes.
    18·   ·on that.· From a legal perspective, they'll ask if, you     18·   · · · · ·Q.· · How many are there?
    19·   ·know -- about some type of language.· Just very, very       19·   · · · · ·A.· · Oh, goodness.
    20·   ·rare and very, very -- it's mainly to do with contractual   20·   · · · · ·Q.· · I'm not -- I asked how many just so I
    21·   ·language or conflicts that they want to make sure they      21·   ·wouldn't necessarily have to ask you to list them all,
    22·   ·understand.                                                 22·   ·but just to get a scope.
    23·   · · · · ·Q.· · Okay.· And does that include ambiguities in   23·   · · · · ·A.· · Health services, risk management,
    24·   ·what ICE is asking for, where it's not really clear what    24·   ·transportation, corporate, security, training, programs.
    25·   ·the language requires?                                      25·   ·I think I've captured everything.

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    ·1·   · · · · ·A.· · It may.                                       ·1·   · · · · ·Q.· · Okay.· Would programs be the subdivision in
    ·2·   · · · · ·Q.· · Do you know generally what the category       ·2·   ·charge of a Technical Proposal for this category of
    ·3·   ·"detainee services and program" refers to?                  ·3·   ·services and programs?
    ·4·   · · · · ·A.· · Yes.                                          ·4·   · · · · ·A.· · Could be.
    ·5·   · · · · ·Q.· · What does it refer to?                        ·5·   · · · · ·Q.· · You're not sure?
    ·6·   · · · · ·A.· · The programs that -- like religious           ·6·   · · · · ·A.· · Yeah.· I mean, as far as -- what are you
    ·7·   ·services and recreation, legal services, all the services   ·7·   ·asking me?· If somebody from programs wrote this?
    ·8·   ·provided to them.                                           ·8·   · · · · ·Q.· · Well, if you know, sure.· That's kind of
    ·9·   · · · · ·Q.· · Is there a particular group within GEO that   ·9·   ·where I'm going.· But I just want to know generally who
    10·   ·develops those at the corporate level or is that done at    10·   ·within GEO is responsible for developing this kind of
    11·   ·the facility level?                                         11·   ·category.
    12·   · · · · ·A.· · As far as we --                               12·   · · · · ·A.· · It would have been probably somebody from
    13·   · · · · ·Q.· · As far as developing the Technical Proposal   13·   ·programs.· Right now, programs is kind of encaptured in
    14·   ·submitted to ICE for this category.                         14·   ·training, so I'm not really sure who would have wrote
    15·   · · · · ·A.· · It would be at the corporate level. I         15·   ·this.
    16·   ·mean --                                                     16·   · · · · ·Q.· · Okay.
    17·   · · · · ·Q.· · Okay.                                         17·   · · · · ·A.· · Or it could have just been business
    18·   · · · · ·A.· · -- it's all developed at the corporate        18·   ·development using templates that they've used before.
    19·   ·level.· They bring regional people in or facility people    19·   · · · · ·Q.· · Okay.· If you'll turn to the page labeled
    20·   ·in, subject-matter experts, they can do that, but it's      20·   ·40669, there's a section here titled "Work Program."
    21·   ·all developed through business development.                 21·   · · · · ·A.· · Uh-huh.
    22·   · · · · ·Q.· · Right.· Just, for example, though, I guess    22·   · · · · ·Q.· · Do you know if there's a particular
    23·   ·the first one here is mail and correspondence, and then     23·   ·subdivision of operations with responsibility for that
    24·   ·the next one you mentioned religious services.· Would       24·   ·program?
    25·   ·they typically bring in a subject-matter expert for each    25·   · · · · ·A.· · No.· It would be -- the actual work program


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    ·1·   ·at the facility would be the facility's responsibility.     ·1·   · · · · ·A.· · Yes.
    ·2·   · · · · · · · ·MR. SCIMONE:· Okay.· Let's take a break       ·2·   · · · · ·Q.· · "CO" refers to contracting officer?
    ·3·   · · · · ·here.                                               ·3·   · · · · ·A.· · Yes.
    ·4·   · · · · · · · ·(Recess from 10:35 a.m. to 10:42 a.m.)        ·4·   · · · · ·Q.· · What does "NTP" refer to?
    ·5·   · · · · · · · ·(Plaintiff Exhibit No. 8 was marked for       ·5·   · · · · ·A.· · Notice to proceed.
    ·6·   · · · · ·identification.)                                    ·6·   · · · · ·Q.· · Okay.· Is that an accurate statement about
    ·7·   ·BY MR. SCIMONE:                                             ·7·   ·how plans, policies and procedures are developed for the
    ·8·   · · · · ·Q.· · Okay.· The court reporter has just handed     ·8·   ·Aurora facility?
    ·9·   ·you a document Bates stamped GEO-MEN 59635 through 59743.   ·9·   · · · · ·A.· · For new contract, yes.
    10·   ·It's a fairly long document.· I'll direct you to specific   10·   · · · · ·Q.· · And what about a renewed contract?
    11·   ·pages.· But take a look at whatever you need to to be       11·   · · · · ·A.· · They're all new contracts.
    12·   ·able to answer the question.                                12·   · · · · ·Q.· · Okay.· So new in the sense of this being a
    13·   · · · · · · · ·Do you recognize this document?               13·   ·new document?
    14·   · · · · ·A.· · It appears to be a contract award for the     14·   · · · · ·A.· · Uh-huh.
    15·   ·Aurora facility.                                            15·   · · · · ·Q.· · Even though it's a continuation of the
    16·   · · · · ·Q.· · Okay.· And on the first page, at the          16·   ·prior contract?
    17·   ·bottom, there are signatures here.· Who is the signature    17·   · · · · ·A.· · It's not a continuation.· It's a brand new
    18·   ·on the left?                                                18·   ·contract.
    19·   · · · · ·A.· · That's Ron Maddox.                            19·   · · · · ·Q.· · Continuation of services provided?
    20·   · · · · ·Q.· · And he's signing on behalf of the             20·   · · · · · · · ·It's okay.· We don't need to go down that.
    21·   ·contractor.· That's The GEO Group in this case?             21·   · · · · · · · ·On the following page -- well, before we go
    22·   · · · · ·A.· · Yes.                                          22·   ·on to the next page, I guess the continuation that I sort
    23·   · · · · ·Q.· · And on the right, the signature is by         23·   ·of have in mind and the reason I do think it's a little
    24·   ·Deborah Locke on behalf of the United States of America.    24·   ·bit relevant is we talked about how, when there's a
    25·   ·Do you know what her position is or was at the time?        25·   ·facility where, there's a new contract, but it's one

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    ·1·   · · · · ·A.· · Contract development.                         ·1·   ·that's been previously operated by Aurora, some of those
    ·2·   · · · · ·Q.· · This was signed September 29, 2006,           ·2·   ·policies are carried over and modified in certain
    ·3·   ·correct?                                                    ·3·   ·respects.
    ·4·   · · · · ·A.· · Yes.                                          ·4·   · · · · ·A.· · However, those policies, just like this
    ·5·   · · · · ·Q.· · Okay.· And please turn to page 59642.         ·5·   ·says, would be also given to the contracting officer for
    ·6·   · · · · ·A.· · Okay.                                         ·6·   ·review as a brand new contract, whether they went -- what
    ·7·   · · · · ·Q.· · And if you can just direct your attention     ·7·   ·I'm saying is, they would probably not be rewritten all
    ·8·   ·to the bottom paragraph at the bottom of the page, the      ·8·   ·the way through because we were already doing it, these
    ·9·   ·second sentence, it says:· "Unless explicitly stated        ·9·   ·are the policies in place.· We've changed the policies in
    10·   ·otherwise, the Contractor is responsible for all costs      10·   ·accordance with RFP.· But they would still be considered
    11·   ·associated with and incurred as part of providing the       11·   ·part of a new contract, so they still have to be reviewed
    12·   ·services outlined in this contract."                        12·   ·by ICE.
    13·   · · · · · · · ·The contractor here refers to The GEO         13·   · · · · ·Q.· · So that's the relevant point you're making,
    14·   ·Group?                                                      14·   ·is that ICE has -- at the time of contract, initiation in
    15·   · · · · ·A.· · Yes.                                          15·   ·2006 here, that's when ICE has a review process?
    16·   · · · · ·Q.· · Okay.· Is that an accurate statement about    16·   · · · · ·A.· · Yes.
    17·   ·the relationship between ICE and GEO?                       17·   · · · · ·Q.· · Or there is a review process at that time?
    18·   · · · · ·A.· · Yes.                                          18·   · · · · ·A.· · Yes.
    19·   · · · · ·Q.· · Okay.· And on the following page, the         19·   · · · · ·Q.· · Okay.· Fair enough.
    20·   ·second paragraph up from the bottom, beginning "unless":    20·   · · · · ·A.· · And throughout.· If anything has changed
    21·   ·"Unless otherwise specified, all plans, policies and        21·   ·policy-wise, they have a review process also.
    22·   ·procedures, including those identified in the ACA           22·   · · · · ·Q.· · Does ICE have a review process outside of
    23·   ·standards, shall be developed by the Contractor and         23·   ·changes?
    24·   ·submitted in writing to the CO for review and concurrence   24·   · · · · ·A.· · As far as?
    25·   ·prior to issuance of the NTP."                              25·   · · · · ·Q.· · Yeah.· So you say they -- well, they review


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    ·1·   ·it at the time that the contract is signed and then they    ·1·   · · · · ·A.· · We do.· We do.
    ·2·   ·would review again, you said, if there's a modification.    ·2·   · · · · ·Q.· · Okay.
    ·3·   ·I'm wondering if there's any sort of periodic review by     ·3·   · · · · ·A.· · I thought you meant them coming and
    ·4·   ·ICE of the policies that happens just in the normal         ·4·   ·auditing or whatever.· I mean, they audit what they want
    ·5·   ·course of business or oversight?                            ·5·   ·to audit.
    ·6·   · · · · ·A.· · Definitely.                                   ·6·   · · · · ·Q.· · Is there someone at GEO who is responsible
    ·7·   · · · · ·Q.· · Definitely?                                   ·7·   ·for reviewing the results of those audits?
    ·8·   · · · · ·A.· · Definitely.                                   ·8·   · · · · ·A.· · Yes.· That would be the compliance
    ·9·   · · · · ·Q.· · How is that -- who conducts that oversight?   ·9·   ·division.
    10·   · · · · ·A.· · Most -- most of the time, the COTR.           10·   · · · · ·Q.· · Okay.· And who currently is in charge of
    11·   · · · · ·Q.· · That's the person at the facility level?      11·   ·that?
    12·   · · · · ·A.· · Yes.· The contracting officer technical       12·   · · · · ·A.· · Dan Ragsdale.
    13·   ·representative.                                             13·   · · · · ·Q.· · And at the time of 2004 to 2014 who was
    14·   · · · · ·Q.· · And is -- so is that a review of the          14·   ·responsible for that?
    15·   ·policies themselves or the implementation of the            15·   · · · · ·A.· · Me.
    16·   ·policies?                                                   16·   · · · · ·Q.· · You?
    17·   · · · · ·A.· · It could be either-or.                        17·   · · · · ·A.· · Me.
    18·   · · · · ·Q.· · Okay.                                         18·   · · · · ·Q.· · So let me turn you to page 646.
    19·   · · · · ·A.· · It could be not one policy, two policies.     19·   · · · · ·A.· · When you say "2004 to 2014," it would be
    20·   ·They have full access.· And it happens quite a bit.         20·   ·2004 to 2011.
    21·   · · · · ·Q.· · Okay.· On the next page, 644, I'm looking     21·   · · · · ·Q.· · I see.· And from 2011 to 2014?
    22·   ·at the, I guess, fourth paragraph up from the bottom.· It   22·   · · · · ·A.· · It would have been Patricia Persante.
    23·   ·says:· "The contractor is responsible for a                 23·   · · · · ·Q.· · Right.· Thank you.
    24·   ·quality-control program."· Do you see that?                 24·   · · · · · · · ·On page 646, if you look at Section 3.3.
    25·   · · · · ·A.· · Yes.                                          25·   · · · · ·A.· · Okay.

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    ·1·   · · · · ·Q.· · All right.· What does that quality-control    ·1·   · · · · ·Q.· · So I think this is referring to what you
    ·2·   ·program consist of or what does it refer to?                ·2·   ·were just speaking about.· This talks about the
    ·3·   · · · · ·A.· · It's -- we have to establish a                ·3·   ·contractors representatives meeting with the COTR and the
    ·4·   ·quality-control program that oversees all aspects of the    ·4·   ·CO on a regular basis.· So those meetings take place at
    ·5·   ·facility, the policies and procedures, to make sure we're   ·5·   ·the Aurora facility?
    ·6·   ·in compliance with the contract.· Like I said, there's a    ·6·   · · · · ·A.· · Yes.
    ·7·   ·quality -- a compliance division that oversees that         ·7·   · · · · ·Q.· · How often are those meetings held?
    ·8·   ·program for every facility, and there's -- it includes      ·8·   · · · · ·A.· · At this time, I don't know.· Sometimes
    ·9·   ·self-audits at the facility level and includes regional     ·9·   ·they're held monthly, sometimes they're held weekly,
    10·   ·audits and it includes corporate audits and follow-ups.     10·   ·sometimes they're held quarterly, sometimes they're ad
    11·   · · · · ·Q.· · Okay.· Are audits the primary mechanism for   11·   ·hoc.· It's just whenever they're needed.· Most facilities
    12·   ·ensuring contract compliance?                               12·   ·have a formal process, but I couldn't tell you exactly
    13·   · · · · ·A.· · Yes.                                          13·   ·what the time frame for Aurora at that time would be.
    14·   · · · · ·Q.· · Are there other mechanisms?                   14·   · · · · ·Q.· · What determines the frequency?
    15·   · · · · ·A.· · Well, reviews or -- that would be the         15·   · · · · ·A.· · The COTR probably.
    16·   ·primary source.· You wouldn't know unless you weren't       16·   · · · · ·Q.· · Okay.
    17·   ·audited.· Unless there's an outside audit as well.· Then,   17·   · · · · ·A.· · Whether or not they want to meet.
    18·   ·you know, that would be another source.                     18·   · · · · ·Q.· · Who participates in those meetings?
    19·   · · · · ·Q.· · Okay.· Who deals with outside audits?· In     19·   · · · · ·A.· · It would be the --
    20·   ·other words, who at GEO Group is the point of contact for   20·   · · · · ·Q.· · Go ahead.
    21·   ·outside auditors?                                           21·   · · · · ·A.· · Sorry.· Let me read the whole thing and
    22·   · · · · ·A.· · We're not appointed contact for outside       22·   ·make sure I got it.
    23·   ·auditors.                                                   23·   · · · · · · · ·Yeah.· This is a meeting between the
    24·   · · · · ·Q.· · Okay.· So GEO doesn't receive the results     24·   ·on-site people -- on-site ICE people with the on-site
    25·   ·of those audits?                                            25·   ·management of GEO.· So it would most likely be the


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    ·1·   ·facility warden, his department heads, the COTR,            ·1·   · · · · ·A.· · The staffing plan of the facility, which is
    ·2·   ·sometimes other ICE representatives, such as the            ·2·   ·part of the contract.
    ·3·   ·directors and assistant directors.· But this would          ·3·   · · · · ·Q.· · Does the staffing plan need to be submitted
    ·4·   ·definitely be at the facility level.                        ·4·   ·with a proposal when a contract RFP is sent out?
    ·5·   · · · · ·Q.· · Where is the contracting officer's office     ·5·   · · · · ·A.· · Yes.
    ·6·   ·located?                                                    ·6·   · · · · ·Q.· · That happens before the notice to proceed
    ·7·   · · · · ·A.· · In this case, it would have been Laguna       ·7·   ·is issued?
    ·8·   ·Nigel.· And the meeting would have been probably by         ·8·   · · · · ·A.· · Yes.· Notice to proceed is after contract
    ·9·   ·phone, if necessary.· There are times that we have issues   ·9·   ·award.
    10·   ·that we bring the facility, the region, myself, and the     10·   · · · · ·Q.· · Okay.
    11·   ·contracting officer and we have a conference call. I        11·   · · · · ·A.· · So it's already been awarded.
    12·   ·mean, these performance meetings are a lot of different     12·   · · · · ·Q.· · Do staffing plans change from time to time
    13·   ·variances of meetings.                                      13·   ·during the life of a contract?
    14·   · · · · ·Q.· · I think you anticipated my next question,     14·   · · · · ·A.· · Yes.
    15·   ·which is, how often do you participate in these meetings?   15·   · · · · ·Q.· · And so this paragraph speaks to changes and
    16·   · · · · ·A.· · Whenever there's a problem, a big problem.    16·   ·says:· "Written requests to change the number, type,
    17·   · · · · ·Q.· · Okay.· Can you describe sort of by type       17·   ·and/or distribution of staff described in the staffing
    18·   ·what sorts of problems would typically involve you?         18·   ·plan must be submitted to the CO through the COTR for
    19·   · · · · ·A.· · Any time that we thought there was going to   19·   ·approval prior to implementation."
    20·   ·be a modification to the contract and we needed to get      20·   · · · · · · · ·So let me know if I have the process right.
    21·   ·all the players involved so everybody understood what was   21·   ·If there's a change, GEO sends it to the COTR, who then
    22·   ·going on and how we can make sure that we're getting all    22·   ·submits it to the contracting officer; and then once it's
    23·   ·the relevant information.· Not a lot.                       23·   ·approved, it's approved, it's implemented?
    24·   · · · · ·Q.· · You said not a lot?                           24·   · · · · ·A.· · Yes.· Or sometimes it's sent directly to
    25·   · · · · ·A.· · Not at the facility level.· Usually we can    25·   ·the contracting officer and copied to the COTR.

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    ·1·   ·handle it differently, but there are times that we get      ·1·   · · · · ·Q.· · Okay.· Who at GEO initiates changes to the
    ·2·   ·everyone involved in a joint conference, in a joint call.   ·2·   ·staffing plan?
    ·3·   · · · · ·Q.· · It's more difficult for you to handle that    ·3·   · · · · ·A.· · It could be a variety of reasons. A
    ·4·   ·issue with a contracting officer directly; is that          ·4·   ·facility can say, you know, "We need an additional person
    ·5·   ·correct?                                                    ·5·   ·here and we really don't need this person here; can we
    ·6·   · · · · ·A.· · Yes, it is.· And that's after I've done all   ·6·   ·exchange positions."· It goes up through region.· Region
    ·7·   ·my research, as far as a facility and region; that person   ·7·   ·goes up through corporate.· There's a process for all of
    ·8·   ·has done all their research, as far as staff; and then we   ·8·   ·this.· And they -- corporate then -- the operations part
    ·9·   ·collectively, but sometimes we all get together.            ·9·   ·of it comes to us and says, "Can we contractually change
    10·   · · · · ·Q.· · For the meetings that you're not involved     10·   ·this or do we need to, you know, pay for it on our own?"
    11·   ·in, do you -- is there any sort of reporting back to you    11·   ·or those type of things.· So it can go from a variety of
    12·   ·that you receive?                                           12·   ·levels.
    13·   · · · · ·A.· · Again, unless there's a problem or a          13·   · · · · ·Q.· · Okay.
    14·   ·question that they have.                                    14·   · · · · ·A.· · From a GEO perspective.· Now, ICE can come
    15·   · · · · ·Q.· · Okay.                                         15·   ·back and say, "We want this and this and that," and it
    16·   · · · · ·A.· · Warden comes back and says, "This came up     16·   ·comes from the ICE level and we have to change staffing
    17·   ·in a meeting and we're not sure" -- "we wanted to get       17·   ·levels.· But either way, the contract has to be modified.
    18·   ·back.· We're not really sure how to interpret this or how   18·   · · · · ·Q.· · Okay.· It sounds like it's initiated from
    19·   ·to answer this."· That's one time I would, at that level,   19·   ·the facility level before going through all those levels
    20·   ·get involved.                                               20·   ·of review --
    21·   · · · · ·Q.· · So not in the ordinary course of business?    21·   · · · · ·A.· · Yes.
    22·   · · · · ·A.· · No.                                           22·   · · · · ·Q.· · -- and approval?
    23·   · · · · ·Q.· · Turn ahead a few pages to page 656.· Under    23·   · · · · ·A.· · Most -- yes.· They are the ones that have
    24·   ·Section 7.8, it refers to a staffing plan.· What is the     24·   ·the day-to-day operations.· They know the staffing that
    25·   ·staffing plan that this refers to?                          25·   ·they need.


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    ·1·   · · · · ·Q.· · So when a proposal is submitted pursuant to   ·1·   · · · · ·A.· · Yes.
    ·2·   ·an RFP, who develops the staffing plan that's submitted     ·2·   · · · · ·Q.· · Who was he at the time?
    ·3·   ·at that time?                                               ·3·   · · · · ·A.· · He was the vice president over business
    ·4·   · · · · ·A.· · The operations division.                      ·4·   ·development.· I'm sorry, he was the executive vice
    ·5·   · · · · · · · ·(Plaintiff Exhibit No. 9 was marked for       ·5·   ·president over business development.
    ·6·   · · · · ·identification.)                                    ·6·   · · · · ·Q.· · And on the right side, on behalf of the
    ·7·   ·BY MR. SCIMONE:                                             ·7·   ·United States, by Roberta Halls?
    ·8·   · · · · ·Q.· · Okay.· The court reporter has just handed     ·8·   · · · · ·A.· · Uh-huh.
    ·9·   ·you Exhibit 9, which is Bates stamped GEO_MEN 19613         ·9·   · · · · ·Q.· · Was she the contracting officer at that
    10·   ·through 20037.· It's a big exhibit.                         10·   ·time?
    11·   · · · · · · · ·Do you recognize what it is?                  11·   · · · · ·A.· · Yes.
    12·   · · · · ·A.· · It's the contract in 2011 for the Aurora      12·   · · · · ·Q.· · So if you'll look at page 625.· This
    13·   ·facility.                                                   13·   ·contract seems to be formatted a bit differently from the
    14·   · · · · ·Q.· · And do you know how long this contract was    14·   ·previous one.
    15·   ·in effect?                                                  15·   · · · · ·A.· · Yes.
    16·   · · · · ·A.· · Well, I can tell you after I read the         16·   · · · · ·Q.· · And, well, do you know what the reason is
    17·   ·contract.                                                   17·   ·for that change in format?
    18·   · · · · · · · ·From 2011 to 2019.                            18·   · · · · ·A.· · Again, they evolved.· They got technically
    19·   · · · · ·Q.· · All right.· And did this contract supersede   19·   ·more inclusive, make sure they were covering all bases,
    20·   ·the one signed in 2006, to your knowledge?                  20·   ·et cetera.
    21·   · · · · ·A.· · I don't --                                    21·   · · · · ·Q.· · Do you know what prompted that change?
    22·   · · · · ·Q.· · Let me ask you, on the current Exhibit 9,     22·   · · · · ·A.· · No.· I think it's a pure involvement, as
    23·   ·where are you looking to see the term of the contract?      23·   ·far as, you know, getting more contracts and making sure
    24·   · · · · ·A.· · I'm looking at the CLINs, which are the       24·   ·that all the bases are covered.
    25·   ·cost line item proposals.                                   25·   · · · · ·Q.· · Okay.· If you'll turn to page 717.· This is

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    ·1·   · · · · ·Q.· · What page is that on?                         ·1·   ·titled "Statement of Objectives" at the top.· Under the
    ·2·   · · · · ·A.· · This is on 623.                               ·2·   ·introduction, Section A, second sentence in -- well, the
    ·3·   · · · · ·Q.· · Okay.                                         ·3·   ·first sentence -- I'm just picking up about halfway --
    ·4·   · · · · ·A.· · This says -- you can just look at any of      ·4·   ·no, the second sentence: "ICE is reforming the
    ·5·   ·them.· Option Period 4 (Option Line Item) 9/16/2019.        ·5·   ·immigration detention system to move away from a penal
    ·6·   · · · · ·Q.· · And so you said this runs through 2018?       ·6·   ·model of detention."· Do you see that?
    ·7·   · · · · ·A.· · '19.                                          ·7·   · · · · ·A.· · I'm sorry.· Oh, yes.
    ·8·   · · · · ·Q.· · Oh, '19.· I misheard.                         ·8·   · · · · ·Q.· · Okay.· What's your understanding of what
    ·9·   · · · · · · · ·All right.· So then looking back at           ·9·   ·that means?
    10·   ·Exhibit 8 --                                                10·   · · · · ·A.· · I don't know.· I mean, I guess from the
    11·   · · · · ·A.· · I don't know if it has the CLINs.· Yeah, it   11·   ·prison-life atmosphere to a civil atmosphere.
    12·   ·does.· I'm sorry.                                           12·   · · · · ·Q.· · Are you familiar with that policy?· Has
    13·   · · · · ·Q.· · On page 637, I see --                         13·   ·that been something that's part of your work?
    14·   · · · · ·A.· · It's 2010.                                    14·   · · · · ·A.· · I'm sorry?
    15·   · · · · ·Q.· · Okay.· This one's through 2010.               15·   · · · · ·Q.· · Well, are you familiar with that policy,
    16·   · · · · ·A.· · Yes.                                          16·   ·moving from a penal model to a more civil detention
    17·   · · · · ·Q.· · So did the 2011 one supersede this            17·   ·model?
    18·   ·contract?                                                   18·   · · · · ·A.· · I know that's where ICE has been -- is
    19·   · · · · ·A.· · Yes.                                          19·   ·heading, just like everyone else is.
    20·   · · · · ·Q.· · Or follow it?                                 20·   · · · · ·Q.· · And the next sentence begins:· "A key goal
    21·   · · · · ·A.· · Follow it, yes.                               21·   ·of reform is to create a civil detention system that is
    22·   · · · · ·Q.· · All right.· We can turn back to Exhibit 9.    22·   ·not penal in nature..."
    23·   ·Thank you.                                                  23·   · · · · · · · ·What is that -- do you understand what the
    24·   · · · · · · · ·Okay.· And on the first page, this is         24·   ·reference to "reform" refers to?· Is there a particular
    25·   ·signed on behalf of GEO by Ron Maddox, correct?             25·   ·initiative or project that that's referring to?


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    ·1·   · · · · ·A.· · No.· Not that I know of.                      ·1·   · · · · · · · ·From looking through, do you have any sense
    ·2·   · · · · ·Q.· · Do you know when that shift began?            ·2·   ·of how this document was used or it may have originated?
    ·3·   · · · · ·A.· · No.· I guess during this time period.         ·3·   · · · · ·A.· · This appears to be during a time that the
    ·4·   · · · · ·Q.· · From your experience at The GEO Group         ·4·   ·optimal non-mandatories and optimal mandatories came out,
    ·5·   ·during this time frame, do you have a general sort of       ·5·   ·as I was referring to before.· But without specifically
    ·6·   ·sense of the time frame in which there was a shift from a   ·6·   ·looking through and making sure of that, but this appears
    ·7·   ·penal model to a civil detention model?                     ·7·   ·to be when those reviews came about.· So I'm guessing
    ·8·   · · · · ·A.· · Well, the shifts began with the new ICE.      ·8·   ·about 2013.
    ·9·   ·Obviously, with the 2008 PBNDS standards, reforms in the    ·9·   · · · · ·Q.· · Does this appear to you to be a document
    10·   ·2011 PBNDS standard, the optimal standards that came out    10·   ·that originated with ICE?
    11·   ·after that.· I mean, there's been reform, as you put it,    11·   · · · · ·A.· · I don't know.· It's not numbered or
    12·   ·all along.                                                  12·   ·anything, so I don't know where it would be originated
    13·   · · · · ·Q.· · So is that -- those reforms reflect           13·   ·from.
    14·   ·principally to the changes in the PBNDS?· Is that --        14·   · · · · ·Q.· · Okay.· If you'll look near the bottom of
    15·   · · · · ·A.· · Yeah.· That's definitely a big influence.     15·   ·the first page, bottom third or so, there's a reference
    16·   · · · · ·Q.· · If you'll turn to page 656.                   16·   ·here to optimal provisions.· I think you spoke earlier
    17·   · · · · · · · ·MR. BARNACLE:· I'm sorry, what did you just   17·   ·about optimal aspects of the PBNDS.
    18·   · · · · ·say?                                                18·   · · · · ·A.· · Uh-huh.
    19·   · · · · · · · ·MR. SCIMONE:· Page 656.                       19·   · · · · ·Q.· · Can you explain your understanding of what
    20·   ·BY MR. SCIMONE:                                             20·   ·that means in practice.
    21·   · · · · ·Q.· · This section actually begins on the prior     21·   · · · · ·A.· · There's optimal provisions and there's
    22·   ·page titled "Constraints."· And it says:· "The following    22·   ·optimal non-mandatory provisions and optimal mandatory
    23·   ·constraints comprise the statutory, regulatory, policy      23·   ·provisions.· Some of these non-mandatory provisions, like
    24·   ·and operational considerations that will affect the         24·   ·I said, came about to enhance some of these provisions
    25·   ·Contractor."· And to direct your attention down to          25·   ·that possibly had issues with physical structure, some

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    ·1·   ·Item 10 on the following page, it lists the PBNDS there.    ·1·   ·things that a facility -- standalone facilities could not
    ·2·   ·I think you said this earlier, but does this mean that      ·2·   ·comply with, but they were researched to see "How many of
    ·3·   ·the PBNDS is effectively incorporated as part of this       ·3·   ·these can you comply with?" "How many of these can you
    ·4·   ·contract?                                                   ·4·   ·comply with that's going to be a larger cost?" and that
    ·5·   · · · · ·A.· · Yes, it is.                                   ·5·   ·was a process.· And that happened, like I said, back in
    ·6·   · · · · ·Q.· · All right.· And these other line items are    ·6·   ·2013.
    ·7·   ·also -- and compliance with these other items here is       ·7·   · · · · ·Q.· · The second sentence here says:· "Optimal
    ·8·   ·also part of the contract?                                  ·8·   ·provisions in the standards are not unilaterally
    ·9·   · · · · ·A.· · Yes.· They're all included in the contract.   ·9·   ·binding."
    10·   · · · · ·Q.· · Okay.· You can put that aside.                10·   · · · · ·A.· · Correct.
    11·   · · · · ·A.· · Okay.                                         11·   · · · · ·Q.· · "However, implementation of these
    12·   · · · · ·Q.· · We're going to refer back to all these, I'm   12·   ·provisions furthers effective operation of a facility at
    13·   ·sure.                                                       13·   ·the level intended by ICE under revised standards."
    14·   · · · · · · · ·(Plaintiff Exhibit No. 10 was marked for      14·   · · · · ·A.· · Correct.
    15·   · · · · ·identification.)                                    15·   · · · · ·Q.· · Does that comport with your understanding
    16·   ·BY MR. SCIMONE:                                             16·   ·that an optimal provision is not necessarily a binding
    17·   · · · · ·Q.· · Exhibit 10 is Bates stamped GEO-MEN 10553     17·   ·one?
    18·   ·through 592.· Take a moment to review and let me know       18·   · · · · ·A.· · It's not unilaterally binding.· It can be
    19·   ·when you're ready.                                          19·   ·bilaterally binding.
    20·   · · · · ·A.· · Okay.                                         20·   · · · · ·Q.· · What does that mean in practice?
    21·   · · · · ·Q.· · Do you recognize this document?               21·   · · · · ·A.· · Well, unilateral is if there's -- the
    22·   · · · · ·A.· · I don't recognize this document, no.          22·   ·change and scope of the contract doesn't affect anything
    23·   · · · · ·Q.· · It's titled "Summary of Major Changes         23·   ·financial, physical structure or change of scope and
    24·   ·Between the 2008 and 2011 Performance-Based National        24·   ·services so that ICE can unilaterally bind the contractor
    25·   ·Detention Standards," just to give a sense of time frame.   25·   ·to that change in the contract even though it's a change


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    ·1·   ·of scope.                                                   ·1·   ·whatever, it's part of the contract and it's required.
    ·2·   · · · · ·Q.· · Okay.                                         ·2·   · · · · ·Q.· · Okay.· But there is a category of
    ·3·   · · · · ·A.· · And bilaterally means that we both agree      ·3·   ·non-mandatory PBNDS standards that exist?
    ·4·   ·and there's a change -- there's a modified portion of       ·4·   · · · · ·A.· · Well, they're called optimal non-mandatory.
    ·5·   ·that that may change the price of the contract or may       ·5·   ·It's just an enhancement of what the standards are
    ·6·   ·change something else that, you know, changes the           ·6·   ·already: more square footage or -- I'm just trying to
    ·7·   ·operation and gives -- you know, those type of things.      ·7·   ·think off the top of my head.
    ·8·   · · · · · · · ·But there's two different kinds.              ·8·   · · · · ·Q.· · Yeah.· Just, I guess, for example --
    ·9·   ·Unilateral is, ICE says do it, you do it, and there's no    ·9·   · · · · ·A.· · There is one other issue.· There may be
    10·   ·negotiation, et cetera.· Unless they say, "You do it,"      10·   ·where there's a mandatory standard that the facility
    11·   ·and we come back and say, "But there is a financial, you    11·   ·can't meet it because of restrictions, mainly usually
    12·   ·know, stance to this that we need to make you aware of,     12·   ·because of physical structure, and there's a process of
    13·   ·and there's a provision to raise that level up to."         13·   ·waivers that ICE can waive.
    14·   · · · · ·Q.· · So for those -- I think I understand the      14·   · · · · ·Q.· · Okay.· Who deals with the waiver process at
    15·   ·two categories.· Is GEO always required to meet all of      15·   ·ICE?
    16·   ·the optimal standards or are some of them, I guess,         16·   · · · · ·A.· · I don't know.· I mean, it probably would go
    17·   ·optional?                                                   17·   ·through the contracting officer.
    18·   · · · · ·A.· · No.· There's -- okay.· In this process, the   18·   · · · · ·Q.· · Okay.
    19·   ·ones that were optional, as you say, or non-mandatory --    19·   · · · · ·A.· · You know, but it's handled through
    20·   · · · · ·Q.· · Right.                                        20·   ·compliance.
    21·   · · · · ·A.· · -- we agreed to -- we mutually agreed to      21·   · · · · ·Q.· · Okay.
    22·   ·which ones we could follow without having to change or      22·   · · · · ·A.· · It's public.· I mean, there's a -- it says
    23·   ·which ones we could follow that the government wanted to    23·   ·what -- it's not only GEO.· There's other people that
    24·   ·pay for.· And so those are the standards we have to meet,   24·   ·waive standards.· I don't know what committee that is.
    25·   ·whatever we agree to bilaterally.                           25·   · · · · ·Q.· · Right.· Did you deal with that when you

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    ·1·   · · · · ·Q.· · And that happened around 2013, I think you    ·1·   ·were in -- when you dealt with contract compliance in
    ·2·   ·said?                                                       ·2·   ·2000 to 2011?
    ·3·   · · · · ·A.· · Yeah.· I think it was.· It may have been a    ·3·   · · · · ·A.· · No.· I mean, the standards 2008, 2011
    ·4·   ·little later, but I think it was 2013, 2014.                ·4·   ·were -- they're kind of probably fairly new in that
    ·5·   · · · · ·Q.· · So the second paragraph under "Optimal        ·5·   ·frame, because I dealt with these in 2013, after I dealt
    ·6·   ·Provisions" says:· "The PBNDS 2011 thus allows for a        ·6·   ·with the contract administration.· But as far as
    ·7·   ·range of compliance, to facilitate the immediate            ·7·   ·compliance levels, we dealt with -- we didn't have any
    ·8·   ·implementation of these standards..."                       ·8·   ·waivers or anything like that.· This was the first
    ·9·   · · · · · · · ·What does that mean?                          ·9·   ·process of really changing things.
    10·   · · · · ·A.· · I have no idea.· I'm hoping there's not a     10·   · · · · ·Q.· · Okay.
    11·   ·range of compliance as far as meeting standards.            11·   · · · · ·A.· · Or agreeing to new things.
    12·   · · · · ·Q.· · Okay.· You understand that to mean that       12·   · · · · ·Q.· · Okay.· So maybe this is helpful to talk
    13·   ·there are some areas where a contractor might not           13·   ·about in the context of an example.· Let me see.· Bear
    14·   ·bilaterally agree with ICE to meet a certain standard and   14·   ·with me a minute.· Here we go.· If you look at 580, so
    15·   ·ICE might then permit that even though it's not -- in       15·   ·Section 5.4 is recreation.· And so there's -- this is
    16·   ·other words, it's not a mandatory sort of minimum           16·   ·major changes in the PBNDS under recreation and detention
    17·   ·standard under the PBNDS; it's something that ICE would     17·   ·standard.· It says:· "Expanded Recreation for General
    18·   ·like to see happen but doesn't necessarily require?         18·   ·Populations."· And below that you'll see "Optimal
    19·   · · · · ·A.· · That's your non-mandatories.                  19·   ·Recreation for General Populations."· And so the first
    20·   · · · · ·Q.· · Okay.                                         20·   ·one is, you know:· "Detainees shall have at least four
    21·   · · · · ·A.· · That's what your non-mandatories are.· It's   21·   ·hours a day access, seven days a week, to outdoor
    22·   ·like ICE would like to see this happen, but it's not        22·   ·recreation, weather and scheduling permitted.· Outdoor
    23·   ·required or we mutually agree that it's going to be         23·   ·recreation shall support leisure activities, outdoor
    24·   ·required.· Once it's embedded into the contract, it         24·   ·sports and exercise as referenced and defined by the
    25·   ·doesn't matter.· If it's non-mandatory, mandatory,          25·   ·National Commission on Correctional Health Care


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    ·1·   ·Standards, provided outside the confines of the housing     ·1·   · · · · ·Q.· · You say the amounts they were legislatively
    ·2·   ·structure and/or solid enclosures."                         ·2·   ·allowing.
    ·3·   · · · · · · · ·So I'm sort of -- I guess I'm trying to       ·3·   · · · · ·A.· · There was a conflict with this and what ICE
    ·4·   ·understand how this sort of works with respect to the       ·4·   ·was paying for.
    ·5·   ·contract.· Would GEO, I guess, be asked to provide this     ·5·   · · · · ·Q.· · Can you explain the conflict?
    ·6·   ·level of recreation and then there would be a discussion    ·6·   · · · · ·A.· · Well, this said that it was at least $1 a
    ·7·   ·about whether or not it could in fact comply with that?     ·7·   ·day, but --
    ·8·   · · · · ·A.· · Yes.                                          ·8·   · · · · ·Q.· · Right.
    ·9·   · · · · ·Q.· · And then would that typically become a term   ·9·   · · · · ·A.· · -- but ICE could not pay for more than $1 a
    10·   ·of the contract or would it simply be left as this is       10·   ·day according to the statute.
    11·   ·something you can comply -- you can meet, but you don't     11·   · · · · ·Q.· · Okay.· But notwithstanding the fact that
    12·   ·necessarily have to meet the standard?                      12·   ·ICE couldn't reimburse more than $1 a day, it was
    13·   · · · · ·A.· · No.· They were modified, as you can see       13·   ·allowing GEO to pay more than $1 a day?
    14·   ·with the earlier documentation you showed me.· The          14·   · · · · ·A.· · Well, we had to get permission from ICE to
    15·   ·contract was actually modified.                             15·   ·do that, so that also conflicted with this.
    16·   · · · · ·Q.· · Okay.· And if you'll turn to page 105585 --   16·   · · · · ·Q.· · Did GEO ever seek permission to pay more
    17·   ·actually, 84.· So this deals with Section 5.8, Voluntary    17·   ·than $1 a day?
    18·   ·Work Program.· Are you familiar with that program?          18·   · · · · ·A.· · I don't know.
    19·   · · · · ·A.· · Yes.                                          19·   · · · · ·Q.· · This would have been around the 2011 time
    20·   · · · · ·Q.· · Okay.· Just in general terms, so that we      20·   ·frame?
    21·   ·have a working understanding, what is the Voluntary Work    21·   · · · · ·A.· · I don't believe that we, at Aurora, did
    22·   ·Program?                                                    22·   ·that, no.
    23·   · · · · ·A.· · It's a program that's offered to the          23·   · · · · ·Q.· · Okay.· So Aurora didn't seek permission to
    24·   ·detainees if they want to voluntarily work in               24·   ·pay more than $1 a day?
    25·   ·subcategories, and they get paid a fee for their service.   25·   · · · · ·A.· · No.· Because we couldn't get paid more than

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    ·1·   ·And it helps with their skills and that type of thing.      ·1·   ·$1 a day or the detainee couldn't get paid more than $1 a
    ·2·   · · · · ·Q.· · If you look at the next page, 585, at the     ·2·   ·day.
    ·3·   ·very top, it says: "Compensation: The required              ·3·   · · · · ·Q.· · Okay.· Let me see if I have it straight.
    ·4·   ·compensation for work was increased from $1.00 per day to   ·4·   ·So ICE changed the standards to permit GEO to pay more
    ·5·   ·'at least $1.00 per day.'"· Do you see that?                ·5·   ·than $1 a day, but because GEO wasn't getting reimbursed
    ·6·   · · · · ·A.· · Yes.                                          ·6·   ·more than $1 a day, it didn't seek to increase that
    ·7·   · · · · ·Q.· · Before this change, it was just $1 per day?   ·7·   ·amount?
    ·8·   · · · · ·A.· · Yes.                                          ·8·   · · · · ·A.· · And ICE couldn't pay more than $1 a day.
    ·9·   · · · · ·Q.· · And this increased it?                        ·9·   · · · · ·Q.· · But it didn't seek permission from ICE to
    10·   · · · · ·A.· · Increased the ability to do more than $1 a    10·   ·pay more than $1 a day?
    11·   ·day.                                                        11·   · · · · ·A.· · Right.· Because there wasn't the
    12·   · · · · ·Q.· · So --                                         12·   ·possibility to pay more.
    13·   · · · · ·A.· · From a contractor's perspective.              13·   · · · · ·Q.· · And GEO didn't want to pay it if it wasn't
    14·   · · · · ·Q.· · Okay.· In other words, paying more than $1    14·   ·getting reimbursed by ICE?
    15·   ·a day was optional?                                         15·   · · · · ·A.· · Well, it's a contractural requirement as
    16·   · · · · ·A.· · Yes.                                          16·   ·far as we're concerned and we've already priced this.
    17·   · · · · ·Q.· · So does that mean ICE left GEO discretion     17·   · · · · ·Q.· · Right.· But I guess I'm -- what I'm saying
    18·   ·as to how much it would pay in that program?                18·   ·is, the decision was based on the pricing, not whether --
    19·   · · · · ·A.· · No.                                           19·   ·not whether GEO was permitted to pay more than $1 a day.
    20·   · · · · ·Q.· · Okay.· Can you explain.                       20·   ·In other words, GEO could have paid more than $1 a day
    21·   · · · · ·A.· · The only -- this is a pass-through cost.      21·   ·notwithstanding the fact it wasn't getting reimbursed?
    22·   ·So the only amounts legislatively that they were allowing   22·   · · · · ·A.· · Well, again, we had to seek permission from
    23·   ·was $1 a day.· So that's the only amount that was, you      23·   ·ICE to do that.
    24·   ·know, like I said, passed through through the contract      24·   · · · · ·Q.· · Sure.
    25·   ·and invoiced.                                               25·   · · · · ·A.· · I think the person that put this together


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    ·1·   ·was trying to open the door for future issues, so it was    ·1·   · · · · ·Q.· · Right.· I guess, procedurally, if GEO made
    ·2·   ·more broad and they didn't have to, you know, change this   ·2·   ·that decision to do this, as you put it, on your own
    ·3·   ·again.· ICE couldn't pay more than $1 a day; we couldn't    ·3·   ·time -- on its own dime, the process for getting that
    ·4·   ·get reimbursed more than $1 a day.· So this was all         ·4·   ·permission from ICE would be -- would it be the same as
    ·5·   ·conflicted in this statement.                               ·5·   ·any other contract modification?
    ·6·   · · · · ·Q.· · Well, I guess I'm trying to understand        ·6·   · · · · ·A.· · Yes.
    ·7·   ·"conflicted."· Because as I --                              ·7·   · · · · ·Q.· · So there's a process that's well
    ·8·   · · · · ·A.· · If I wanted to go modify a contract and pay   ·8·   ·established to do that, and we talked about it earlier
    ·9·   ·$1.50 a day, ICE could not pay that.· So the contract       ·9·   ·today, right?
    10·   ·could never be modified.                                    10·   · · · · ·A.· · Yes.
    11·   · · · · ·Q.· · Well, you could pay something without         11·   · · · · · · · ·MR. SCIMONE:· Okay.· Off the record for a
    12·   ·getting reimbursed from ICE if ICE gave you permission to   12·   · · · · ·minute.
    13·   ·do that, right?                                             13·   · · · · · · · ·(A discussion was held off the record.)
    14·   · · · · ·A.· · Yeah.· But they couldn't give permission to   14·   · · · · · · · ·(Plaintiff Exhibit No. 11 was marked for
    15·   ·do that because they couldn't pay more than $1 a day.       15·   · · · · ·identification.)
    16·   · · · · ·Q.· · No.· I understand they couldn't pay more,     16·   ·BY MR. SCIMONE:
    17·   ·but they could give permission for GEO to pay more; it      17·   · · · · ·Q.· · Okay.· Ms. Martin, the court reporter has
    18·   ·would just be a cost borne by GEO, right?                   18·   ·just handed you Exhibit 11.· This has a document
    19·   · · · · ·A.· · I guess.                                      19·   ·identification number at the bottom, a little different
    20·   · · · · ·Q.· · Okay.· We saw earlier there was a term in     20·   ·than the others.· This is 2018-ICLI-0052 2141, running
    21·   ·the 2006 contract that says that all costs are -- of        21·   ·through 2169.· I was just getting all that on the record.
    22·   ·complying with the contract are to be borne by the          22·   · · · · · · · ·Do you recognize this document?
    23·   ·contractor?                                                 23·   · · · · ·A.· · No.· I mean, it looks like a detention
    24·   · · · · ·A.· · Right.                                        24·   ·handbook -- Detainee Handbook for LaSalle Processing
    25·   · · · · ·Q.· · So that would then become a cost that GEO     25·   ·Center, but I haven't seen it specifically.

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    ·1·   ·would have to bear if it got permission from ICE to pay     ·1·   · · · · ·Q.· · Okay.· LaSalle Processing Center is a
    ·2·   ·more than $1 a day but was still being reimbursed only at   ·2·   ·facility operated by The GEO Group?
    ·3·   ·$1 a day?                                                   ·3·   · · · · ·A.· · Yes, it is.
    ·4·   · · · · ·A.· · Yes.· But it would be difficult to modify     ·4·   · · · · ·Q.· · Okay.· Is that an ICE detention facility?
    ·5·   ·the contract to do that.                                    ·5·   · · · · ·A.· · Yes, it is.
    ·6·   · · · · ·Q.· · More so than any other contract               ·6·   · · · · ·Q.· · If you'll look at page 10, there's a
    ·7·   ·modification?                                               ·7·   ·section here titled "Voluntary Work Program" at the
    ·8·   · · · · ·A.· · Again, because there's strict parameters      ·8·   ·bottom of the page.
    ·9·   ·of ICE can't pay more than $1 a day, we can't -- if we      ·9·   · · · · ·A.· · Okay.
    10·   ·can't be reimbursed more than $1 a day, in order to give    10·   · · · · ·Q.· · First of all, before I ask about this, do
    11·   ·permission to do something that is outside the realm, it    11·   ·you have any responsibility for the contract at LaSalle?
    12·   ·would -- I don't know how that would be done in a           12·   · · · · ·A.· · Yes.
    13·   ·contract modification.                                      13·   · · · · ·Q.· · Okay.
    14·   · · · · ·Q.· · Well, there are contract modifications --     14·   · · · · ·A.· · I have responsibility over all contracts.
    15·   · · · · ·A.· · I think this would be done outside that. I    15·   · · · · ·Q.· · Okay.· So this Voluntary Work Program
    16·   ·don't know.                                                 16·   ·section, if you look at the second sentence, says:· "Any
    17·   · · · · ·Q.· · Outside what?· I'm sorry?                     17·   ·detainee assigned to work in the kitchen will be paid
    18·   · · · · ·A.· · Like I said, I don't see ICE permitting       18·   ·$4.00 per day."· Do you see that?
    19·   ·that as a contract modification since statutorily they      19·   · · · · ·A.· · Uh-huh.
    20·   ·can't pay more than $1 a day and we can't get reimbursed    20·   · · · · ·Q.· · And laundry work details and barbershop
    21·   ·more than $1 a day.· It wasn't just asked along those       21·   ·workers will be paid $3 per day?
    22·   ·bases.· I guess we could do it on our own dime.             22·   · · · · ·A.· · Uh-huh.
    23·   · · · · ·Q.· · Right.                                        23·   · · · · ·Q.· · And then special detail workers are paid $2
    24·   · · · · ·A.· · But the contract was priced this way, et      24·   ·a day?
    25·   ·cetera.                                                     25·   · · · · ·A.· · Yes.


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    ·1·   · · · · ·Q.· · And then all other job assignments are $1     ·1·   · · · · ·Q.· · You're not sure which, though?
    ·2·   ·per day, correct?                                           ·2·   · · · · ·A.· · I'm sure it would be GEO.
    ·3·   · · · · ·A.· · Correct.                                      ·3·   · · · · · · · ·MR. SCIMONE:· Okay.· All right.· Let's take
    ·4·   · · · · ·Q.· · The same PBNDS provision applies at LaSalle   ·4·   · · · · ·a lunch break at this point.
    ·5·   ·as applies at Aurora, correct?                              ·5·   · · · · · · · ·(Lunch recess was held from 11:30 a.m. to
    ·6·   · · · · ·A.· · Yes.                                          ·6·   · · · · ·12:22 p.m.)
    ·7·   · · · · ·Q.· · Okay.· So the reimbursement for the LaSalle   ·7·   ·BY MR. SCIMONE:
    ·8·   ·facility is also $1 per day for the VWP, right?             ·8·   · · · · ·Q.· · Okay.· We're back from lunch.
    ·9·   · · · · ·A.· · Correct.                                      ·9·   · · · · · · · ·Ms. Martin, you understand, of course,
    10·   · · · · ·Q.· · So this is an example of a case where GEO     10·   ·you're still under oath, of course?
    11·   ·did in fact opt to pay more, at least in certain jobs,      11·   · · · · ·A.· · Yes.
    12·   ·than it was getting reimbursed by ICE, correct?             12·   · · · · ·Q.· · Okay.· All right.· So I would like you to
    13·   · · · · ·A.· · Yes.                                          13·   ·take a look back at Exhibit G.· It's one of the
    14·   · · · · ·Q.· · Did GEO get permission from ICE to do that?   14·   ·technical --
    15·   · · · · ·A.· · I'm assuming they did.                        15·   · · · · ·A.· · Exhibit G?
    16·   · · · · ·Q.· · Were you involved in seeking that             16·   · · · · ·Q.· · 7, I think.
    17·   ·permission?                                                 17·   · · · · ·A.· · 7, okay.
    18·   · · · · ·A.· · No.                                           18·   · · · · ·Q.· · That's the one.
    19·   · · · · ·Q.· · Do you know when that happened?               19·   · · · · ·A.· · Okay.
    20·   · · · · ·A.· · No.· Just an assumption on my part reading    20·   · · · · ·Q.· · And if you could, turn to page 40669.· And
    21·   ·this.                                                       21·   ·I'm looking at the section entitled "Work Program."· And
    22·   · · · · ·Q.· · Okay.· Do you know why GEO pays more for      22·   ·it says about midway down the page:· "The objectives of
    23·   ·these jobs at LaSalle than it does at Aurora?               23·   ·the Work Program..."· Do you see that line?
    24·   · · · · ·A.· · No.                                           24·   · · · · ·A.· · Yes.
    25·   · · · · ·Q.· · Do you know if that's still the case at       25·   · · · · ·Q.· · It has a series of bullet points.· So the

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    ·1·   ·LaSalle?· This says, if you look at the first page,         ·1·   ·objectives of the work program are designed to provide
    ·2·   ·revised June 2017.                                          ·2·   ·the following, and look down at the fourth one.· The
    ·3·   · · · · ·A.· · I don't know.                                 ·3·   ·fourth bullet point is:· "Activities necessary to the
    ·4·   · · · · ·Q.· · Okay.· And do you know what the -- what the   ·4·   ·maintenance of the daily operation of the facility."· And
    ·5·   ·term of the contract at -- of the current contract at       ·5·   ·then underneath the bullet points, there's a paragraph
    ·6·   ·LaSalle is?                                                 ·6·   ·that begins:· "Detainees will not be used to perform the
    ·7·   · · · · ·A.· · LaSalle is an IGSA, which is a different      ·7·   ·responsibilities or duties of a GEO employee."
    ·8·   ·type.· It's not a direct contract.· It's an                 ·8·   · · · · · · · ·Do you see any kind of tension or conflict
    ·9·   ·Intergovernmental Service Agreement.· The actual contract   ·9·   ·between those two statements?
    10·   ·is between the LaSalle Economic Development Division and    10·   · · · · ·A.· · No.· Because I think that the RFP and the
    11·   ·ICE, and LaSalle then contracts with us to operate the      11·   ·contract laid out very specifically what is involved in
    12·   ·facility.· So we don't have a direct contract.· This may    12·   ·the work program.· So I think this is just a very general
    13·   ·be why the differences.                                     13·   ·comment and, you know, it could have to do with a minute
    14·   · · · · ·Q.· · Okay.· So the contract is between GEO and     14·   ·part of a daily operation but not the whole facility.
    15·   ·LaSalle?                                                    15·   · · · · ·Q.· · "It" being the tasks done by people in the
    16·   · · · · ·A.· · Yes.                                          16·   ·work program?
    17·   · · · · ·Q.· · Is that a municipal division: LaSalle?        17·   · · · · ·A.· · Right.
    18·   · · · · ·A.· · Yes.· Well, it's a parish, but it's --        18·   · · · · ·Q.· · Is it true that detainees in the Voluntary
    19·   ·LaSalle Economic Development Division is who the contract   19·   ·work program perform activities that are necessary to the
    20·   ·is with.                                                    20·   ·maintenance of the facility?
    21·   · · · · ·Q.· · Do you know who pays the difference in the    21·   · · · · ·A.· · Not as themselves.· They work along with
    22·   ·cost of VWP program?· The difference meaning the amount     22·   ·correctional staff and food service staff and are trained
    23·   ·over $1 per day for these specific jobs.                    23·   ·in those areas.· So as far as them operating -- doing the
    24·   · · · · ·A.· · They would be -- LaSalle would be             24·   ·daily functions of the operation of the facility, no.
    25·   ·responsible or GEO would be responsible.                    25·   · · · · ·Q.· · The statement that detainees will not be


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    ·1·   ·used to perform the responsibilities or duties of a GEO     ·1·   · · · · ·Q.· · Does that refer to keeping the facility
    ·2·   ·employee, does that stem from language in the contract?     ·2·   ·clean?
    ·3·   · · · · ·A.· · I believe this is under -- yeah.· I think     ·3·   · · · · ·A.· · I think that refers to making sure that
    ·4·   ·that there is some ICE language and PBNDS language that     ·4·   ·detainees have personal hygiene items and they have
    ·5·   ·would say, you know, contractor staff.                      ·5·   ·access to what they need as far as, you know,
    ·6·   · · · · ·Q.· · Okay.· That detainees are not supposed to     ·6·   ·cleanliness, individual hygiene items, those type of
    ·7·   ·perform functions -- perform the responsibilities of a      ·7·   ·things.
    ·8·   ·GEO employee?                                               ·8·   · · · · ·Q.· · Okay.
    ·9·   · · · · ·A.· · Yeah.· I mean, the contract is over --        ·9·   · · · · ·A.· · Clothes, laundry, that type of issue.
    10·   ·however responsible.· I would have to look at the           10·   · · · · ·Q.· · In the box at the top of that page, the
    11·   ·contract, but I believe there's some language along the     11·   ·first functional area includes sanitation requirements.
    12·   ·lines of us having to manage the contract.                  12·   · · · · · · · ·Does that refer to the cleanliness of the
    13·   · · · · ·Q.· · Okay.· Let's look back at Exhibit 8.· And     13·   ·facility as a whole?
    14·   ·the page number is 59662.                                   14·   · · · · ·A.· · Yes.· I would say that.
    15·   · · · · ·A.· · I really can't count.                         15·   · · · · ·Q.· · So as a functional area, is that one of the
    16·   · · · · ·Q.· · That's okay.                                  16·   ·core areas that employees are responsible -- employees of
    17·   · · · · ·A.· · All right.                                    17·   ·the contractor are responsible for maintaining?
    18·   · · · · ·Q.· · So on 662, the second full paragraph down,    18·   · · · · ·A.· · Yes.
    19·   ·it says:· "Detainees shall not be used to perform the       19·   · · · · ·Q.· · Do you know what types of jobs are done by
    20·   ·responsibility or duties of an Employee of the              20·   ·detainees in the Voluntary Work Program?
    21·   ·Contractor."· So this is the 2006 contract.· Is that the    21·   · · · · ·A.· · From a broad perspective, I believe there's
    22·   ·language that you were referring to?                        22·   ·volunteer positions in the kitchen, laundry, sometimes
    23·   · · · · ·A.· · Yes.                                          23·   ·barbershop, maybe environmental, janitorial services. I
    24·   · · · · ·Q.· · Okay.· And then, if you'll turn in the same   24·   ·don't think there's any -- there used to be, but there's
    25·   ·document to page 642, this paragraph at the bottom of the   25·   ·not anymore groundskeeping, that type of thing.· So I

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    ·1·   ·page says:· "Contractor shall furnish all personnel,        ·1·   ·think that's pretty close to it.· There may have been a
    ·2·   ·management, equipment, supplies and services necessary      ·2·   ·couple more.
    ·3·   ·for performance of all aspects of the contract.· Unless     ·3·   · · · · ·Q.· · That box at the top of the page that we
    ·4·   ·explicitly stated otherwise, the Contractor is              ·4·   ·just looked at, if you'll turn to actually just the page
    ·5·   ·responsible for all costs associated with and incurred as   ·5·   ·before, 675, there's a header for that.· That's "Food
    ·6·   ·part of providing the services outlined in this             ·6·   ·Service."· Do you see that?
    ·7·   ·contract."                                                  ·7·   · · · · ·A.· · Yes.
    ·8·   · · · · · · · ·Is that in keeping with that statement we     ·8·   · · · · ·Q.· · So you said VWP workers work in the
    ·9·   ·just saw, that the necessary responsibilities -- the        ·9·   ·kitchen, but food service also appears to be one of these
    10·   ·necessary functions of the contract is supposed to be       10·   ·functional areas that GEO was responsible for providing,
    11·   ·done by GEO employees?                                      11·   ·correct?
    12·   · · · · ·A.· · Yes.                                          12·   · · · · ·A.· · Yes.
    13·   · · · · ·Q.· · Let's turn to page 676.· Are you on -- I'm    13·   · · · · ·Q.· · And you mention the laundry, but -- well,
    14·   ·sorry, 675, and it continues on to 676.· So there's this    14·   ·clothing and bedding here is listed here under the third
    15·   ·table here, and it shows -- in the left column there's a    15·   ·box as one of the functional areas that GEO is
    16·   ·series of what are described as "Functional Areas."         16·   ·responsible for providing.· That's what's done in the
    17·   ·Generally speaking, what are functional areas?              17·   ·laundry, correct?
    18·   · · · · ·A.· · Those are the functional areas of the QASP,   18·   · · · · ·A.· · Yes.
    19·   ·Quality Assurance Surveillance Program, that the            19·   · · · · ·Q.· · And you mentioned janitorial services, but
    20·   ·government monitors and reviews the contractor for.         20·   ·as we see at the top, sanitation requirements are one of
    21·   · · · · ·Q.· · Okay.· And on that next page, 70 -- 676,      21·   ·the responsibilities that GEO has to provide.· So aren't
    22·   ·the third functional area includes a number of items, but   22·   ·those responsibilities supposed to be done by employees
    23·   ·the second one up from the bottom is "personal              23·   ·of the contractor under the terms of the contract?
    24·   ·hygiene/well-being."                                        24·   · · · · ·A.· · They are.
    25·   · · · · ·A.· · Correct.                                      25·   · · · · ·Q.· · Those are also done by the workers in the


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    ·1·   ·Voluntary Work Program as well?                             ·1·   · · · · ·Q.· · Who would be involved in that process at
    ·2·   · · · · ·A.· · Yes.· As a Voluntary Work Program for the     ·2·   ·The GEO Group?· Who would know, I guess, where that
    ·3·   ·detainees to work alongside the contractor.· If we didn't   ·3·   ·proposal initiated?· Would that be someone in the
    ·4·   ·have volunteers in those areas, then we wouldn't have       ·4·   ·operations group?
    ·5·   ·anybody working in those areas.· It's for the detainees.    ·5·   · · · · ·A.· · No.· It would probably be done at the
    ·6·   · · · · ·Q.· · And as we saw in the last exhibit, 7 --       ·6·   ·facility level.· Specific job assignments would be done
    ·7·   ·this was GEO's Technical Proposal for the work program --   ·7·   ·at the facility level and approved by the ICE COTR at the
    ·8·   ·the activities provided include those that are necessary    ·8·   ·facility level.· Job assignments may vary at different
    ·9·   ·to the maintenance of the daily operation of the            ·9·   ·facilities.
    10·   ·facility.· It comports with what you just said, right?      10·   · · · · · · · ·(Plaintiff Exhibit No. 12 was marked for
    11·   · · · · ·A.· · I'm sorry, where are you reading from?        11·   · · · · ·identification.)
    12·   · · · · ·Q.· · The fourth bullet point down.                 12·   ·BY MR. SCIMONE:
    13·   · · · · ·A.· · "Activities necessary to the maintenance of   13·   · · · · ·Q.· · You've just been handed a document Bates
    14·   ·the daily operation of the facility."· Again, that's a      14·   ·stamped GEO_MEN 00073000.· Do you recognize this
    15·   ·broad statement.· If we had a program or a job available    15·   ·document?
    16·   ·in that area, then we could -- they could voluntarily       16·   · · · · ·A.· · I've -- well, it's from Dana Adams to
    17·   ·work in that area.                                          17·   ·myself.
    18·   · · · · ·Q.· · Who decides what jobs are provided as part    18·   · · · · ·Q.· · Do you recognize this to be an e-mail?
    19·   ·of the Voluntary Work Program?                              19·   · · · · ·A.· · Yes.
    20·   · · · · ·A.· · ICE.                                          20·   · · · · ·Q.· · Who is Dana Adams?
    21·   · · · · ·Q.· · And in what form does that guidance come to   21·   · · · · ·A.· · He was contracting officer for ICE.
    22·   ·GEO from ICE?                                               22·   · · · · ·Q.· · And this is dated June 16, 2014, correct?
    23·   · · · · ·A.· · They have to -- I don't know specifics as     23·   · · · · ·A.· · Yes.
    24·   ·far as the facility process is concerned, but ICE has to    24·   · · · · ·Q.· · And he's writing to you at your GEO Group
    25·   ·approve all the job assignments for the detainees.          25·   ·e-mail address?

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    ·1·   · · · · ·Q.· · So are they approving a proposal that's       ·1·   · · · · ·A.· · Yes.
    ·2·   ·created in the first instance by GEO?                       ·2·   · · · · ·Q.· · Okay.· And what -- he's within the Office
    ·3·   · · · · ·A.· · I don't know if it has anything to do with    ·3·   ·of Acquisition Management; is that correct?
    ·4·   ·the proposal.· They have to approve the specific job        ·4·   · · · · ·A.· · Yes.
    ·5·   ·assignments for the detainees.                              ·5·   · · · · ·Q.· · So he's -- is he then superior to the
    ·6·   · · · · ·Q.· · My question about who decides is about who    ·6·   ·contracting officer in terms of rank?
    ·7·   ·selects initially what those job assignments are going to   ·7·   · · · · ·A.· · He is a contracting officer or was a
    ·8·   ·be.· Is it initiated by GEO or is it initiated by ICE?      ·8·   ·contracting officer.· He no longer works for ICE.· At
    ·9·   · · · · ·A.· · I think it's a combination.· They're pretty   ·9·   ·this time, back in '14, I'm not sure if he had a
    10·   ·much normal procedures for kitchen, laundry, janitorial,    10·   ·supervisory role at the time or not.· He started as a CO
    11·   ·that type of thing.· But the job assignments itself, I      11·   ·and he did have a supervisory role later.
    12·   ·mean, if we propose something, they would still have to     12·   · · · · ·Q.· · And is this -- here he's the deputy
    13·   ·be approved by ICE.· I'm not really sure who instigates     13·   ·assistant director.· Was this one of the supervisory
    14·   ·that process.                                               14·   ·roles?
    15·   · · · · ·Q.· · Okay.· But it's based on a proposal that's    15·   · · · · ·A.· · Yes.· I'm sorry.· I didn't see his title.
    16·   ·created by The GEO Group?                                   16·   · · · · ·Q.· · No problem.
    17·   · · · · · · · ·MR. BARNACLE:· Object to the form.            17·   · · · · · · · ·So he writes here:· "Dear Amber, Another
    18·   · · · · ·A.· · I don't know that.· I mean, like I said,      18·   ·question has come up."
    19·   ·we're proposing -- there's a Technical Proposal that will   19·   · · · · · · · ·And this is -- by the way, the subject line
    20·   ·have detainee job assignments, voluntary job assignments,   20·   ·here is "Volunteer Work Program."· Do you see that?
    21·   ·but the actual job assignments have to be approved by       21·   · · · · ·A.· · Yes.
    22·   ·ICE.                                                        22·   · · · · ·Q.· · Okay.· So he writes:· "Detainees work in
    23·   ·BY MR. SCIMONE:                                             23·   ·some facilities for a dollar a day.· What might they be
    24·   · · · · ·Q.· · Okay.· And --                                 24·   ·doing in terms of the work they do?· I have always
    25·   · · · · ·A.· · This is just a general broad perspective.     25·   ·thought menial tasks, maybe cleaning, moving things,


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    ·1·   ·helping in the cafeteria?"· Do you see that?                ·1·   · · · · ·Q.· · Do you know who is at GEO?· Do you know who
    ·2·   · · · · ·A.· · Yes.                                          ·2·   ·at The GEO Group is involved in the process?
    ·3·   · · · · ·Q.· · Do you agree with the -- would you            ·3·   · · · · · · · ·MR. BARNACLE:· Object to the form.
    ·4·   ·categorize a task that is actually done by the workers in   ·4·   · · · · ·A.· · The facility administrator.· Like I said,
    ·5·   ·VWP as menial tasks?                                        ·5·   ·it's done at the facility level.
    ·6·   · · · · · · · ·MR. BARNACLE:· Object to the form.            ·6·   ·BY MR. SCIMONE:
    ·7·   ·BY MR. SCIMONE:                                             ·7·   · · · · ·Q.· · Facility administrator is --
    ·8·   · · · · ·Q.· · At the Aurora facility.                       ·8·   · · · · ·A.· · Warden.
    ·9·   · · · · ·A.· · As far as -- yes, I would.· I mean, working   ·9·   · · · · ·Q.· · The warden?
    10·   ·in the cafeteria, cleaning, laundry.                        10·   · · · · ·A.· · Or whoever his designee is.· Sorry.
    11·   · · · · ·Q.· · Menial in what sense?                         11·   · · · · ·Q.· · Go ahead and finish the answer.· Whoever is
    12·   · · · · ·A.· · As far as the tasks themselves, I don't       12·   ·designated as --
    13·   ·know.· Putting clothes in a washer and dryer.               13·   · · · · ·A.· · Yes.· His ARW.· I mean, depending -- I
    14·   · · · · ·Q.· · And in terms of the janitorial work we        14·   ·don't know who he assigned that to, but it would be
    15·   ·mentioned earlier, would you characterize that as menial    15·   ·ultimately his responsibility.
    16·   ·as well?                                                    16·   · · · · · · · ·(Plaintiff Exhibit No. 13 was marked for
    17·   · · · · ·A.· · Yes.· Emptying trash, dusting, that type of   17·   · · · · ·identification.)
    18·   ·thing.                                                      18·   ·BY MR. SCIMONE:
    19·   · · · · ·Q.· · So by menial, you mean -- are you speaking    19·   · · · · ·Q.· · Okay.· You have been handed Exhibit 13,
    20·   ·in terms of level of skill required to do the work?         20·   ·Bates stamped GEO_MEN 38920 through 925.· Do you
    21·   · · · · ·A.· · The level of skill and the skill -- I mean,   21·   ·recognize the form of this document?
    22·   ·the task itself.                                            22·   · · · · ·A.· · It appears to be a staffing plan for
    23·   · · · · ·Q.· · The task itself, meaning what aspect of the   23·   ·Aurora.
    24·   ·task is -- are you characterizing as menial or would you    24·   · · · · ·Q.· · Okay.· And I think we spoke earlier briefly
    25·   ·characterizing as menial?                                   25·   ·about staffing plans.· These are submitted as part of a

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    ·1·   · · · · ·A.· · Picking up trash, I would characterize as     ·1·   ·contract proposal to ICE, correct?
    ·2·   ·menial.· Putting clothes in a washer or dryer.· I'm not     ·2·   · · · · ·A.· · Correct.
    ·3·   ·real sure.                                                  ·3·   · · · · ·Q.· · And this first page at the top, it says
    ·4·   · · · · ·Q.· · Well, I guess what I'm asking is whether by   ·4·   ·"400-Bed Staffing Plan."· Do you see that?
    ·5·   ·menial you're referring to the level of the skill or the    ·5·   · · · · ·A.· · Uh-huh.
    ·6·   ·level of difficulty and the amount of actual labor          ·6·   · · · · ·Q.· · So this reflects the staffing that was
    ·7·   ·involved, if you would describe that as menial.             ·7·   ·needed at this time to run the facility at a level of 400
    ·8·   · · · · · · · ·MR. BARNACLE:· Object to the form.            ·8·   ·beds?
    ·9·   · · · · ·A.· · I think they're both the same thing.· The     ·9·   · · · · ·A.· · Uh-huh.· Yes.· Sorry.
    10·   ·level of skill and the level of labor involved.             10·   · · · · ·Q.· · And if you look at -- on that first page,
    11·   ·BY MR. SCIMONE:                                             11·   ·in the second section, titled "Business/Support," the
    12·   · · · · ·Q.· · Well, I guess maybe the distinction I'm       12·   ·second title up from the bottom is "Janitor."· Do you see
    13·   ·drawing is, digging a ditch may be menial in terms of       13·   ·that?
    14·   ·requiring low skill, but it can be very laborious.          14·   · · · · ·A.· · Yes.
    15·   · · · · ·A.· · Okay.                                         15·   · · · · ·Q.· · And then to the right there are some
    16·   · · · · ·Q.· · As opposed to picking up paper, which might   16·   ·numbers.· There's "1" under non shift, "1" under relief,
    17·   ·be low skill but also not terribly burdensome or            17·   ·"1" under FTE.· What does this mean in terms of the level
    18·   ·difficult.                                                  18·   ·of staffing in this job title?
    19·   · · · · ·A.· · I would say, again, the same thing.· As far   19·   · · · · ·A.· · It means there's one janitor assigned to
    20·   ·as the labor level and the skill level, it would be what    20·   ·this facility.
    21·   ·I would consider menial.                                    21·   · · · · ·Q.· · And that's to run the facility at the level
    22·   · · · · ·Q.· · You mentioned earlier that ICE approves       22·   ·of 400 beds?
    23·   ·tasks that are done by detainees in the Voluntary Work      23·   · · · · ·A.· · Yes.
    24·   ·Program.· Are you involved in that approval process?        24·   · · · · ·Q.· · And to the extent that there's other
    25·   · · · · ·A.· · No, I'm not.                                  25·   ·cleaning work in the facility, who's responsible for


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    ·1·   ·doing that besides the janitor?                             ·1·   ·that type of thing.
    ·2·   · · · · ·A.· · It would be probably whatever division or     ·2·   · · · · ·Q.· · Look back at Exhibit 8, the contract, and
    ·3·   ·department that it was in or a correctional officer.        ·3·   ·turn to page 19891.
    ·4·   · · · · ·Q.· · And detainees also perform janitorial work,   ·4·   · · · · ·A.· · 19891?
    ·5·   ·correct?                                                    ·5·   · · · · ·Q.· · That's right.
    ·6·   · · · · ·A.· · Yes.                                          ·6·   · · · · · · · ·MR. BARNACLE:· Are you talking about the
    ·7·   · · · · ·Q.· · Through the Voluntary Work Program?           ·7·   · · · · ·large contract or the --
    ·8·   · · · · ·A.· · Yes.                                          ·8·   · · · · · · · ·MR. SCIMONE:· Yeah.· The large contract.
    ·9·   · · · · ·Q.· · If you'll turn to page 923, at the top        ·9·   · · · · · · · ·MR. BARNACLE:· It's Exhibit 9, for the
    10·   ·you'll see it says "423-Bed Staffing Plan."                 10·   · · · · ·record.
    11·   · · · · ·A.· · Uh-huh.                                       11·   · · · · · · · ·MR. SCIMONE:· Sorry.· Exhibit 9.· Thank
    12·   · · · · ·Q.· · And so is what follows the level of           12·   · · · · ·you.
    13·   ·staffing that will be needed to run the facility level of   13·   · · · · ·A.· · 198 --
    14·   ·432 beds?                                                   14·   ·BY MR. SCIMONE:
    15·   · · · · ·A.· · Yes.                                          15·   · · · · ·Q.· · -- 91.
    16·   · · · · ·Q.· · And if you'll look down in that               16·   · · · · ·A.· · Okay.
    17·   ·Business/Support section, the number provided for janitor   17·   · · · · ·Q.· · So this speaks to what we were just talking
    18·   ·is still "1," correct?                                      18·   ·about, I think.· So this is a job description for the
    19·   · · · · ·A.· · Yes.                                          19·   ·janitor at Aurora that's been incorporated into the
    20·   · · · · ·Q.· · So there's still one janitor in the           20·   ·contract, correct?
    21·   ·facility despite the fact that there's an additional 32     21·   · · · · ·A.· · Correct.
    22·   ·beds?                                                       22·   · · · · ·Q.· · And under "Primary Duties and
    23·   · · · · ·A.· · Yes.· This doesn't include any outside        23·   ·Responsibilities," if you'll look down to the seventh
    24·   ·cleaning services, I should probably note.                  24·   ·bullet point, it says:· "Direct work, provides training
    25·   · · · · ·Q.· · Are there outside cleaning services used in   25·   ·and performs inspections of work performed by detainee

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    ·1·   ·the Aurora facility?                                        ·1·   ·maintenance staff."· Do you see that?
    ·2·   · · · · ·A.· · I believe so, in the area of the ICE          ·2·   · · · · ·A.· · Yes.
    ·3·   ·office, because employees can't go back there or            ·3·   · · · · ·Q.· · Okay.· So that would -- you testified that
    ·4·   ·detainees can't go back there.                              ·4·   ·the janitor would supervise work done by the outside
    ·5·   · · · · ·Q.· · And what's your reason -- for how long has    ·5·   ·cleaning service, but part of their job is to also
    ·6·   ·that been the case, that there were cleaning services       ·6·   ·supervise work done by detainee maintenance staff; is
    ·7·   ·used?                                                       ·7·   ·that correct?
    ·8·   · · · · ·A.· · As far as I know, from the beginning of the   ·8·   · · · · ·A.· · Yes.
    ·9·   ·contracts.                                                  ·9·   · · · · ·Q.· · Let's turn to page 901.· This is a job
    10·   · · · · ·Q.· · And how do you know that, that there's a      10·   ·description for a food service officer at Aurora that's
    11·   ·cleaning service used to clean those areas?                 11·   ·been incorporated into the contract, correct?
    12·   · · · · ·A.· · Because we usually -- because, like I said,   12·   · · · · ·A.· · Yes.
    13·   ·ICE doesn't allow in their offices detainees or             13·   · · · · ·Q.· · And under the primary duties and
    14·   ·employees, so we have to provide a cleaning service for     14·   ·responsibilities there, the first bullet point is:
    15·   ·them.· We always have.· And there's other areas that, you   15·   ·"Supervises detainees specifically assigned to food
    16·   ·know, as far as the executive offices and those type of     16·   ·services."· Do you see that?
    17·   ·things that we have a cleaning service.                     17·   · · · · ·A.· · Yes.
    18·   · · · · ·Q.· · Does the janitor, in the staffing plan,       18·   · · · · ·Q.· · So that's a part of the job of the food
    19·   ·ever do that work?                                          19·   ·service officer, is to supervise detainees working in
    20·   · · · · ·A.· · Not that I know of.· I think the janitor is   20·   ·that part of the facility?
    21·   ·more of an overall checking out, you know, everything is    21·   · · · · ·A.· · Yes.· If they have volunteer detainees,
    22·   ·cleaned and that type of thing.· I'm not really sure what   22·   ·they're going to supervise them in that work assignment.
    23·   ·the janitor does or where he goes, but he would be          23·   · · · · ·Q.· · And if you'll turn to page 927.· This is a
    24·   ·overseeing the cleaning services, he would be               24·   ·job description for an administrative lieutenant also
    25·   ·overseeing -- his function as far as control centers and    25·   ·incorporated into the contract, correct?


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    ·1·   · · · · ·A.· · Yes.                                          ·1·   · · · · ·Q.· · Is this the sanitation policy we were just
    ·2·   · · · · ·Q.· · And the second-to-last bullet point on the    ·2·   ·discussing?
    ·3·   ·first page is:· "Directs work, provides training, and       ·3·   · · · · ·A.· · It appears so, yes.
    ·4·   ·performs inspections of work performed by                   ·4·   · · · · ·Q.· · Okay.· So if you look at section -- take a
    ·5·   ·detainees/inmate staff."· So that's part of the job of      ·5·   ·minute to review Section B and Section C on the first and
    ·6·   ·the person in this job title as well, correct?              ·6·   ·second page respectfully.· Let me know when you finish
    ·7·   · · · · ·A.· · Yes.                                          ·7·   ·reviewing it.
    ·8·   · · · · ·Q.· · Okay.· So we've been talking about work       ·8·   · · · · ·A.· · Okay.
    ·9·   ·done by workers in the Voluntary Work Program, correct?     ·9·   · · · · ·Q.· · So these describe housekeeping tasks that
    10·   · · · · ·A.· · Correct.                                      10·   ·detainees are required to perform, correct?
    11·   · · · · ·Q.· · There's also some housekeeping tasks at the   11·   · · · · ·A.· · Yes.
    12·   ·Aurora facility that the detainees are required to          12·   · · · · ·Q.· · So these are not part of the Voluntary Work
    13·   ·perform, correct?                                           13·   ·Program?
    14·   · · · · ·A.· · Correct.                                      14·   · · · · ·A.· · No.
    15·   · · · · ·Q.· · And that's reflected in the Housing Unit      15·   · · · · ·Q.· · Okay.· And these tasks are unpaid, correct?
    16·   ·Sanitation Policy?                                          16·   · · · · ·A.· · Correct.
    17·   · · · · ·A.· · Yes.                                          17·   · · · · ·Q.· · What are the consequences if a detainee
    18·   · · · · · · · ·(Plaintiff Exhibit No. 14 was marked for      18·   ·refuses to participate in the activities listed in
    19·   · · · · ·identification.)                                    19·   ·Sections B and C?
    20·   ·BY MR. SCIMONE:                                             20·   · · · · ·A.· · We ask them --
    21·   · · · · ·Q.· · So what we've marked as Exhibit 14 is a       21·   · · · · ·Q.· · B or C, I should say.
    22·   ·document that was previously marked in an early             22·   · · · · ·A.· · We ask them to voluntarily do it, we ask
    23·   ·deposition in this case as Ceja, C-e-j-a, 3, and it         23·   ·them to clean it.· If they don't, we let ICE know that
    24·   ·consists of a few documents Bates stamped GEO_MEN 1419      24·   ·they won't be cleaning it.· There's really not any
    25·   ·through 21, GEO_MEN 1505 through 9, and GEO_MEN 1510        25·   ·repercussions for this.

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    ·1·   ·through 13.· So do you recognize the documents that make    ·1·   · · · · ·Q.· · Your testimony is that if they refuse to
    ·2·   ·up this exhibit?                                            ·2·   ·clean, there's no repercussion?
    ·3·   · · · · ·A.· · They look like the policy and procedure for   ·3·   · · · · ·A.· · No.· I mean, we can file a report or
    ·4·   ·the Aurora facility.                                        ·4·   ·whatever on them, but there's nothing that we can really
    ·5·   · · · · ·Q.· · Okay.· And what formatting or content tells   ·5·   ·do about it.
    ·6·   ·you that that's what it is?                                 ·6·   · · · · ·Q.· · Okay.
    ·7·   · · · · ·A.· · It says "policies and procedure manual,"      ·7·   · · · · ·A.· · I think by ICE policy that we can file a
    ·8·   ·gives the number of the policy, and the title of the        ·8·   ·report, et cetera, and, you know, give them restrictions
    ·9·   ·procedure.                                                  ·9·   ·or that, but nothing like that's been done.
    10·   · · · · ·Q.· · So is this typically how the policy and       10·   · · · · ·Q.· · Nothing like that has been done during what
    11·   ·procedure manual sections are formatted?                    11·   ·period?
    12·   · · · · ·A.· · Yes.                                          12·   · · · · ·A.· · During any period.
    13·   · · · · ·Q.· · And that number on the upper right, under     13·   · · · · ·Q.· · So there's no report that's been filed
    14·   ·where it says "number," that's a reference for a section    14·   ·about detainees refusing to clean?
    15·   ·of the manual?                                              15·   · · · · ·A.· · Well, I'm saying there may be a report, but
    16·   · · · · ·A.· · Yes.                                          16·   ·nothing has necessarily come out of that report.
    17·   · · · · ·Q.· · And the title of this one on the first page   17·   · · · · ·Q.· · The detainees ever been disciplined for
    18·   ·is "Sanitation Procedures"?                                 18·   ·refusing to clean?
    19·   · · · · ·A.· · Yes.                                          19·   · · · · ·A.· · As far -- I don't -- as far as taking
    20·   · · · · ·Q.· · And so this was -- went into effect in        20·   ·things away from them or food, no.
    21·   ·March 2010, correct?                                        21·   · · · · ·Q.· · Any kind of discipline?
    22·   · · · · ·A.· · Yes.                                          22·   · · · · ·A.· · No.
    23·   · · · · ·Q.· · All right.· That supersedes an earlier        23·   · · · · ·Q.· · Your testimony is that there's never been
    24·   ·version dated July 29, 2009?                                24·   ·discipline issued for detainees?
    25·   · · · · ·A.· · Yes.                                          25·   · · · · ·A.· · I don't know if --


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    ·1·   · · · · · · · ·MR. BARNACLE:· Object to the form.            ·1·   ·of things.· And I think that, when they go in an audit,
    ·2·   · · · · ·A.· · I don't know if there's been discipline,      ·2·   ·they audit disciplinaries, they audit grievances, and I
    ·3·   ·but as far as taking anything away from them or anything    ·3·   ·think something like that would have come up.
    ·4·   ·like that, I mean, there's not much we can do, is what      ·4·   · · · · ·Q.· · So you've just been handed Exhibit 15, and
    ·5·   ·I'm saying.                                                 ·5·   ·that's Bates stamped GEO_MEN 64018 through 64348.· Do you
    ·6·   · · · · · · · ·(Plaintiff Exhibit No. 15 was marked for      ·6·   ·recognize this?
    ·7·   · · · · ·identification.)                                    ·7·   · · · · ·A.· · Yes.
    ·8·   ·BY MR. SCIMONE:                                             ·8·   · · · · ·Q.· · And what are we looking at here?
    ·9·   · · · · ·Q.· · Before I go into this exhibit, how do you     ·9·   · · · · ·A.· · The Performance-Based National Detention
    10·   ·know that?                                                  10·   ·Standards 2011.
    11·   · · · · ·A.· · Well, I know what the performance-based       11·   · · · · ·Q.· · Right.· This is what we've been talking
    12·   ·standards say, and that we can give them solitary           12·   ·about throughout the day: the PBNDS?
    13·   ·confinement.· What I'm saying is that's never occurred.     13·   · · · · ·A.· · Yes, sir.
    14·   ·We don't give solitary confinement for refusing to clean    14·   · · · · ·Q.· · Okay.· And this a copy of the 2011 version
    15·   ·up their area.                                              15·   ·of the PBNDS, correct?
    16·   · · · · ·Q.· · And how do you know that that's --            16·   · · · · ·A.· · Yes.· As far as I -- yes.
    17·   · · · · ·A.· · It's always been an informal policy that we   17·   · · · · ·Q.· · As we said earlier, this is incorporated
    18·   ·made sure -- it was a formal policy that there was          18·   ·with GEO's contract with ICE?
    19·   ·clarity on that.                                            19·   · · · · ·A.· · Correct.
    20·   · · · · ·Q.· · When did that become a formal policy?         20·   · · · · ·Q.· · If you'll turn to page -- let me direct you
    21·   · · · · ·A.· · Well, a few years -- a couple years ago.      21·   ·to -- okay.· And I should -- sorry.· Let me correct what
    22·   ·But it's also been an informal policy.· We've never given   22·   ·I said earlier.· We've excerpted this document from a
    23·   ·a detainee solitary confinement for refusing to clean       23·   ·larger document.· It appears smaller than I'm sure you're
    24·   ·their areas.                                                24·   ·used to.· The full document is 018 through 4014.· In the
    25·   · · · · ·Q.· · How do you know that that's never been        25·   ·interest of reducing paper, I've just printed out a few

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    ·1·   ·done?                                                       ·1·   ·sections.· So this has 64018 through 20, and then 64209
    ·2·   · · · · ·A.· · Like I said, it's been an informal policy.    ·2·   ·through 22, and then again 64344 through 348.· All right.
    ·3·   ·We've never allowed that to happen.· If somebody did that   ·3·   ·Just so we have a clean record.
    ·4·   ·on their own without letting somebody know, then I          ·4·   · · · · · · · ·So I'll direct your attention to
    ·5·   ·wouldn't know something like that.· But it's never --       ·5·   ·page 64220.
    ·6·   ·it's never been a policy of GEO to put somebody in          ·6·   · · · · ·A.· · Okay.
    ·7·   ·solitary confinement, a detainee, for not cleaning their    ·7·   · · · · ·Q.· · So this is a list of offenses, correct?
    ·8·   ·area.                                                       ·8·   · · · · ·A.· · Yes.
    ·9·   · · · · ·Q.· · And if that did happen, notwithstanding       ·9·   · · · · ·Q.· · And the one at the very bottom right of
    10·   ·that policy, is that something that would likely come to    10·   ·this page is refusing to clean assigned living area.· Do
    11·   ·your attention?                                             11·   ·you see that?
    12·   · · · · ·A.· · Definitely.                                   12·   · · · · ·A.· · Yes.
    13·   · · · · ·Q.· · How would that come to your attention?        13·   · · · · ·Q.· · Number 306.
    14·   · · · · ·A.· · I think that there would have been an         14·   · · · · ·A.· · Uh-huh.
    15·   ·incident report filed or an internal -- what do we          15·   · · · · ·Q.· · Okay.· So I think you referred to this just
    16·   ·call it? -- SIS if somebody was disciplined in that         16·   ·now that this is an offense that's listed in the ICE
    17·   ·manner.· Not necessarily to my attention, but at least to   17·   ·Performance-Based National Detention Standards, right?
    18·   ·the attention of, you know, somebody in the regional        18·   · · · · ·A.· · Right.
    19·   ·office or that nature.                                      19·   · · · · ·Q.· · And if you'll turn to the following page,
    20·   · · · · ·Q.· · And how are those typically reported up the   20·   ·the list continues.· And afterwards, part B lists
    21·   ·chain of command?                                           21·   ·sanctions.
    22·   · · · · ·A.· · We give number -- well, during different      22·   · · · · ·A.· · Correct.
    23·   ·phases and different periods of this time period, I mean,   23·   · · · · ·Q.· · And the third one is disciplinary
    24·   ·there was reports about how many people have been           24·   ·segregation.· Do you see that?
    25·   ·disciplined, and there were monthly reports, those type     25·   · · · · ·A.· · Yes.


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    ·1·   · · · · ·Q.· · Up to 72 hours?                               ·1·   · · · · ·A.· · Yes.
    ·2·   · · · · ·A.· · Yes.                                          ·2·   · · · · ·Q.· · And then there's a unit disciplinary
    ·3·   · · · · ·Q.· · That refers to solitary confinement?          ·3·   ·committee?
    ·4·   · · · · ·A.· · Yes.                                          ·4·   · · · · ·A.· · Yes.
    ·5·   · · · · ·Q.· · That's what we're referring to when you       ·5·   · · · · ·Q.· · I take it they hear evidence about the
    ·6·   ·said that the national detention standards permit           ·6·   ·investigation?
    ·7·   ·solitary confinement for refusal to clean?                  ·7·   · · · · ·A.· · Yes.
    ·8·   · · · · ·A.· · Correct.                                      ·8·   · · · · ·Q.· · And do they make a decision about whether
    ·9·   · · · · ·Q.· · Okay.· Now, it says disciplinary              ·9·   ·or not sanctions will be imposed?
    10·   ·segregation.· Is there another kind of segregation?         10·   · · · · ·A.· · Yes.
    11·   · · · · ·A.· · Administrative segregation.                   11·   · · · · ·Q.· · It says on the lower right of page 194,
    12·   · · · · ·Q.· · What's the difference between those two?      12·   ·Section G, section titled "Staff Representation for the
    13·   · · · · ·A.· · Administration segregation is usually what    13·   ·IDP," this refers to the right that a detainee has to
    14·   ·we refer to as protective custody or somebody having to     14·   ·have someone represent them to prepare a defense before
    15·   ·move because they're seeking protection or there may be     15·   ·the disciplinary committee, correct?
    16·   ·an issue that we're investigating.                          16·   · · · · ·A.· · Correct.
    17·   · · · · ·Q.· · Are those all of the uses of administrative   17·   · · · · ·Q.· · And then on the following page, Section H
    18·   ·segregation, what you just described?                       18·   ·refers to the institution disciplinary panel.
    19·   · · · · ·A.· · I think so, yeah.· Protective custody or we   19·   · · · · ·A.· · Correct.
    20·   ·put somebody in there when we're investigating -- do an     20·   · · · · ·Q.· · Is this different from the unit
    21·   ·investigation.                                              21·   ·disciplinary committee?
    22·   · · · · ·Q.· · An investigation of what?                     22·   · · · · ·A.· · The unit disciplinary committee is the
    23·   · · · · ·A.· · It could be criminal activity or assault or   23·   ·investigational branch -- oh, I think this is like the
    24·   ·something like that.                                        24·   ·committee hearing.
    25·   · · · · ·Q.· · While you're investigating a disciplinary     25·   · · · · ·Q.· · I see.

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    ·1·   ·incident?                                                   ·1·   · · · · ·A.· · And then the institution disciplinary panel
    ·2·   · · · · ·A.· · Yes.                                          ·2·   ·is the one that either accepts the recommendation or
    ·3·   · · · · ·Q.· · Okay.· So this section that we've excerpted   ·3·   ·doesn't.
    ·4·   ·here running from page -- and I'm going to use the PBNDS    ·4·   · · · · ·Q.· · Okay.· And they make a final decision --
    ·5·   ·page references -- from 189, where it starts with           ·5·   · · · · ·A.· · Yes.
    ·6·   ·disciplinary system, 3.1, the large font in the upper       ·6·   · · · · ·Q.· · -- in certain cases?
    ·7·   ·left --                                                     ·7·   · · · · ·A.· · Uh-huh.
    ·8·   · · · · ·A.· · Yes.                                          ·8·   · · · · ·Q.· · Okay.· And so when you said that there's
    ·9·   · · · · ·Q.· · -- through page 198, just before the list     ·9·   ·policy of not placing detainees in solitary confinement,
    10·   ·of offenses, this describes disciplinary proceedings.       10·   ·you were referring to this disciplinary process here?
    11·   · · · · ·A.· · Okay.                                         11·   · · · · ·A.· · I'm saying that the level of not cleaning
    12·   · · · · ·Q.· · Right?                                        12·   ·your room would not go to the level of putting a detainee
    13·   · · · · · · · ·Take a moment to review if you need to.       13·   ·in disciplinary confinement.
    14·   · · · · ·A.· · Yes, yes.                                     14·   · · · · ·Q.· · Okay.· What's the smaller contract, the
    15·   · · · · ·Q.· · So there's a process to impose any of the     15·   ·2006?· 8, I think?
    16·   ·disciplinary sanctions that are listed in this document,    16·   · · · · ·A.· · Exhibit 8.
    17·   ·right?                                                      17·   · · · · ·Q.· · I'm sorry.· Not that one.· Exhibit 9.
    18·   · · · · ·A.· · Yes.                                          18·   · · · · ·A.· · 9.
    19·   · · · · ·Q.· · There's notice to detainee, Section B,        19·   · · · · ·Q.· · Yeah.
    20·   ·correct?                                                    20·   · · · · ·A.· · Okay.
    21·   · · · · ·A.· · Oh, the notice, yes.                          21·   · · · · ·Q.· · Okay.· If you'll turn to 632.
    22·   · · · · ·Q.· · Yeah.· There are incident reports that are    22·   · · · · ·A.· · Yes.
    23·   ·to be prepared?                                             23·   · · · · ·Q.· · Okay.· So in Section 6 it says:· "Detainee
    24·   · · · · ·A.· · Yes.                                          24·   ·will be placed in Disciplinary Segregation only after a
    25·   · · · · ·Q.· · There's an investigation?                     25·   ·finding by a Disciplinary Hearing Panel..."


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    ·1·   · · · · · · · ·Do you see that?                              ·1·   ·there's a process that you have to do review within
    ·2·   · · · · ·A.· · Uh-huh.                                       ·2·   ·24 hours and medical has to come in and review.· I mean,
    ·3·   · · · · ·Q.· · And that's what we were just describing,      ·3·   ·it's a very, very stringent process about putting anybody
    ·4·   ·that process?                                               ·4·   ·in any type of solitary confinement.
    ·5·   · · · · ·A.· · Right.                                        ·5·   · · · · ·Q.· · So that review that's done within 24 hours
    ·6·   · · · · ·Q.· · If you look up at No. 3, it says:· "Any       ·6·   ·of someone being placed in administrative segregation,
    ·7·   ·detainee who represents an immediate, significant threat    ·7·   ·how do you ensure that people are being placed there for
    ·8·   ·to safety, security or good order will be immediately       ·8·   ·appropriate reasons?
    ·9·   ·controlled by staff for cause, and with supervisory         ·9·   · · · · ·A.· · Well, that and the incident report.· And,
    10·   ·approval, placed in Administrative Segregation."            10·   ·like I said, medical would have to come see that person
    11·   · · · · · · · ·Do you see that?                              11·   ·immediately, that type of thing.· So there would be a
    12·   · · · · ·A.· · Yes.                                          12·   ·variety of ways to make sure that that's being done
    13·   · · · · ·Q.· · That seems a bit different from the uses of   13·   ·properly.· Plus the records are kept, audits are being
    14·   ·administrative segregation that you described earlier.      14·   ·done.· Those type of things would be looked at for sure.
    15·   · · · · ·A.· · No.· I told you if it was protective          15·   · · · · ·Q.· · So the auditors have an opportunity to
    16·   ·custody or if there's an investigation for somebody who     16·   ·review those reports, and that is how it would come to
    17·   ·had an assault.· So this represents immediate,              17·   ·their attention --
    18·   ·significant danger would be inclusive of those two          18·   · · · · ·A.· · During the audit process, yes.
    19·   ·things.                                                     19·   · · · · ·Q.· · That's how it would come to their attention
    20·   · · · · ·Q.· · Okay.· And so is this something that can be   20·   ·if somebody is placed in admin seg for an inappropriate
    21·   ·done if there's a detainee who is -- does something that    21·   ·reason?
    22·   ·could be subject to discipline and there's a decision       22·   · · · · ·A.· · Yes.· Like this says, it's supervisory
    23·   ·made to remove them from the facility to remain good        23·   ·approval.· So it would be the supervisor on duty.
    24·   ·order?                                                      24·   · · · · ·Q.· · That's the person that you said would make
    25·   · · · · · · · ·MR. BARNACLE:· Object to the form.            25·   ·the decision in the first instance, right?

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    ·1·   · · · · ·A.· · When you say -- if it was significant         ·1·   · · · · ·A.· · Right.· Uh-huh.
    ·2·   ·enough, yes, and that would probably be dealt with an       ·2·   · · · · ·Q.· · Okay.· Do you want to take a break?
    ·3·   ·assault or that type of immediate cause.                    ·3·   · · · · ·A.· · If you don't mind.
    ·4·   ·BY MR. SCIMONE:                                             ·4·   · · · · ·Q.· · That's fine.
    ·5·   · · · · ·Q.· · Who decides whether there's cause to remove   ·5·   · · · · · · · ·(Recess from 1:10 p.m. to 1:14 p.m.)
    ·6·   ·someone to administrative segregation in a case like        ·6·   ·BY MR. SCIMONE:
    ·7·   ·that?                                                       ·7·   · · · · ·Q.· · Picking up where we just left off, you
    ·8·   · · · · ·A.· · Well, it's going to be probably the           ·8·   ·described prior to a couple of years ago there being an
    ·9·   ·supervisor on duty.· If the detainee is causing a threat    ·9·   ·informal policy prohibiting the use of disciplinary
    10·   ·or safety to himself, herself, or to the population, or     10·   ·segregation for refusal to clean.· Was that informal
    11·   ·to the staff, then that person -- that detainee will be     11·   ·policy written or reflected anywhere?
    12·   ·removed in administrative segregation until we can find     12·   · · · · ·A.· · No.· Like I said, the "not cleaning your
    13·   ·out what's going on.· Or if they wanted protective          13·   ·room" would not rise to the level of putting somebody in
    14·   ·custody or that type of nature.· It has to be significant   14·   ·segregation.
    15·   ·in nature just to put somebody in administrative            15·   · · · · ·Q.· · And is there any sort of documents that
    16·   ·segregation.                                                16·   ·would reflect that?
    17·   · · · · ·Q.· · How do you ensure -- how does GEO ensure      17·   · · · · ·A.· · Currently there is, because I wanted to
    18·   ·that officers in this position exercise their discretion    18·   ·make sure it was -- there was no doubt the language was
    19·   ·appropriately?                                              19·   ·clarified, et cetera.· I believe there's an updated -- I
    20·   · · · · ·A.· · Well, we have policies, we have procedures.   20·   ·don't know if it's an updated directive or if it was
    21·   ·They're being reviewed.· There's -- administration          21·   ·updated in the handbook.
    22·   ·segregation is being reviewed by the leadership.· If you    22·   · · · · ·Q.· · Would that be subject to a contract
    23·   ·place somebody in there, you have to -- I think there's     23·   ·modification?
    24·   ·a -- don't get me started on the process, but I believe     24·   · · · · ·A.· · No.
    25·   ·way back when, when I was involved in these things,         25·   · · · · ·Q.· · Okay.· Would it have been an update to


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    ·1·   ·policies in the policy manual?                              ·1·   · · · · ·A.· · Yes.
    ·2·   · · · · ·A.· · Like I said, I'm not sure if it was a         ·2·   · · · · ·Q.· · All right.· And you're aware that there are
    ·3·   ·directive, if it came through the detainee handbook, or     ·3·   ·other lawsuits pending currently against The GEO Group
    ·4·   ·if it was a policy at the facility level.· I'm not sure.    ·4·   ·related to work done by detainees in ICE detention
    ·5·   · · · · ·Q.· · Were you involved in memorializing that       ·5·   ·facilities?
    ·6·   ·policy?                                                     ·6·   · · · · ·A.· · Yes.
    ·7·   · · · · ·A.· · No.                                           ·7·   · · · · ·Q.· · And you're aware that one of the
    ·8·   · · · · ·Q.· · Who was responsible for that?                 ·8·   ·allegations in several of those cases has been that GEO
    ·9·   · · · · ·A.· · I think it was at the operation level.        ·9·   ·requires detainees to do work and threatens them with
    10·   ·Probably Dave Donohue overall responsible.                  10·   ·solitary confinement if they don't.· You understand that
    11·   · · · · ·Q.· · Did you have any communications with ICE      11·   ·that's one of the allegations, correct?
    12·   ·about that policy change?                                   12·   · · · · ·A.· · Yes, I do.
    13·   · · · · ·A.· · I didn't, no.                                 13·   · · · · ·Q.· · Okay.· And you understand that's an
    14·   · · · · ·Q.· · Do you know whether Dave Donohue did?         14·   ·allegation in this lawsuit?
    15·   · · · · ·A.· · I don't know.                                 15·   · · · · ·A.· · Yes.
    16·   · · · · ·Q.· · That would have had to be approved by ICE,    16·   · · · · ·Q.· · Was there any causal connection between
    17·   ·correct?                                                    17·   ·those lawsuits being filed and that policy being
    18·   · · · · ·A.· · What?                                         18·   ·memorialized and formalized?
    19·   · · · · ·Q.· · That change to the policy.                    19·   · · · · ·A.· · Again, with the political environment, yes,
    20·   · · · · ·A.· · Not necessarily, because these are -- these   20·   ·it's probably -- lawsuits probably contributed to that.
    21·   ·are layers of what we can -- what we can do, and we have    21·   ·Although this was not a practice that we've ever done, we
    22·   ·opted not to put anybody in segregation for not cleaning    22·   ·just wanted to make sure that it was clearly clarified
    23·   ·their room.· As you will see in the PBNDS, they have a      23·   ·that it's not being done and it's not going to be done.
    24·   ·lot of things that go under high to moderate level.· One    24·   · · · · ·Q.· · And if we wanted to look back and verify
    25·   ·of the things is not cleaning your room.· Then they have    25·   ·that it wasn't being done prior to that policy being in

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    ·1·   ·different sanctions.· So we just wouldn't associate a       ·1·   ·place, the places we would want to look are incident
    ·2·   ·sanction of somebody not cleaning their room to putting     ·2·   ·reports?
    ·3·   ·them in segregation.                                        ·3·   · · · · ·A.· · Yes.
    ·4·   · · · · ·Q.· · But prior to a couple of years ago, that      ·4·   · · · · ·Q.· · Where else?
    ·5·   ·wasn't written down anywhere?                               ·5·   · · · · ·A.· · Well, the incident reports.· The incident
    ·6·   · · · · ·A.· · No.· It didn't really need to be, but it      ·6·   ·reports would show you what the sanctions were.· So that
    ·7·   ·wasn't written down anywhere.                               ·7·   ·would probably be it, pretty much.
    ·8·   · · · · ·Q.· · What led to that becoming a formal policy?    ·8·   · · · · ·Q.· · All right.· Has there been any sort of
    ·9·   · · · · ·A.· · I just think with the clarity of things       ·9·   ·policy, formal or informal, restricting the use of
    10·   ·going on in the political environment, we just wanted to    10·   ·administrative segregation in cases where people refuse
    11·   ·make sure that things were put in writing and that the      11·   ·to clean?
    12·   ·language was clear.                                         12·   · · · · ·A.· · That would be -- again, administrative
    13·   · · · · ·Q.· · And a couple of years ago would have been     13·   ·segregation is because there's an urgent threat to the
    14·   ·2016?                                                       14·   ·security of that individual, the staff, or -- yeah.· So
    15·   · · · · ·A.· · Yeah.· And don't get me holding as to how     15·   ·that wouldn't -- that would also be an informal policy
    16·   ·many years back this has been.· It could have been 2017.    16·   ·because that would never occur.· If somebody hasn't
    17·   · · · · ·Q.· · Okay.· But within the last two years or so?   17·   ·cleaned their rooms, it not an emergent threat to the
    18·   · · · · ·A.· · Yes.                                          18·   ·facility.
    19·   · · · · ·Q.· · Give or take?                                 19·   · · · · ·Q.· · Well, my question is just about whether or
    20·   · · · · ·A.· · Uh-huh.                                       20·   ·not that policy is written anywhere.
    21·   · · · · ·Q.· · That was during the time that this lawsuit    21·   · · · · ·A.· · No.· I don't believe so.
    22·   ·was pending, correct?                                       22·   · · · · ·Q.· · Okay.· So if we wanted to see whether or
    23·   · · · · ·A.· · I think this lawsuit was pending -- yes, it   23·   ·not -- well, is that an informal policy, that that's not
    24·   ·was.                                                        24·   ·an appropriate use of administrative segregation?
    25·   · · · · ·Q.· · This has been pending since 2014.             25·   · · · · ·A.· · Well, I don't think it's an informal policy


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    ·1·   ·when the policy says this is what you place in              ·1·   ·be provided?
    ·2·   ·administrative segregation, and that would not encompass    ·2·   · · · · ·A.· · Again, the policy.· You know, who you place
    ·3·   ·anybody just not cleaning their room being placed on        ·3·   ·in administrative segregation.· That's about the only
    ·4·   ·administrative segregation.· So I don't think it has to     ·4·   ·places I can think of.
    ·5·   ·be a policy.· The policy is already there.· It says these   ·5·   · · · · ·Q.· · So you think that the -- well --
    ·6·   ·are the only times that you place somebody in               ·6·   · · · · ·A.· · There's a policy and a procedure on who you
    ·7·   ·administrative segregation.                                 ·7·   ·can place in administrative segregation.· It's very --
    ·8·   · · · · ·Q.· · Well, you know, where we talked about was     ·8·   · · · · ·Q.· · And that's what we just looked at in the
    ·9·   ·that in -- there's a -- that standard is a bit general,     ·9·   ·PBNDS.· Is that what you're referring to?
    10·   ·and what we discussed is that there are people in the       10·   · · · · ·A.· · That, and we have -- not in the PBNDS.· We
    11·   ·facility who actually make the decision about how to        11·   ·have our facility policies.
    12·   ·implement it in practice, about whether something           12·   · · · · ·Q.· · Right.· I'm sorry.· We were looking at the
    13·   ·actually represents that kind of a threat.                  13·   ·contract, I think, where it describes the uses of
    14·   · · · · ·A.· · Uh-huh.                                       14·   ·administrative segregation.
    15·   · · · · ·Q.· · And so is there any sort of guidance given    15·   · · · · ·A.· · Uh-huh.· Which would be reflected in the
    16·   ·to those people to say, "Okay, this is the sort of thing    16·   ·facility policy.
    17·   ·that doesn't rise to the level of a serious-enough          17·   · · · · ·Q.· · Okay.· In the policy and procedure manual,
    18·   ·incident to merit being placed in administrative            18·   ·for example?
    19·   ·segregation"?                                               19·   · · · · ·A.· · Yes.
    20·   · · · · ·A.· · I think that comes with training of being a   20·   · · · · ·Q.· · Okay.· And in terms of what actually
    21·   ·correctional professional, detention professional.· We've   21·   ·happened in practice, if you were to go back to verify
    22·   ·been in this environment; we know what a threat is. I       22·   ·whether or not administrative segregation was being used
    23·   ·just -- I wouldn't say it any other way.                    23·   ·appropriately, the places that you would want to look, I
    24·   · · · · ·Q.· · So you would expect that that would be        24·   ·think you mentioned audits might, you know, see in the
    25·   ·reflected in training materials?                            25·   ·report who was placed in administrative segregation, the

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    ·1·   · · · · ·A.· · In training materials or training.· Like I    ·1·   ·reasons, right?
    ·2·   ·said, this has to have a supervisor approval, and that's,   ·2·   · · · · ·A.· · Yes.· If there was something that was an
    ·3·   ·you know, top supervisor, and it would definitely be in     ·3·   ·audit finding, you would see in the audit that somebody
    ·4·   ·the supervisor training.· It's not somebody -- a CO         ·4·   ·was placed in administrative segregation inappropriately.
    ·5·   ·putting somebody into admin seg without approval.           ·5·   · · · · ·Q.· · And you would expect the reason for them to
    ·6·   · · · · ·Q.· · "CO" is corrections officer?                  ·6·   ·be placed in administrative segregation to be documented
    ·7·   · · · · ·A.· · Yes.· Or detention officer, yes.              ·7·   ·in those 24-hour reviews, correct?
    ·8·   · · · · ·Q.· · In this context.· Not contracting officer,    ·8·   · · · · ·A.· · Yes.· Plus, the other thing is your
    ·9·   ·to keep our terms straight.                                 ·9·   ·top-line supervisors, like your AFA or security, those
    10·   · · · · ·A.· · Yes.· Sorry.                                  10·   ·type of people have to make a daily tour of all
    11·   · · · · ·Q.· · Okay.· So you would expect that that would    11·   ·segregation units.· So they would be looking at the
    12·   ·be part of their training, correct?                         12·   ·records too.
    13·   · · · · ·A.· · Yes.                                          13·   · · · · ·Q.· · What does AFA stand for?
    14·   · · · · ·Q.· · Do you know for a fact whether it is part     14·   · · · · ·A.· · Assistant facility administrator.
    15·   ·of the training?                                            15·   · · · · ·Q.· · Is that someone -- so just to get the
    16·   · · · · ·A.· · I don't know specifically, but -- well,       16·   ·hierarchy straight, you have detention officers and then
    17·   ·they're trained on policies so, yes, I guess it would be,   17·   ·what's the --
    18·   ·because they're trained on policies and they're trained     18·   · · · · ·A.· · Sergeants.
    19·   ·on everyday situations.                                     19·   · · · · ·Q.· · Sergeants are the supervisory level just
    20·   · · · · ·Q.· · But I'm assuming you'd say you guess          20·   ·above that?
    21·   ·because you don't have actual knowledge of what that        21·   · · · · ·A.· · And then lieutenants.
    22·   ·training encompasses?                                       22·   · · · · ·Q.· · And then above lieutenants?
    23·   · · · · ·A.· · Exactly.                                      23·   · · · · ·A.· · Captain.
    24·   · · · · ·Q.· · Okay.· Is there anywhere else besides         24·   · · · · ·Q.· · Captain.· And above the captain?
    25·   ·training where you would expect that sort of guidance to    25·   · · · · ·A.· · Chief of security.


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    ·1·   · · · · ·Q.· · Okay.· Does the chief of security report to   ·1·   · · · · · · · ·"Detainees shall be able to volunteer for
    ·2·   ·the AFA?                                                    ·2·   ·work assignments but otherwise shall not be required to
    ·3·   · · · · ·A.· · Yes.· Probably the AFA for security, yes.     ·3·   ·work, except to do personal housekeeping."
    ·4·   · · · · ·Q.· · And the -- what's -- we had spoken earlier    ·4·   · · · · · · · ·Do you see that?
    ·5·   ·about the -- a minute ago about the officer -- I guess      ·5·   · · · · ·A.· · Yes.
    ·6·   ·the supervisory officer on duty making the decision about   ·6·   · · · · ·Q.· · Okay.· And then on the next page, 325,
    ·7·   ·whether or not something rises to the level of being --     ·7·   ·Section C is titled "Personal Housekeeping Required."
    ·8·   ·permitting someone to be sent to administrative             ·8·   · · · · · · · ·Do you see that?
    ·9·   ·segregation.· What rank would typically have that           ·9·   · · · · ·A.· · Yes.
    10·   ·authority of the folks you just mentioned?                  10·   · · · · ·Q.· · All right.· And this reiterates that all
    11·   · · · · ·A.· · I don't know firsthand.· I would estimate     11·   ·detainees are responsible for personal housekeeping and
    12·   ·at least a lieu, captain, chief of security, but I don't    12·   ·then says:· "Detainees are required to maintain their
    13·   ·know for a fact what level.                                 13·   ·immediate living area in a neat and orderly manner by:
    14·   · · · · ·Q.· · Okay.· That would be a question for someone   14·   · · · · · · · ·"1.· Making their bunk beds daily;
    15·   ·at the facility?                                            15·   · · · · · · · ·"2.· Stacking loose papers;
    16·   · · · · ·A.· · Yes.                                          16·   · · · · · · · ·"3.· Keeping the floor free of debris and
    17·   · · · · ·Q.· · Is there a corporate policy that governs      17·   ·dividers free of clutter;
    18·   ·who has that authority?                                     18·   · · · · · · · ·"4.· Refraining from hanging/draping
    19·   · · · · ·A.· · No.                                           19·   ·clothing, pictures, keepsakes, or other objects from
    20·   · · · · ·Q.· · Okay.                                         20·   ·beds, overhead lighting fixtures or other furniture."
    21·   · · · · ·A.· · That wouldn't be considered corporate         21·   · · · · · · · ·Do you see that?
    22·   ·policy.· That's a divisional policy.                        22·   · · · · ·A.· · Yes.
    23·   · · · · ·Q.· · Okay.· So like western division?              23·   · · · · ·Q.· · All right.· So now I want you to keep that
    24·   · · · · ·A.· · No, no.· When I say "corporate," remember     24·   ·handy, but I want to hold that side by side with
    25·   ·we talked about corporate being HR and administrative       25·   ·Exhibit 14.

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    ·1·   ·functions.                                                  ·1·   · · · · ·A.· · Okay.
    ·2·   · · · · ·Q.· · Right.                                        ·2·   · · · · ·Q.· · And I'll refer you again to -- on the
    ·3·   · · · · ·A.· · That specific policy to the facility          ·3·   ·first -- on the second page, Section C, and then there's
    ·4·   ·operations and under our operational policies.              ·4·   ·also Section B.· So we established earlier that B and C
    ·5·   · · · · ·Q.· · Got it.· So would there be something under    ·5·   ·are the required cleaning, right?
    ·6·   ·operations that would --                                    ·6·   · · · · ·A.· · Yes.
    ·7·   · · · · ·A.· · Possibly.                                     ·7·   · · · · ·Q.· · Okay.· So B says:· "Each detainee will be
    ·8·   · · · · ·Q.· · -- dictate?                                   ·8·   ·responsible for the cleanliness of his or her cell and
    ·9·   · · · · ·A.· · Possibly.                                     ·9·   ·living area, including walls, floors, sink, toilet,
    10·   · · · · ·Q.· · Possibly, okay.· But you're not sure?         10·   ·windows, and other property within the cell, room, or
    11·   · · · · ·A.· · I'm fairly sure, but I can't pinpoint it      11·   ·living area."
    12·   ·and don't know for a fact which policy it is.               12·   · · · · · · · ·Do you see that?
    13·   · · · · ·Q.· · Okay.· You're fairly sure that there is       13·   · · · · ·A.· · Yes.
    14·   ·one, but you're not sure which one it is?                   14·   · · · · ·Q.· · Then it talks about making beds, not
    15·   · · · · ·A.· · Yes.                                          15·   ·placing things on windows, personal property being
    16·   · · · · ·Q.· · Got it.· Thanks.                              16·   ·stored, and so on.
    17·   · · · · · · · ·Okay.· Please take a look at Exhibit 15,      17·   · · · · ·A.· · Yes.
    18·   ·the PBNDS.· And I'll use the manual page numbers.· Turn     18·   · · · · ·Q.· · And then Section C says:· "At 6:00 a.m.
    19·   ·to page 324, the Voluntary Work Program, Section 5.8.· So   19·   ·each day, the following items will be issued:
    20·   ·if you look on the right-hand column, No. 2, it says:       20·   · · · · · · · ·"Mops and buckets, brooms, scrub bushes,
    21·   ·"Detainees shall be able to volunteer for work              21·   ·cleaning rags, cleaning chemicals."
    22·   ·assignments but otherwise shall not be required to          22·   · · · · · · · ·And then "at 10:00 a.m. and 5:00 p.m. each
    23·   ·work" --                                                    23·   ·day, the following items with be issued:
    24·   · · · · ·A.· · Where?· I'm sorry.· Number 2, okay.           24·   · · · · · · · ·"Mops and buckets, brooms, cleaning rags."
    25·   · · · · ·Q.· · Right-hand column, yes, No. 2.                25·   · · · · · · · ·And then, if you turn a couple of pages


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    ·1·   ·after that, to the "Housekeeping/Maintenance Plan" -- do    ·1·   ·additional contract requirements, such as the ACA.· There
    ·2·   ·you see that --                                             ·2·   ·is another sanitation and hygiene portion of PBNDS that
    ·3·   · · · · ·A.· · Yes.                                          ·3·   ·talks about living areas.· There's a number of other
    ·4·   · · · · ·Q.· · -- where that begins?                         ·4·   ·references that is now incorporated into the entire
    ·5·   · · · · · · · ·And then you turn forward a bit, to page 3.   ·5·   ·policy.· This is just a section of the contract.
    ·6·   · · · · ·A.· · Of the housekeeping plan?                     ·6·   ·BY MR. SCIMONE:
    ·7·   · · · · ·Q.· · Yeah.                                         ·7·   · · · · ·Q.· · And those sections say that detainees have
    ·8·   · · · · ·A.· · Okay.                                         ·8·   ·to do -- are allowed to do those things?
    ·9·   · · · · ·Q.· · It says:· "On a weekly basis or by the        ·9·   · · · · ·A.· · Yes.
    10·   ·direction of the Shift Supervisor, all pods will be         10·   · · · · ·Q.· · They're required to do those things?
    11·   ·subject to a total sanitation mission to ensure standards   11·   · · · · ·A.· · Yes, sir.· There's an ACA requirement that
    12·   ·are met and maintained."                                    12·   ·talks about general living areas.· There's another, I
    13·   · · · · · · · ·Is this referring to work that's done as      13·   ·think -- and I want to say it's -- I don't know the exact
    14·   ·part of Section C in what we just looked at?                14·   ·section in PBNDS that talks about sanitation and hygiene,
    15·   · · · · ·A.· · I would assume, yes.                          15·   ·but it also incorporates living areas and common areas.
    16·   · · · · ·Q.· · And then the next page, "Housing Unit         16·   · · · · ·Q.· · Do you know what section of the PBNDS that
    17·   ·Cleaning Schedule" lists series of areas that need to be    17·   ·it falls under?
    18·   ·cleaned under scheduled cleaning.· Do you see that?         18·   · · · · ·A.· · No.· I have to research it, but it's
    19·   · · · · ·A.· · Yes.                                          19·   ·definitely in there and in the ACA standards.
    20·   · · · · ·Q.· · Okay.· Now, I'll just represent we've had     20·   · · · · ·Q.· · What happens if there's a conflict between
    21·   ·earlier testimony in this case that furniture, that row,    21·   ·the ACA standards and the PBNDS at an ICE facility?· What
    22·   ·and light fixtures, the last row, are generally not part    22·   ·governs?
    23·   ·of the daily cleaning done in the housing pods?             23·   · · · · ·A.· · As far as -- that would be up to -- that
    24·   · · · · ·A.· · I wouldn't know that.                         24·   ·would be up to ICE.· ICE would be the final authority on
    25·   · · · · ·Q.· · You wouldn't know that?                       25·   ·which determination, if there was a conflict, that they

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    ·1·   · · · · ·A.· · No.                                           ·1·   ·want for us to follow.
    ·2·   · · · · ·Q.· · Okay.                                         ·2·   · · · · ·Q.· · Have you ever had communications with ICE
    ·3·   · · · · ·A.· · If they're -- they may be.                    ·3·   ·about the scope of tasks being done under the Housing
    ·4·   · · · · ·Q.· · Okay.· If you turn back to Section C, there   ·4·   ·Unit Sanitation Policy?
    ·5·   ·are various times throughout the day that these cleaning    ·5·   · · · · ·A.· · Not me, no.
    ·6·   ·implements are distributed.· Is it your understanding       ·6·   · · · · ·Q.· · Do you know anyone at GEO who has?
    ·7·   ·that that's part of the daily cleaning that's done, is      ·7·   · · · · ·A.· · Not that I know of.
    ·8·   ·that the pods are cleaned using those items?                ·8·   · · · · ·Q.· · Are you aware of the scope of tasks done
    ·9·   · · · · ·A.· · Yes.                                          ·9·   ·under the Housing Unit Sanitation Policy, the required
    10·   · · · · ·Q.· · Okay.· And that's required, correct?          10·   ·tasks, ever being specifically discussed by ICE and GEO?
    11·   · · · · ·A.· · Yes.                                          11·   · · · · ·A.· · Well, ICE would have had to approve this
    12·   · · · · ·Q.· · Detainees are required to do that?            12·   ·policy so that -- I don't know how much of a discussion
    13·   · · · · ·A.· · Yes.                                          13·   ·that would have been, but ICE would approve the policy.
    14·   · · · · ·Q.· · Okay.· So, as I said, I want you to look at   14·   · · · · ·Q.· · So you've testified that Section B and C
    15·   ·that and compare that with personal housekeeping required   15·   ·here are required tasks and that they're unpaid, right?
    16·   ·in the PBNDS.· So the PBNDS lists four specific items       16·   · · · · ·A.· · Yes.
    17·   ·that it -- under personal housekeeping, and this seems to   17·   · · · · ·Q.· · But is there anything in this policy that
    18·   ·encompass some additional tasks.                            18·   ·says that those tasks are unpaid?· Take your time to
    19·   · · · · · · · ·So I guess my question there is, is there a   19·   ·review it if you need to.
    20·   ·conflict here between GEO sanitation policy and what the    20·   · · · · ·A.· · Not that I know of.· This is the
    21·   ·PBNDS allows under the category of required personal        21·   ·housekeeping policy.
    22·   ·housekeeping?                                               22·   · · · · ·Q.· · So there's nothing here that specifies that
    23·   · · · · · · · ·MR. BARNACLE:· Object to the form.            23·   ·these are not paid VWP positions, right?
    24·   · · · · ·A.· · Not at all.· The actual policy encompasses    24·   · · · · · · · ·MR. BARNACLE:· Object to the form.· You
    25·   ·everything else that's in the contract, the other           25·   · · · · ·asked the question and she's reviewing the


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    ·1·   · · · · ·document and then you asked another question.       ·1·   ·not a mandatory task outside of these four should be
    ·2·   ·BY MR. SCIMONE:                                             ·2·   ·brought to ICE's attention?
    ·3·   · · · · ·Q.· · Take your time to review the document if      ·3·   · · · · · · · ·MR. BARNACLE:· Object to the form.· Asked
    ·4·   ·you're not finished.                                        ·4·   · · · · ·and answered.
    ·5·   · · · · ·A.· · So you're asking me if there is anything in   ·5·   · · · · ·A.· · No, I don't.· Because there's other things
    ·6·   ·this policy that says that these are non-paid positions?    ·6·   ·in the PBNDS and there's other things in the contract
    ·7·   · · · · ·Q.· · That's correct.                               ·7·   ·that is over-encompassing.· There's several different
    ·8·   · · · · ·A.· · Functions.                                    ·8·   ·sections of the contract that -- this is one specific
    ·9·   · · · · ·Q.· · That's correct.                               ·9·   ·section.· There's other sections that talk about living
    10·   · · · · ·A.· · It does not appear that there's anything in   10·   ·areas.· This is talking about personal cell areas.
    11·   ·this policy that says they're non-paid functions.           11·   ·There's other sections in the ACA that talk about other
    12·   · · · · ·Q.· · Okay.· And there's nothing in here that       12·   ·areas.· So this is just one section.· Inside its context,
    13·   ·says that they are paid functions under the VWP either,     13·   ·it looks different or is ambiguous, like you said, but
    14·   ·correct?                                                    14·   ·taking the whole thing into consideration, it's not.
    15·   · · · · ·A.· · Correct.                                      15·   · · · · ·Q.· · And so if there is an ambiguity, you said
    16·   · · · · ·Q.· · So -- and you're not aware of any point at    16·   ·ICE would have to decide, you know, which provision
    17·   ·which GEO has brought to ICE's attention the fact that      17·   ·governs.· So, for example, if there's an ambiguity
    18·   ·there -- that these functions are unpaid, right?            18·   ·between the ACA and PBNDS, ICE would normally have to
    19·   · · · · · · · ·MR. BARNACLE:· Object to the form.            19·   ·decide which one applies, right?
    20·   · · · · ·A.· · No.· I wouldn't see any reason why to do      20·   · · · · ·A.· · Yes.
    21·   ·that.                                                       21·   · · · · ·Q.· · So that's why I asked, would that be the
    22·   ·BY MR. SCIMONE:                                             22·   ·kind of thing, given that this is -- there seems to be
    23·   · · · · ·Q.· · Okay.· You don't think that there's any       23·   ·some ambiguity between this language and what's in the
    24·   ·reason why that would be appropriate to bring to ICE's      24·   ·policy, is that something that should be brought to ICE's
    25·   ·attention?                                                  25·   ·attention given that you're saying that there's an ACA

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    ·1·   · · · · · · · ·MR. BARNACLE:· Object to the form.            ·1·   ·standard that says one thing and then the PBNDS appears
    ·2·   · · · · ·A.· · Again, these are required by the contract.    ·2·   ·to say something else here?
    ·3·   ·This policy is encompassing everything that's required as   ·3·   · · · · ·A.· · But there's also --
    ·4·   ·far as housekeeping duties are concerned.· So I didn't      ·4·   · · · · · · · ·MR. BARNACLE:· Object to the form.
    ·5·   ·see any reason why we would bring this to the attention     ·5·   · · · · ·A.· · There's also sections in the PBNDS that
    ·6·   ·of ICE because there's nothing to bring to their            ·6·   ·talk about general living areas.· This is just one
    ·7·   ·attention.                                                  ·7·   ·section of that PBNDS.· And there's -- and there's
    ·8·   ·BY MR. SCIMONE:                                             ·8·   ·sections in the ACA that talk about general living areas.
    ·9·   · · · · ·Q.· · So you had said earlier that you're often     ·9·   ·So this is one section that talks about living areas, and
    10·   ·involved -- not often, but you said you are involved        10·   ·you can combine it with the general -- I mean, personal
    11·   ·typically in meetings between the facility and the          11·   ·cell areas, and then you combine it with the general
    12·   ·contracting officer if there's an ambiguity in the          12·   ·living areas, it's a combination.· I don't see any
    13·   ·contract language or something that's unclear sometimes     13·   ·ambiguity at all.
    14·   ·that needs your attention.                                  14·   · · · · ·Q.· · Okay.· If I give you a full and complete
    15·   · · · · ·A.· · Yes.                                          15·   ·copy of the PBNDS, would you be able to point me to that
    16·   · · · · ·Q.· · Remember that testimony?                      16·   ·section you're referring to?
    17·   · · · · ·A.· · Uh-huh.                                       17·   · · · · ·A.· · I'm sure I could.· It will take me time to
    18·   · · · · ·Q.· · Okay.· So given that the PBNDS has this       18·   ·look it up.
    19·   ·section that says:· "Detainee shall not be required to      19·   · · · · · · · ·MR. SCIMONE:· Okay.· Let's take a break.
    20·   ·work except other than outside of the volunteer work        20·   · · · · · · · ·(Recess from 1:39 p.m. to 1:53 p.m.)
    21·   ·assignments, shall not be required to work except to do     21·   ·BY MR. SCIMONE:
    22·   ·personal housekeeping," and there's a section here saying   22·   · · · · ·Q.· · Let me discuss something you mentioned
    23·   ·personal housekeeping required that lists these four        23·   ·earlier.· I think you mentioned at the start of the day
    24·   ·functions, you don't see that as creating the kind of       24·   ·that you have previously given testimony recently before
    25·   ·ambiguity that might raise a question about whether or      25·   ·for the House?


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    ·1·   · · · · ·A.· · Don't get me -- if it's for the -- the        ·1·   · · · · ·A.· · Yes.
    ·2·   ·election committee.                                         ·2·   · · · · ·Q.· · Okay.· And if you look at the first e-mail
    ·3·   · · · · ·Q.· · Election committee.· Federal elections?       ·3·   ·in the thread, it covers the last two pages, but it
    ·4·   · · · · ·A.· · Yes.· No.· Yes.· It was federal election      ·4·   ·starts on the second to last.
    ·5·   ·committee.· It was a very short, brief deposition.          ·5·   · · · · ·A.· · Okay.
    ·6·   · · · · ·Q.· · Was that in your capacity as a GEO employee   ·6·   · · · · ·Q.· · At the top it's from ERO Taskings.· ERO
    ·7·   ·or GEO officer?                                             ·7·   ·stands for Enforcement and Removal Operations, correct?
    ·8·   · · · · ·A.· · Yes.· It was -- what do you call it? --       ·8·   · · · · ·A.· · Yes.
    ·9·   ·yeah, in my capacity as a GEO officer.                      ·9·   · · · · ·Q.· · It's a division of ICE?
    10·   · · · · ·Q.· · Was that before a committee of the House of   10·   · · · · ·A.· · Yes.
    11·   ·Representatives?                                            11·   · · · · ·Q.· · Okay.· Do you know what ERO Taskings is,
    12·   · · · · ·A.· · No, no, no.· It was a three-member            12·   ·that distribution group or e-mail?
    13·   ·committee.                                                  13·   · · · · ·A.· · I'm guessing it's just their internal
    14·   · · · · ·Q.· · Okay.· But part of the U.S. House of          14·   ·group.· I don't know.
    15·   ·Representatives?                                            15·   · · · · ·Q.· · Okay.· Like, do you think just from what it
    16·   · · · · ·A.· · Yes.· It was a federal election committee.    16·   ·is, it's an e-mail distribution group?
    17·   · · · · ·Q.· · Okay.· What was it in connection with?        17·   · · · · ·A.· · Where are you looking at?· Sorry.
    18·   · · · · ·A.· · An acquisition that we had, as far as the     18·   · · · · ·Q.· · At the top of that page.
    19·   ·GEO structure is concerned.· I can get you the details,     19·   · · · · ·A.· · Oh, ERO Taskings.· Yeah, I'm sure it's just
    20·   ·but off the top of my head, I don't know.                   20·   ·an administrative group.
    21·   · · · · ·Q.· · Was it being -- was the site being used as    21·   · · · · ·Q.· · Right.· Okay.· It says:· The following
    22·   ·a polling place or something like that?                     22·   ·message is sent on behalf of Tae D. Johnson.· Do you know
    23·   · · · · ·A.· · No, no, no.· Something to do with structure   23·   ·who that is?
    24·   ·of the corporate environment.                               24·   · · · · ·A.· · Yes.
    25·   · · · · ·Q.· · Okay.· Let me, just to save some time,        25·   · · · · ·Q.· · Who is or who was Tae D. Johnson at the

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    ·1·   ·introduce another exhibit.                                  ·1·   ·time?
    ·2·   · · · · · · · ·(Plaintiff Exhibit No. 16 was marked for      ·2·   · · · · ·A.· · I believe he's still the assistant director
    ·3·   · · · · ·identification.)                                    ·3·   ·for custody management.
    ·4·   ·BY MR. SCIMONE:                                             ·4·   · · · · ·Q.· · And that's at ICE?
    ·5·   · · · · ·Q.· · Okay.· You've been handed Exhibit 16, which   ·5·   · · · · ·A.· · Yes.
    ·6·   ·is Bates stamped GEO_MEN 46793 through 795.· And you        ·6·   · · · · ·Q.· · And Phillip T. Miller is also mentioned.
    ·7·   ·recognize this to be an e-mail between GEO and personnel    ·7·   ·Who is he?
    ·8·   ·at ICE?                                                     ·8·   · · · · ·A.· · He, at the time, was assistant director for
    ·9·   · · · · ·A.· · Yes.                                          ·9·   ·field operations.
    10·   · · · · ·Q.· · And there's an attachment as well.· And       10·   · · · · ·Q.· · And that's also an ICE officer?
    11·   ·I'll represent the attachment is a reproduction of a        11·   · · · · ·A.· · Yes.
    12·   ·document that was produced to us natively.· It was an       12·   · · · · ·Q.· · And if you'll turn to the e-mail that
    13·   ·Excel file that was an attachment to this e-mail.           13·   ·follows that on the first page of the document, there's
    14·   · · · · ·A.· · Okay.                                         14·   ·an e-mail here from John P. Longshore.· Do you know who
    15·   · · · · ·Q.· · And we selected one particular tab for --     15·   ·that is?
    16·   ·to view here.· So let me just go through, I guess, the      16·   · · · · ·A.· · I think he's a -- I'm not -- he's with ICE,
    17·   ·folks in this chain.· You mentioned Dawn Ceja, I think at   17·   ·but I'm not actually sure in what capacity.
    18·   ·the time, in the exhibit we were looking at, she was an     18·   · · · · ·Q.· · Okay.· Do you know who Carl Zabat is?
    19·   ·assistant warden at Aurora?                                 19·   · · · · ·A.· · No.· Again, with ICE, but I don't know what
    20·   · · · · ·A.· · Yes.                                          20·   ·capacity.
    21·   · · · · ·Q.· · This is in April 2014.· Was she the warden    21·   · · · · ·Q.· · Okay.· And I do see he has an ICE e-mail
    22·   ·at that time?                                               22·   ·address in the top e-mail in the thread, but you're not
    23·   · · · · ·A.· · She was not.· She was never the warden.       23·   ·sure what office he's in, right?
    24·   ·She was assistant warden.                                   24·   · · · · ·A.· · No.
    25·   · · · · ·Q.· · She was always the assistant warden?          25·   · · · · ·Q.· · Okay.· How about Jeffrey D. Lynch?· He's


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    ·1·   ·copied here.                                                ·1·   ·understanding?
    ·2·   · · · · ·A.· · Again, don't know what capacity.              ·2·   · · · · ·A.· · Yes.
    ·3·   · · · · ·Q.· · Okay.· How about Harry Qualantone?· Do you    ·3·   · · · · ·Q.· · Okay.· First line says:· "Denver contract
    ·4·   ·know who that is?                                           ·4·   ·facility."· Do you see that?
    ·5·   · · · · ·A.· · Don't know what capacity.                     ·5·   · · · · ·A.· · Yes.
    ·6·   · · · · ·Q.· · Okay.· Understood.· So take a minute just     ·6·   · · · · ·Q.· · There's also El Paso, but I'm going to
    ·7·   ·to sort of read through this and get an understanding of    ·7·   ·focus on Denver.· So if you kind of go to the right on
    ·8·   ·what this exchange is about.· Let me know when you have     ·8·   ·that row, I'm going to bring your attention to certain
    ·9·   ·finished.                                                   ·9·   ·fields there.· So this is information that's supplied by
    10·   · · · · ·A.· · Okay.· I get the gist.                        10·   ·Dawn, correct?
    11·   · · · · ·Q.· · Okay.· So what's your understanding of        11·   · · · · · · · ·MR. BARNACLE:· Object the form.
    12·   ·the -- of what's going on in this e-mail exchange.          12·   · · · · ·A.· · I don't know.
    13·   · · · · ·A.· · There appears to be a request for             13·   ·BY MR. SCIMONE:
    14·   ·information, and that's now filtered down to the field      14·   · · · · ·Q.· · Well, so this is the attachment that was to
    15·   ·office directors to answer the questions.· And then it      15·   ·Dawn's e-mail, where she said, "Here you go."
    16·   ·comes to us to verify the answers, it looks like.           16·   · · · · · · · ·MR. BARNACLE:· Object to the form.
    17·   · · · · ·Q.· · Okay.· So that information request begins     17·   ·BY MR. SCIMONE:
    18·   ·at ICE, with Mr. Johnson and Mr. Miller, and they're        18·   · · · · ·Q.· · I'm representing to you that this was
    19·   ·filtering it down through other levels of ICE personnel,    19·   ·produced to us as a family member, meaning an attachment
    20·   ·and that's where ending with Carl Zabat, who then sends     20·   ·to the e-mail sent by Dawn.· And as we said, there's an
    21·   ·it to Dawn Ceja.· And I guess there's reference in the      21·   ·XLSX file there.· And so based on that, do you understand
    22·   ·first e-mail to Johnny.· Any idea who he's addressing       22·   ·this to be the spreadsheet returned to Carl Zabat?
    23·   ·there?· It says Johnny and Dawn on the very first page.     23·   · · · · · · · ·MR. BARNACLE:· Object to form.
    24·   · · · · ·A.· · Johnny would be Johnny Choate, the warden.    24·   · · · · ·A.· · Without seeing an e-mail, I'm just taking
    25·   · · · · ·Q.· · Johnny Choate, got it.· So Carl Zabat, from   25·   ·your word for it that it's part of the e-mail.

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    ·1·   ·ICE, is then sending this to them asking them to supply     ·1·   ·BY MR. SCIMONE:
    ·2·   ·information?                                                ·2·   · · · · ·Q.· · Okay.· Assuming I'm telling the truth in
    ·3·   · · · · ·A.· · Yes.                                          ·3·   ·everything I'm representing to you, that makes sense to
    ·4·   · · · · ·Q.· · Okay.· And so he asks them to review the      ·4·   ·you?
    ·5·   ·spreadsheet and then complete it, and then Dawn sends it    ·5·   · · · · · · · ·MR. BARNACLE:· Object to the form.
    ·6·   ·back and says, "Here you go."                               ·6·   · · · · ·A.· · Yes.
    ·7·   · · · · ·A.· · Okay.                                         ·7·   ·BY MR. SCIMONE:
    ·8·   · · · · ·Q.· · Is that right?                                ·8·   · · · · ·Q.· · Okay.· You don't have any reason to think,
    ·9·   · · · · ·A.· · Yes.                                          ·9·   ·based on this document, that that's not the case?
    10·   · · · · ·Q.· · And under "attachments," you can see that     10·   · · · · ·A.· · Again, without seeing the e-mail and what
    11·   ·there's an Excel file attached there, right?                11·   ·was attached, I don't know the form it was asked. I
    12·   · · · · ·A.· · Yes.                                          12·   ·don't know.
    13·   · · · · ·Q.· · Okay.· Let's look at the Excel file, the      13·   · · · · ·Q.· · Well, just from --
    14·   ·attachment.                                                 14·   · · · · ·A.· · It looks like there's a lot more to this
    15·   · · · · ·A.· · I was going to say, do you have a             15·   ·than just this one page, if it's an Excel spreadsheet.
    16·   ·magnifying glass?                                           16·   · · · · ·Q.· · Right.· So let's look back at the first
    17·   · · · · ·Q.· · I thought about it.· I'll try to read it to   17·   ·page of the e-mail just to try to pin this down.· So on
    18·   ·you.                                                        18·   ·the first page, John Longshore writes to Carl Zabat:
    19·   · · · · · · · ·So this is a spreadsheet, and we've           19·   ·"Carl, we have two facilities -- GEO and El Paso."· And
    20·   ·selected the "DEN" tab.· You can see that at the bottom.    20·   ·Carl then sends this to Johnny and Dawn and says:· "This
    21·   · · · · ·A.· · Yes.                                          21·   ·tasking is due to HQ by COB Monday next week.· Can you
    22·   · · · · ·Q.· · Does that refer to Denver?                    22·   ·please review the spreadsheet and have somebody complete
    23·   · · · · ·A.· · Yes.                                          23·   ·it?"
    24·   · · · · ·Q.· · All right.· And so that's referring to the    24·   · · · · · · · ·So Johnny and Dawn are both at the Aurora
    25·   ·ICE detention facility in Aurora.· Is that your             25·   ·facility, correct?


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    ·1·   · · · · ·A.· · Yes.                                           ·1·   · · · · ·spreadsheet attached as you say.
    ·2·   · · · · ·Q.· · In Denver?                                     ·2·   · · · · · · · ·MR. SCIMONE:· Fair enough.
    ·3·   · · · · ·A.· · Yes.                                           ·3·   ·BY MR. SCIMONE:
    ·4·   · · · · ·Q.· · Okay.· And if you look at the spreadsheet,     ·4·   · · · · ·Q.· · My question to you, and I'll ask it again
    ·5·   ·the tabs here, they all have three-letter abbreviations.     ·5·   ·just to be clear, do you have anything on the face of
    ·6·   ·I see "NYC," "LOS," "HOU."                                   ·6·   ·this document that suggests to you that the information
    ·7·   · · · · ·A.· · Well, that's my concern.                       ·7·   ·contained in this tab, given how it's presented and
    ·8·   · · · · ·Q.· · Okay.                                          ·8·   ·described in the first e-mail, is not information
    ·9·   · · · · ·A.· · Because all these tabs have different          ·9·   ·provided by Dawn Ceja?
    10·   ·locations that look like it's internal to ICE, because       10·   · · · · ·A.· · I -- again, if it was provided by Dawn Ceja
    11·   ·these are not our facility.                                  11·   ·and then it was incorporated into this spreadsheet,
    12·   · · · · ·Q.· · Okay.                                          12·   ·that's fine.· Without seeing the attachment, I don't
    13·   · · · · ·A.· · So I wouldn't know how we would fill out       13·   ·know.· And I don't know -- I mean, we can go through
    14·   ·their form with all of these -- we wouldn't be privy to      14·   ·whatever you wanted me to go through and I can give you
    15·   ·all this other information.                                  15·   ·my assumptions or whatever, but I don't -- it's just,
    16·   · · · · ·Q.· · Sure.· And I'm not asking about that,          16·   ·like I said, concerning to me that this is a complete
    17·   ·because I'm making the same assumption you are, that ICE     17·   ·spreadsheet.· So it may have been attached someplace else
    18·   ·is directing this to Johnny and Dawn because they're at      18·   ·and this information was incorporated into this
    19·   ·Aurora.                                                      19·   ·spreadsheet.
    20·   · · · · ·A.· · But you asked me if this was an attachment     20·   · · · · ·Q.· · Okay.· I think I can deal with counsel
    21·   ·to the e-mail, and the reason I'm hesitant saying that is    21·   ·about the authenticity of the document further --
    22·   ·because of all these other tabs here.· This would not        22·   · · · · ·A.· · Okay.
    23·   ·necessarily be an attachment to this e-mail.· There may      23·   · · · · ·Q.· · -- to follow up on that.
    24·   ·have been information that was put into this, but I don't    24·   · · · · · · · ·But let me ask you some questions about
    25·   ·know how this, with all these other facilities, would be     25·   ·what we see here in this attachment.

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    ·1·   ·an attachment to this specific e-mail because those are      ·1·   · · · · ·A.· · Okay.
    ·2·   ·not dealing with any of our facilities.                      ·2·   · · · · ·Q.· · So looking across that row 9, for the
    ·3·   · · · · · · · ·MR. SCIMONE:· Okay.· So, I mean, I'll just     ·3·   ·Denver Contract Detention Facility, your understanding is
    ·4·   · · · · ·represent, Counsel, for our record, and maybe we     ·4·   ·that that refers to the Aurora facility?
    ·5·   · · · · ·can discuss this outside the context of this, the    ·5·   · · · · ·A.· · Yes.
    ·6·   · · · · ·attachment -- I don't think I gave the Bates         ·6·   · · · · ·Q.· · Okay.· And from the e-mail, you understand
    ·7·   · · · · ·number, but the attachment to the document that's    ·7·   ·the information request relates to the Voluntary Work
    ·8·   · · · · ·produced sequentially after the e-mail was           ·8·   ·Program?
    ·9·   · · · · ·GEO_MEN 00046796.· It's an Excel file with all of    ·9·   · · · · ·A.· · Yes.
    10·   · · · · ·the tabs.· We've only printed out the one tab        10·   · · · · ·Q.· · Okay.· And they're asking questions about
    11·   · · · · ·because that's what my questions are about.          11·   ·voluntary work programs at different facilities, and ICE
    12·   · · · · · · · ·So -- but this was produced to us pursuant     12·   ·is taking a survey of that --
    13·   · · · · ·to the ESI production standards that counsel have    13·   · · · · ·A.· · Yes.
    14·   · · · · ·agreed to, and so this was produced sequentially     14·   · · · · ·Q.· · -- information?
    15·   · · · · ·as a family member.· The metadata indicates it is    15·   · · · · · · · ·Okay.· So -- and this states -- and I'm
    16·   · · · · ·a family member attached to this e-mail.             16·   ·looking across a few of the columns -- the number of
    17·   · · · · · · · ·So with that representation, what I'm          17·   ·detainees in each -- in this facility that participate in
    18·   · · · · ·saying to you is this was produced to us as an       18·   ·the VWP.· Do you see that?
    19·   · · · · ·attachment to the e-mail.                            19·   · · · · ·A.· · Yes.
    20·   · · · · · · · ·MR. BARNACLE:· For the record, that's fine     20·   · · · · ·Q.· · It's listed as 64 here.· And then it
    21·   · · · · ·that you represent that on the record, but sitting   21·   ·describes the types of jobs performed.· Do you see that?
    22·   · · · · ·here right now, I have no way of independently       22·   · · · · ·A.· · Yes.
    23·   · · · · ·confirming that that's accurate.· And I think, you   23·   · · · · ·Q.· · And then the amount of compensation paid?
    24·   · · · · ·know, the witness can certainly tell you about her   24·   · · · · ·A.· · Yes.
    25·   · · · · ·concerns about whether or not this was a             25·   · · · · ·Q.· · Listed here as $1 per day.


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    ·1·   · · · · · · · ·And then over to the right, there are a few   ·1·   ·volunteers or is it --
    ·2·   ·boxes that are highlighted.· Do you see those?              ·2·   · · · · ·Q.· · So you're not sure what ICE was asking with
    ·3·   · · · · ·A.· · Yes.                                          ·3·   ·this?
    ·4·   · · · · ·Q.· · Okay.· So the first one says:· "Does the      ·4·   · · · · ·A.· · No, no.
    ·5·   ·facility provide a voluntary non-paid trustee program       ·5·   · · · · ·Q.· · Okay.
    ·6·   ·with privileges for ICE detainees?"· And it says here       ·6·   · · · · ·A.· · Because it doesn't seem to -- it kind of
    ·7·   ·yes?                                                        ·7·   ·conflicts with the first one:· Does the facility have
    ·8·   · · · · ·A.· · Yes.· I see that.                             ·8·   ·communal volunteer clean opportunities unpaid?
    ·9·   · · · · ·Q.· · Does the Aurora detention facility provide    ·9·   · · · · ·Q.· · Do you feel that you have enough
    10·   ·a voluntary non-paid work program that has privileges?      10·   ·information to be able to say -- as between those three
    11·   · · · · ·A.· · I don't know.                                 11·   ·categories, the first one highlighted, where it says,
    12·   · · · · ·Q.· · Okay.                                         12·   ·"yes," and then the two that say "no," do you feel that
    13·   · · · · ·A.· · That.                                         13·   ·you have enough information in understanding what ICE is
    14·   · · · · ·Q.· · That would be a question to direct to         14·   ·asking to be able to describe which of those Housing Unit
    15·   ·someone at the facility?                                    15·   ·Sanitation Policy it most closely aligns with?
    16·   · · · · ·A.· · Yes.                                          16·   · · · · ·A.· · Well, they're asking about communal and not
    17·   · · · · ·Q.· · Okay.· You're not aware of just in terms of   17·   ·individual housekeeping policies.· I mean, are they
    18·   ·the contract and your area of responsibility of a program   18·   ·asking for -- is there, like, volunteer services within
    19·   ·like that?                                                  19·   ·the facility -- within the housing areas?· I'm not
    20·   · · · · ·A.· · No, sir.                                      20·   ·absolutely sure.· I mean, it could be that it's part of
    21·   · · · · ·Q.· · Okay.· Two columns to the right of that, it   21·   ·the housekeeping plan.· But the way they're asking it, as
    22·   ·says:· "Does the facility have communal volunteer           22·   ·far as communal, I'm hesitant to even ask.
    23·   ·cleaning opportunities (unpaid or unrewarded) for ICE       23·   · · · · ·Q.· · Okay.· You can put that aside.
    24·   ·detainees?"· And it says "no."· Do you see that?            24·   · · · · · · · ·So we -- we spoke about this a little bit
    25·   · · · · ·A.· · Yes.                                          25·   ·earlier -- before I take a break and go check on that

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    ·1·   · · · · ·Q.· · Okay.· And then two columns to the right of   ·1·   ·exhibit, I just want to be sure that I -- that we're good
    ·2·   ·that:· "Does the facility have communal cleaning details    ·2·   ·about it.
    ·3·   ·(non-volunteer or rewarded)?"· And the answer is "no."      ·3·   · · · · · · · ·So you haven't had any communications with
    ·4·   ·You see that, correct?                                      ·4·   ·ICE specifically about the scope of the duties under the
    ·5·   · · · · ·A.· · Yes.                                          ·5·   ·Housing Unit Sanitation Policy, correct?
    ·6·   · · · · ·Q.· · Okay.· We've talked about how the Housing     ·6·   · · · · ·A.· · No, I haven't.
    ·7·   ·Unit Sanitation Policy has certain required cleaning        ·7·   · · · · ·Q.· · You're not aware of any specific
    ·8·   ·tasks that are not paid?                                    ·8·   ·communications to ICE about the scope of those duties,
    ·9·   · · · · ·A.· · Right.                                        ·9·   ·correct?
    10·   · · · · ·Q.· · As far as you know, they're not provided      10·   · · · · ·A.· · No.· Just this one, I guess.
    11·   ·with any other sorts of rewards or incentives, correct?     11·   · · · · ·Q.· · Right.· Other than this, sure.· And
    12·   · · · · ·A.· · As far as I know.                             12·   ·generally speaking, given your position in contract
    13·   · · · · ·Q.· · And they are mandatory?                       13·   ·compliance -- current position in contract compliance and
    14·   · · · · ·A.· · The clean --                                  14·   ·also earlier contract administration position, are those
    15·   · · · · ·Q.· · The cleaning tasks.                           15·   ·generally communications you would expect to be directed
    16·   · · · · ·A.· · Yes.                                          16·   ·to your office or that your office would be aware of?
    17·   · · · · ·Q.· · Okay.· So that's a non-volunteer job,         17·   · · · · ·A.· · Yes.
    18·   ·correct?                                                    18·   · · · · ·Q.· · And --
    19·   · · · · ·A.· · Yes.                                          19·   · · · · ·A.· · Well, as far as the housekeeping plan?
    20·   · · · · ·Q.· · So does that column describing communal       20·   · · · · ·Q.· · Yes.
    21·   ·cleaning details, non-volunteer or rewarded, appear to      21·   · · · · ·A.· · Not necessarily.· That wouldn't be to a
    22·   ·fairly describe the Housing Unit Sanitation Policy?         22·   ·scale that I -- like if there was a major issue going on
    23·   · · · · ·A.· · "Does the facility have communal cleaning     23·   ·with it that I would think would be directed towards me.
    24·   ·details (non-volunteer or rewarded)?"· I'm not sure what    24·   · · · · ·Q.· · Okay.· So -- because we talked about cases
    25·   ·"communal details" -- I mean, is it a group of people       25·   ·where your office would be involved if there was a


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    ·1·   ·question or ambiguity about what the contract would be      ·1·   ·administrator shall ensure that adequate provisions are
    ·2·   ·required.                                                   ·2·   ·made for staff and detainee safety, in accordance with
    ·3·   · · · · ·A.· · Or if there was a change of scope or if       ·3·   ·these standards and applicable law.· Standard '7.3 Staff
    ·4·   ·there what a negotiation or a change that ICE wanted to     ·4·   ·Training' further addresses employee training-related
    ·5·   ·make, those type of things.                                 ·5·   ·issues.· Standard '5.8 Voluntarily Work Program'
    ·6·   · · · · ·Q.· · Okay.· And you're not aware of any issues     ·6·   ·addresses" -- "detainee shall receive" -- "such as
    ·7·   ·like that going up to your office?                          ·7·   ·working with cleaning products to clean general use
    ·8·   · · · · ·A.· · As far as housekeeping, no.                   ·8·   ·areas."
    ·9·   · · · · · · · ·MR. SCIMONE:· Okay.· Let me take a break      ·9·   · · · · ·Q.· · So this references the Voluntary Work
    10·   · · · · ·and see if I can get a status on this.              10·   ·Program?
    11·   · · · · · · · ·(Recess from 2:13 p.m. to 2:33 p.m.)          11·   · · · · ·A.· · Detainee living area.· Housekeeping plan.
    12·   · · · · · · · ·(Plaintiff Exhibit No. 17 was marked for      12·   ·Maybe that's -- well, okay.· 349 -- the fact that 6.1
    13·   · · · · ·identification.)                                    13·   ·detainee handbook is incorporated into PBNDS --
    14·   ·BY MR. SCIMONE:                                             14·   · · · · ·Q.· · Let me just find that page.
    15·   · · · · ·Q.· · Ms. Martin, Exhibit 17 that you've just       15·   · · · · ·A.· · I'm sorry.
    16·   ·been handed is a full copy of the 2011 PBNDS, and the       16·   · · · · ·Q.· · Page 349?
    17·   ·full Bates range is GEO-MEN 64018 through 64414.· And so    17·   · · · · ·A.· · 64349, yes.
    18·   ·we're looking at this because earlier we talked about the   18·   · · · · ·Q.· · Okay.· Where are you looking on the page?
    19·   ·scope of cleaning duties under the Housing Unit             19·   · · · · ·A.· · 6.1 the Detainee Handbook.
    20·   ·Sanitation Policy.· I had identified a portion of PBNDS     20·   · · · · ·Q.· · Okay.
    21·   ·and asked whether the Housing Unit Sanitation Policy went   21·   · · · · ·A.· · Because the ICE National Detention Handbook
    22·   ·outside of those duties.· You had testified there were      22·   ·is incorporated into that and it refers to general living
    23·   ·other aspects of the PBNDS that didn't encompass those      23·   ·areas.
    24·   ·duties.· And so what we're doing now, I hope, is that you   24·   · · · · ·Q.· · I'm sorry, where are you?
    25·   ·can point to the sections of the document that you're       25·   · · · · ·A.· · Well, you have to have the handbook.

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    ·1·   ·referring to that comport with GEO's policy.· So please     ·1·   · · · · ·Q.· · I'm sorry, I didn't see the reference.
    ·2·   ·take your time to read it.                                  ·2·   · · · · ·A.· · The handbook -- because the detainee
    ·3·   · · · · ·A.· · Under Section 1.2, sanitation --              ·3·   ·handbook is incorporated into this and it refers to
    ·4·   ·Environmental Health and Safety, Subsection A.              ·4·   ·general living areas in the detainee handbook, and the
    ·5·   · · · · ·Q.· · Can you point to a Bates number.              ·5·   ·fact that the ACA is incorporated and refers to general
    ·6·   · · · · ·A.· · I'm sorry.· 64041.· Environmental Health      ·6·   ·living areas in the ACA, then I -- you know, we would
    ·7·   ·and Safety:· "Environment health conditions shall be        ·7·   ·have to go back to those two things.· And on your exhibit
    ·8·   ·maintained at a level that meets recognized standards of    ·8·   ·that you showed, as far as the Exhibit 15.
    ·9·   ·hygiene, including those from the:· American Correctional   ·9·   · · · · ·Q.· · That's the excerpt of the PBNDS?
    10·   ·Association, Occupational Safety and Health                 10·   · · · · ·A.· · Yes.
    11·   ·Administration, Environmental Protection Agency," et        11·   · · · · ·Q.· · With Section 5.8?
    12·   ·cetera, et cetera.                                          12·   · · · · ·A.· · Right.
    13·   · · · · ·Q.· · I see.                                        13·   · · · · ·Q.· · Okay.
    14·   · · · · ·A.· · I would reference the American Correctional   14·   · · · · ·A.· · Even under -- I'm sorry.· 64220.· Even
    15·   ·Association as being incorporated into PBNDS, that we       15·   ·under the offense category, refusal to clean assigned
    16·   ·would have to follow, as far as sanitation.                 16·   ·living area is not specific to cells as a requirement.
    17·   · · · · ·Q.· · And you're saying that this authorizes        17·   ·Number 306.
    18·   ·GEO-required detainees to do that work?                     18·   · · · · ·Q.· · You said not specific to cells?
    19·   · · · · ·A.· · Because the American -- ACA standard has      19·   · · · · ·A.· · Right.· It's an assigned living area, which
    20·   ·that as part of living areas.                               20·   ·would be their housing area as well as their cells.· And
    21·   · · · · ·Q.· · Okay.                                         21·   ·then the approval of ICE of our housekeeping policy
    22·   · · · · ·A.· · Before we were talking about ACA being        22·   ·itself, exhibit -- the last one you showed me.
    23·   ·separate from PBNDS.· PBNDS incorporates ACA.· Further,     23·   · · · · ·Q.· · You're referring to Housing Unit Sanitation
    24·   ·it talks about "shall ensure that" -- number two -- 042:    24·   ·Policy?
    25·   ·It says:· "Staff and Detainee Safety.· The facility         25·   · · · · ·A.· · Yeah.


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    ·1·   · · · · ·Q.· · Okay.· You're just saying the fact that       ·1·   ·incorporates the provisions of the ACA that says who can
    ·2·   ·that was approved by ICE?                                   ·2·   ·be assigned to perform those tasks to maintain the
    ·3·   · · · · ·A.· · Yes.· Signed off and approved by ICE.         ·3·   ·standards?
    ·4·   · · · · ·Q.· · And that was approved by -- at what level?    ·4·   · · · · ·A.· · Yes.
    ·5·   ·By the contracting officer or the COTR?                     ·5·   · · · · ·Q.· · Have you ever raised that understanding
    ·6·   · · · · ·A.· · I'm guessing, because I can't recognize the   ·6·   ·with ICE?
    ·7·   ·signature, it would be at the facility level.· Probably     ·7·   · · · · ·A.· · Well, obviously it was raised with the
    ·8·   ·the COTR.                                                   ·8·   ·understanding that they agreed to the policy, that they
    ·9·   · · · · ·Q.· · The COTR, okay.                               ·9·   ·reviewed the policy.
    10·   · · · · ·A.· · So those three areas and the PBNDS, which     10·   · · · · ·Q.· · So -- okay.· But you didn't explicitly
    11·   ·incorporates the ACA, incorporates the inmate -- I'm        11·   ·raise that concept with them, that because the ACA is
    12·   ·sorry, detainee handbook, it talks about refusal to clean   12·   ·incorporated here, we can do the same thing that the ACA
    13·   ·assigned living areas, even in the disciplinary portion     13·   ·allows us to do in terms of who does what, because it's
    14·   ·of it, although we don't put them in solitary for that, I   14·   ·referenced here in the Section 8.1?
    15·   ·will say that section shows me that those four areas is     15·   · · · · · · · ·MR. BARNACLE:· Object to the form.
    16·   ·just a partial section and doesn't incorporate the whole    16·   · · · · ·A.· · What I'm saying is, because there's several
    17·   ·thing and that there would be no reason for me to think     17·   ·different things that are incorporated into the PBNDS,
    18·   ·that there was anything am- -- I can't say that word.       18·   ·such as ACA, the National Detention Handbook, you know,
    19·   · · · · ·Q.· · Ambiguous.                                    19·   ·even description of living areas and disciplinary
    20·   · · · · ·A.· · Thank you.                                    20·   ·process, and that is all incorporated, there's no reason
    21·   · · · · · · · ·-- ambiguous to this.                         21·   ·I would raise anything to ICE.· I would put it in a
    22·   · · · · ·Q.· · Okay.· So the ACA, which we don't have in     22·   ·policy outlining that was part of the PBNDS, part of the
    23·   ·front of us, you say that -- you're saying that that        23·   ·contract requirements, and let them review it and approve
    24·   ·specifically states that detainees may be required to do    24·   ·it.
    25·   ·cleaning?                                                   25·   ·············////

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    ·1·   · · · · ·A.· · I'm saying -- yes, yes.                       ·1·   ·BY MR. SCIMONE:
    ·2·   · · · · ·Q.· · Okay.· And because that's incorporated into   ·2·   · · · · ·Q.· · And so I'm not trying to argue with you
    ·3·   ·the PBNDS as stated at the page you identified here?        ·3·   ·about this, but I want to understand why this -- you did
    ·4·   · · · · ·A.· · 20.                                           ·4·   ·or did not -- just to lay the basic background, my sort
    ·5·   · · · · ·Q.· · Yeah.· That that implies that or tells you    ·5·   ·of overarching question here is what -- whether anything
    ·6·   ·that a greater scope of cleaning is permitted, greater      ·6·   ·caused you to discuss the very specific topic with ICE
    ·7·   ·than what's in that other section you looked at?            ·7·   ·about what detainees were doing.· And so pursuant to
    ·8·   · · · · ·A.· · Yes.· There's several different sections in   ·8·   ·that, you say that it's -- the ACA standards are
    ·9·   ·there that would encompass the general living area.         ·9·   ·incorporated into PBNDS?
    10·   · · · · ·Q.· · Let's look at that page, 64041.               10·   · · · · ·A.· · That, as well as the contract.
    11·   · · · · ·A.· · Yes.                                          11·   · · · · ·Q.· · As well as the contract.· And what I'm
    12·   · · · · ·Q.· · I just want to understand what we're          12·   ·pointing to here is a section that describes the ACA
    13·   ·describing here.· So section A1 -- before I go into this,   13·   ·standards in a particular context.· That's my
    14·   ·anything else in here that you would refer to?              14·   ·understanding when I read this, that it says:· "The
    15·   · · · · ·A.· · Just briefly looking through this, that I     15·   ·environmental health conditions shall be maintained at a
    16·   ·could find.                                                 16·   ·level that meets recognized standards of hygiene."
    17·   · · · · ·Q.· · Okay.· So this says:· "Environmental health   17·   · · · · · · · ·And so you don't see any discrepancy
    18·   ·conditions shall be maintained at a level that meets        18·   ·between maintaining standards at a level and maintaining
    19·   ·recognized standards of hygiene, including those from       19·   ·them in a specific way that the ACA permits in terms of
    20·   ·the:"· A through F.· The first being is the American        20·   ·who does what?
    21·   ·Correctional Association.                                   21·   · · · · ·A.· · No.· Because I think that there's different
    22·   · · · · ·A.· · Right.                                        22·   ·sections and it's incorporating all the sections and all
    23·   · · · · ·Q.· · Now, your testimony is that because this      23·   ·the definitions into one policy.
    24·   ·says that the health conditions shall be maintained at a    24·   · · · · ·Q.· · This language here incorporates that?
    25·   ·level that meets the standards of hygiene here, that also   25·   · · · · ·A.· · The ACA standard incorporates it.


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    ·1·   · · · · ·Q.· · But you're saying that that ACA standard is   ·1·   · · · · ·Q.· · So it's assigned housing areas.· And so you
    ·2·   ·incorporated here by this language?                         ·2·   ·read that to mean something beyond?
    ·3·   · · · · ·A.· · Yes.                                          ·3·   · · · · ·A.· · Their cells.
    ·4·   · · · · ·Q.· · And you also say independent of this,         ·4·   · · · · ·Q.· · The cells, okay.
    ·5·   ·what's in the PBNDS, that the contract incorporates the     ·5·   · · · · ·A.· · It's common area.
    ·6·   ·ACA standards.· I understand that.                          ·6·   · · · · ·Q.· · The common area of the pod?
    ·7·   · · · · ·A.· · Correct.                                      ·7·   · · · · ·A.· · Yes.
    ·8·   · · · · ·Q.· · And we talked a little bit earlier about      ·8·   · · · · ·Q.· · That encompasses areas outside of the bunk
    ·9·   ·what happens if there's an apparent conflict between the    ·9·   ·and the immediate area around the bunk that are described
    10·   ·ACA standards and the PBNDS.· And in that situation, that   10·   ·in --
    11·   ·would be something that ICE would need to basically give    11·   · · · · ·A.· · Yes.
    12·   ·GEO an indication what should govern, right?                12·   · · · · ·Q.· · -- that section of PBNDS that we looked at
    13·   · · · · ·A.· · Yes.                                          13·   ·earlier?
    14·   · · · · ·Q.· · But you haven't raised any conflict between   14·   · · · · ·A.· · Yes.
    15·   ·the ACA standards and the PBNDS in this area?               15·   · · · · ·Q.· · Okay.· Have you ever raised through the
    16·   · · · · ·A.· · No.· Because I don't believe there is a       16·   ·contracting process or any other context with ICE a
    17·   ·conflict.                                                   17·   ·question about whether that section of the handbook means
    18·   · · · · ·Q.· · Right.· Now let's look at the second          18·   ·more than just the cells?
    19·   ·section you identified, okay.· So page 3289 of the PBNDS,   19·   · · · · ·A.· · No.
    20·   ·that's Bates stamp 64349.                                   20·   · · · · ·Q.· · That's GEO's reading of that section?
    21·   · · · · ·A.· · Okay.                                         21·   · · · · ·A.· · Like I said, I've never raised it because I
    22·   · · · · ·Q.· · So --                                         22·   ·didn't think there was a conflict.
    23·   · · · · ·A.· · Yes.                                          23·   · · · · ·Q.· · Okay.
    24·   · · · · ·Q.· · Okay.· So this section is titled:             24·   · · · · ·A.· · And they've already reviewed the policy, so
    25·   ·"Detainee Handbook."· It says:· "This detention standard    25·   ·obviously they didn't think it was a conflict.

                                                         Page 191                                                           Page 193
    ·1·   ·requires that, upon admission, every detainee be provided   ·1·   · · · · ·Q.· · Well, I guess as we saw when we looked
    ·2·   ·comprehensive written orientation materials that describe   ·2·   ·earlier at the policy -- and that's exhibit -- what's the
    ·3·   ·such matters as the facility's rules and sanctions,         ·3·   ·number again?
    ·4·   ·disciplinary system, mail and visiting procedures,          ·4·   · · · · · · · ·MR. BARNACLE:· 14.
    ·5·   ·grievance system, services, programs, and medical care,     ·5·   ·BY MR. SCIMONE:
    ·6·   ·in English, Spanish and other languages and that            ·6·   · · · · ·Q.· · 14.· So as we talked about earlier, when
    ·7·   ·detainees acknowledge receipt of those materials."          ·7·   ·you look at the policy, the policy describes various
    ·8·   · · · · · · · ·So this handbook that's being referred to,    ·8·   ·kinds of housekeeping, including some things that are, as
    ·9·   ·is that an ICE publication?                                 ·9·   ·I understand, part of the Voluntary Work Program.· Is
    10·   · · · · ·A.· · Yes.                                          10·   ·that your understanding as well?
    11·   · · · · ·Q.· · Okay.· And your contention is that this       11·   · · · · ·A.· · Does it include the voluntary program?
    12·   ·provision of the PBNDS incorporates that handbook?          12·   ·Where?
    13·   · · · · ·A.· · Yes.                                          13·   · · · · ·Q.· · Well, it doesn't say it explicitly. I
    14·   · · · · ·Q.· · Okay.· And there's a section of that          14·   ·guess that's what I'm pointing out, is that there are --
    15·   ·handbook that you say refers to general living areas?       15·   ·so if we look at -- well, let me just ask you this, given
    16·   · · · · ·A.· · Yes.                                          16·   ·what he have on the face the document:· Is there anything
    17·   · · · · ·Q.· · And I realize I'm asking you just based on    17·   ·in here that describes whether these tasks are part of a
    18·   ·your recollection, but what's your recollection of what     18·   ·required housekeeping that all detainees are required to
    19·   ·it says about living areas?                                 19·   ·do as opposed to voluntary work that's done as part of
    20·   · · · · ·A.· · I think it's assigned living areas.           20·   ·the VWP and that people are paid $1 a day for?
    21·   · · · · ·Q.· · Okay.                                         21·   · · · · ·A.· · Well, yes, under Section B, each detainee
    22·   · · · · ·A.· · Or assigned housing areas or something of     22·   ·will be responsible for the cleanliness of his or her
    23·   ·that nature.· It's not just independent cells.· It's        23·   ·cell or living area, including walls, floors, sink,
    24·   ·general assigned housing areas or something of that         24·   ·toilet, windows, and other property within the cell room
    25·   ·nature.                                                     25·   ·or living area.


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    ·1·   · · · · ·Q.· · Okay.· But that doesn't explicitly say that   ·1·   · · · · ·Q.· · Meaning the common areas of the pod -- the
    ·2·   ·that's required as part of the policy and not paid?         ·2·   ·housing pod?
    ·3·   · · · · ·A.· · If it was part of the paid Voluntary Work     ·3·   · · · · ·A.· · Yes.
    ·4·   ·Program, it would be under that policy.· I think we would   ·4·   · · · · ·Q.· · That's included in what's described in the
    ·5·   ·be very explicit under the Voluntary Work Program what's    ·5·   ·detainee handbook, according to your reading?
    ·6·   ·paid and what's not paid or assignments.· This is           ·6·   · · · · ·A.· · Yes.
    ·7·   ·explicit to sanitation procedures, and if it's not          ·7·   · · · · ·Q.· · Okay.· And that's the understanding that
    ·8·   ·identified as being paid, I would say it's not paid.        ·8·   ·GEO applies?· In other words, it's not just your personal
    ·9·   · · · · ·Q.· · If you look on Bates No. GEO_MEN 1508 on      ·9·   ·reading, but that's what GEO's policy is based on.· Is
    10·   ·that document, at the very top, above the table you see     10·   ·that your understanding?
    11·   ·the last line of that text it says "housing unit            11·   · · · · ·A.· · Yes.
    12·   ·trustee"?                                                   12·   · · · · ·Q.· · Okay.· And then you mentioned also on
    13·   · · · · ·A.· · Uh-huh, yes, I do.                            13·   ·page 64220, that's the Bates number, it's describing the
    14·   · · · · ·Q.· · Is it your understanding that the trustee     14·   ·offences --
    15·   ·generally refers to someone in a Voluntary Work Program?    15·   · · · · ·A.· · Yes.
    16·   · · · · ·A.· · Yes, it would.                                16·   · · · · ·Q.· · -- and prohibited acts.· Number 306 says:
    17·   · · · · ·Q.· · Okay.· And this is part of the Housing Unit   17·   ·"Refusing to clean assigned living area."
    18·   ·Sanitation Policy, correct?                                 18·   · · · · · · · ·Is it your testimony that that wording
    19·   · · · · ·A.· · Yes.                                          19·   ·suggests something more than just the cells?
    20·   · · · · ·Q.· · So there is at least one job there that's     20·   · · · · ·A.· · Yes.
    21·   ·described as part of this sanitation policy that refers     21·   · · · · ·Q.· · What about those words tells you that it's
    22·   ·to someone working in the VWP, correct?                     22·   ·not just the cells?
    23·   · · · · ·A.· · It could be, yes.                             23·   · · · · ·A.· · Because the assigned common area, the
    24·   · · · · ·Q.· · Do you have any -- are you certain as you     24·   ·living area, is where detainees eat, recreate, watch
    25·   ·look through this sanitation policy in the schedule         25·   ·television, have programs.· That's their area that they

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    ·1·   ·whether or not other jobs here are part of the VWP?         ·1·   ·live in.· It's not just their cell.
    ·2·   · · · · ·A.· · I would consider a housing unit trustee       ·2·   · · · · ·Q.· · So isn't that a question of how ICE is
    ·3·   ·probably someone that was cleaning a segregation area,      ·3·   ·defining living area in that document from ICE?
    ·4·   ·someplace -- the common area where a detainee couldn't      ·4·   · · · · ·A.· · Yes.
    ·5·   ·come out into that area and clean themselves.               ·5·   · · · · ·Q.· · And that's -- so you're testifying about
    ·6·   · · · · ·Q.· · Okay.· And there's also, if you'll look --    ·6·   ·GEO's understanding of what assigned living area means?
    ·7·   ·on the policy, on the next page, there's a kitchen          ·7·   · · · · ·A.· · Yes.
    ·8·   ·cleaning section as well.· You see that, right?             ·8·   · · · · ·Q.· · Okay.· But there's no communication from
    ·9·   · · · · ·A.· · Yes.                                          ·9·   ·ICE, is there, or is there, that defines assigned living
    10·   · · · · ·Q.· · This doesn't say whether this is work being   10·   ·area to mean more than just the cell, is there?
    11·   ·done by a GEO employee or a VWP trustee worker, correct?    11·   · · · · ·A.· · The policy.· I mean, the review of the
    12·   · · · · ·A.· · Correct.                                      12·   ·policy.· If there was any question about what a common
    13·   · · · · ·Q.· · This isn't part of the required cleaning      13·   ·living area is, I mean, in this industry, their housing
    14·   ·that all detainees are required to do, is it?               14·   ·area is their living area.
    15·   · · · · ·A.· · No, it's not.                                 15·   · · · · ·Q.· · Okay.· So -- and you've never raised this
    16·   · · · · ·Q.· · Okay.· So it's part of the Housing Unit       16·   ·specifically with ICE because you don't see any conflict
    17·   ·Sanitation Policy, but it's outside of what detainees are   17·   ·between the way that this is phrased in the Housing Unit
    18·   ·required to actually do, correct?                           18·   ·Sanitation Policy and that language in Section 5.8 that
    19·   · · · · ·A.· · Correct.                                      19·   ·we looked at that says: "Detainee shall not be required
    20·   · · · · ·Q.· · Okay.· So let's look back at the PBNDS.· So   20·   ·to work except to do personal housekeeping"?
    21·   ·we've looked at the handbook and -- the reference here to   21·   · · · · ·A.· · No.· I don't see any conflict.· I see this
    22·   ·the handbook.· And so your testimony is that because the    22·   ·as a part -- part of an entire book of standards that
    23·   ·handbook refers to general living areas, you understand     23·   ·incorporates that part and incorporates ACA and
    24·   ·that to mean areas outside of just the cell?                24·   ·incorporates the detention handbook, and I think they're
    25·   · · · · ·A.· · Yes.                                          25·   ·all-inclusive.


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    ·1·   · · · · ·Q.· · And that's never a topic that you             ·1·   ·it was raised to your attention and you subsequently
    ·2·   ·specifically sought to clarify with ICE just to be clear?   ·2·   ·became aware of something that you understood to be in
    ·3·   · · · · · · · ·MR. BARNACLE:· Object to the form.            ·3·   ·conflict with the contract?
    ·4·   · · · · ·A.· · No.· I never specifically sought to clarify   ·4·   · · · · ·A.· · I can't think of a particular instance, but
    ·5·   ·it because I thought it was clear through the review of     ·5·   ·if that instance ever happened, I would raise it to the
    ·6·   ·the policy.                                                 ·6·   ·contracting officer.
    ·7·   ·BY MR. SCIMONE:                                             ·7·   · · · · ·Q.· · Okay.· That would be the appropriate next
    ·8·   · · · · ·Q.· · That was done by the COTR?                    ·8·   ·step to ensure that ICE did in fact approve that at the
    ·9·   · · · · ·A.· · I think so, without knowing the signature.    ·9·   ·appropriate level?
    10·   ·It's definitely an ICE official.                            10·   · · · · ·A.· · Yes.
    11·   · · · · ·Q.· · Okay.· One more topic, I guess.· Bear with    11·   · · · · ·Q.· · Okay.· And to memorialize that, to the
    12·   ·me.                                                         12·   ·extent that it was a contract term that was different
    13·   · · · · · · · ·Okay.· If you can look at Exhibit I and       13·   ·from what was happening in practice -- and, again, I'm
    14·   ·page 19652.                                                 14·   ·going by the language here in this exhibit -- that would
    15·   · · · · · · · ·MR. BARNACLE:· Do you mean Exhibit 9?         15·   ·need to be memorialized in a -- in a proper contractual
    16·   · · · · · · · ·MR. SCIMONE:· Yes.                            16·   ·document executed by the contracting officer, right?
    17·   · · · · · · · ·MR. BARNACLE:· Sorry.· What's the number      17·   · · · · ·A.· · What exactly are you referring to?· Are you
    18·   · · · · ·again?                                              18·   ·referring to the policy?
    19·   · · · · · · · ·MR. SCIMONE:· 19652.                          19·   · · · · ·Q.· · So I'm referring to a situation where
    20·   · · · · ·A.· · Okay.                                         20·   ·there's a practice that comes to your attention that's in
    21·   ·BY MR. SCIMONE:                                             21·   ·conflict with a provision of the contract and ICE wants
    22·   · · · · ·Q.· · I would like to direct your attention to      22·   ·GEO to continue to do whatever it's doing, according to
    23·   ·the last full paragraph just above the two bullet points    23·   ·the practice, even though there's an apparent conflict
    24·   ·on that page.· It says:· "The COTR is responsible for       24·   ·with the policy or with -- sorry, with the contract
    25·   ·monitoring the performance of work under this contract.     25·   ·terms.· That would need to be modified in the contract

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    ·1·   ·In no event, however, will any understanding, agreement,    ·1·   ·then in order for there to be proper signoff from ICE?
    ·2·   ·modification, change order or other matter deviating from   ·2·   · · · · ·A.· · In those cases, yes.
    ·3·   ·the terms and conditions of this contract be effective or   ·3·   · · · · · · · ·MR. SCIMONE:· Okay.· Let's go off the
    ·4·   ·binding upon the Government unless formalized by proper     ·4·   · · · · ·record.
    ·5·   ·contractual documents executed by the Contracting           ·5·   · · · · · · · ·(Recess from 3:08 p.m. to 3:11 p.m.)
    ·6·   ·Officer."· Do you see that?                                 ·6·   · · · · · · · ·(Plaintiff Exhibit No. 18 was marked for
    ·7·   · · · · ·A.· · Yes.                                          ·7·   · · · · ·identification.)
    ·8·   · · · · ·Q.· · Does that match your understanding of what    ·8·   ·BY MR. SCIMONE:
    ·9·   ·COTR is authorized to sign off on?                          ·9·   · · · · ·Q.· · All right.· I have one more short thing.
    10·   · · · · ·A.· · Yes.                                          10·   ·It should take maybe five minutes.
    11·   · · · · ·Q.· · Have you ever encountered a situation where   11·   · · · · ·A.· · Okay.
    12·   ·a COTR had signed off on something that you understood to   12·   · · · · ·Q.· · Okay.· You've been handed Exhibit 18, which
    13·   ·be in conflict with the contract?                           13·   ·is Bates stamped GEO_MEN 14702 through 717.· And just
    14·   · · · · ·A.· · I mean, I've encountered where the COTRs      14·   ·take a quick look and let me know if you recognize this
    15·   ·directed the facility to do something and the facilities    15·   ·document.
    16·   ·question and ask, "Is this contractually" -- "Can we        16·   · · · · ·A.· · It looks like an audit checklist or maybe
    17·   ·contractually do this without contracting officer and       17·   ·ACA checklist.· I'm not really sure, but it's somewhat
    18·   ·modification?"· In that instance, yes.                      18·   ·familiar.· Yeah.· It looks like an ACA checklist.
    19·   · · · · ·Q.· · We had an example earlier today with the      19·   · · · · ·Q.· · Okay.· So is it a checklist, do you think,
    20·   ·firearms --                                                 20·   ·related to an ACA audit?
    21·   · · · · ·A.· · Firearms, exactly.                            21·   · · · · ·A.· · It's either that or related to getting
    22·   · · · · ·Q.· · -- certification.                             22·   ·ready for an ACA audit.
    23·   · · · · · · · ·Okay.· So if a COTR -- okay.· So that's an    23·   · · · · ·Q.· · Okay.
    24·   ·example.· Is there a situation where the COTR had           24·   · · · · ·A.· · So I'm not really sure which one.· Well, it
    25·   ·authorized something that then was put into effect before   25·   ·says "visiting community agency personnel," so I'm


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    ·1·   ·assuming it's an ACA audit.                                 ·1·   · · · · ·A.· · Yes.
    ·2·   · · · · ·Q.· · So on the first page there's a box            ·2·   · · · · ·Q.· · And so do you have an understanding of what
    ·3·   ·called -- labeled "protocols," and below that "process      ·3·   ·the purpose of creating this memo is or was?
    ·4·   ·indicators."· Do you see that?                              ·4·   · · · · ·A.· · I can make assumptions that they were
    ·5·   · · · · ·A.· · Uh-huh, yes.                                  ·5·   ·documenting to the file how -- what type of compensation
    ·6·   · · · · ·Q.· · What is a process indicator as used here?     ·6·   ·was being met as far as the work program is concerned.
    ·7·   · · · · ·A.· · That's the backup documentation for the       ·7·   · · · · ·Q.· · And that's -- was that being done on your
    ·8·   ·actual policy or standard that they're trying to prove      ·8·   ·understanding in order to comply with the standard that
    ·9·   ·they're in compliance with.                                 ·9·   ·we just looked at?
    10·   · · · · ·Q.· · And can you tell from looking at this what    10·   · · · · ·A.· · Yes.
    11·   ·this audit is looking to verify on the -- we'll focus on    11·   · · · · ·Q.· · Are you aware -- one more question here.
    12·   ·the first page -- with respect to the policy?               12·   · · · · · · · ·So are you aware of any communications with
    13·   · · · · ·A.· · Under ALDF, inmates are compensated for       13·   ·ICE about using nonmonetary forms of incentive for
    14·   ·work performed with incentives such as, but not limited     14·   ·detainees performing work in the Aurora facility?
    15·   ·to: monetary, special housing, extra privileges, sentence   15·   · · · · ·A.· · I'm not aware of -- I'm sure -- I'm not
    16·   ·reductions (when allowed by statute).                       16·   ·aware of any.
    17·   · · · · ·Q.· · So they're -- go ahead.                       17·   · · · · ·Q.· · You haven't had those communication with
    18·   · · · · ·A.· · It's about the compensation for work          18·   ·ICE?
    19·   ·performed.                                                  19·   · · · · ·A.· · I haven't had communication, no.
    20·   · · · · ·Q.· · So they're trying to verify that those        20·   · · · · ·Q.· · And no one in your department has had, to
    21·   ·facts are true, that inmates are compensated in one of      21·   ·your knowledge?
    22·   ·these ways?                                                 22·   · · · · ·A.· · Exactly.
    23·   · · · · ·A.· · Under the work program, yes.                  23·   · · · · ·Q.· · And if there were a question about whether
    24·   · · · · ·Q.· · You understand that to be an ACA standard?    24·   ·or not that sort of nonmonetary incentive were permitted
    25·   · · · · ·A.· · Looks like it's an ACA standard.· For ALDF,   25·   ·under the contract, that's something you would expect to

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    ·1·   ·which would be Adult Local Detention Facility.              ·1·   ·flow through your office, correct?
    ·2·   · · · · ·Q.· · And that's a set of standards put out by      ·2·   · · · · ·A.· · Yes.
    ·3·   ·the ACA; is that right?                                     ·3·   · · · · · · · ·MR. SCIMONE:· Okay.· No further questions
    ·4·   · · · · ·A.· · Yes.· There's different standards for         ·4·   · · · · ·at this time.· We are going to hold the deposition
    ·5·   ·different types of facilities.                              ·5·   · · · · ·open pending production of documents that the
    ·6·   · · · · ·Q.· · If you can turn -- strike that.               ·6·   · · · · ·parties have been discussing.· And that's it.
    ·7·   · · · · · · · ·If you could turn to page 14708, it's a       ·7·   · · · · · · · ·MR. BARNACLE:· Okay.· I just have a quick
    ·8·   ·fairly short memo here.· This is -- it says "Memorandum"    ·8·   · · · · ·clarification question.
    ·9·   ·with the GEO logo at the top.· It's dated November 1,       ·9·   · · · · · · · · · · ·CROSS-EXAMINATION
    10·   ·2013.· Do you see that?                                     10·   ·BY MR. BARNACLE:
    11·   · · · · ·A.· · Yes.                                          11·   · · · · ·Q.· · Ms. Martin, can you go back to what was
    12·   · · · · ·Q.· · And it's a memo to the ACA file with a        12·   ·previously identified as Exhibit 3.
    13·   ·reference number here.· Do you see that?                    13·   · · · · ·A.· · Yes.
    14·   · · · · ·A.· · Yes.                                          14·   · · · · ·Q.· · I'm going to point your attention to the
    15·   · · · · ·Q.· · Okay.· And it's from Barbara Krumpelmann,     15·   ·e-mail at the very top from James Black to Cheryl Nelson.
    16·   ·Assistant Warden For Finance and Administration.· She was   16·   · · · · · · · ·Again, who is James Black?
    17·   ·the assistant warden at the Aurora facility at this time?   17·   · · · · ·A.· · He was the regional director for the
    18·   · · · · ·A.· · Yes.                                          18·   ·western region.
    19·   · · · · ·Q.· · Do you know Barbara Krumpelmann?              19·   · · · · ·Q.· · Do you understand this e-mail was in
    20·   · · · · ·A.· · Yes.                                          20·   ·relation to the request that there be quarterly firearm
    21·   · · · · ·Q.· · Okay.· And the memo says:· "Detainees do      21·   ·certifications as opposed to annual?
    22·   ·not receive compensation in the form of special housing,    22·   · · · · ·A.· · Yes.
    23·   ·extra privileges, or sentence reduction(s).· They are       23·   · · · · ·Q.· · And in this top e-mail, Mr. Black says to
    24·   ·compensated at the rate of $1.00 per day when entered       24·   ·Cheryl Nelson:· "I am still of the opinion that we don't
    25·   ·into the work program."· Do you see that?                   25·   ·do anything without either being directed to by Amber or


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                                                                       · · · · · · · · · ·CERTIFICATE OF OATH
    ·1·   ·a contract mod."· Do you see that?
    ·2·   · · · · ·A.· · Yes.
    ·3·   · · · · ·Q.· · Do you remember how that issue resolved       THE STATE OF FLORIDA )

    ·4·   ·itself?
    ·5·   · · · · ·A.· · Yes.· There was a contract mod.               COUNTY OF PALM BEACH )

    ·6·   · · · · ·Q.· · Okay.· In reading this language "we don't
    ·7·   ·do anything without either being directed to by Amber or    · · · · · · · I, the undersigned authority, certify that

    ·8·   ·a contract mod," is Mr. Black talking about you having
    ·9·   ·sort of unilateral authority to make a change?              AMBER MARTIN personally appeared before me and was duly

    10·   · · · · ·A.· · No.· He's talking about the fact that I'm
    11·   ·the one that negotiates the modifications with ICE, and     sworn on the 9th day of October, 2019.

    12·   ·if I say go ahead and do something, it's because we've
    13·   ·already negotiated the modification.· It's ICE's final      · · · · · · · Signed this 23rd day of October, 2019.

    14·   ·authority, not mine.
    15·   · · · · · · · ·MR. BARNACLE:· All right.· I don't have       · · · · · · · _________________________________
    16·   · · · · ·anything further.
    17·   · · · · · · · ·MR. SCIMONE:· Okay.· Me either.               · · · · · · · Nancy Cannizzaro, RMR
    18·   · · · · · · · ·Thank you, Ms. Martin.· I appreciate your
    19·   · · · · ·time today.· I hope you feel better.                · · · · · · · Notary Public - State of Florida
    20·   · · · · · · · ·MR. SCIMONE:· Regular with a rough.
    21·   · · · · · · · ·MR. BARNACLE:· Regular with a rough would     · · · · · · · My Commission No. FF988509
    22·   · · · · ·be great.· Thank you.
    23·   · · · · · · · ·THE COURT REPORTER:· I will attach the
                                                                       · · · · · · · My Commission Expires: May 16, 2020
    24·   · · · · ·exhibits to the transcript.
    25·   · · · · · · · ·(Thereupon, the reading and signing of this

                                                          Page 207                                                            Page 209
    ·1· · · · · ·deposition was waived.                                · · · · · · · · ·CERTIFICATE OF REPORTER

    ·2· · · · · · · · ·The proceedings concluded at 3:21 p.m.)
                                                                       THE STATE OF FLORIDA )
    ·3

    ·4                                                                 COUNTY OF PALM BEACH )

    ·5
                                                                       · · · · · · · I, Nancy Cannizzaro, Registered Merit
    ·6

    ·7                                                                 Reporter, certify that I was authorized to and did

    ·8
                                                                       stenographically report the foregoing deposition of AMBER
    ·9
                                                                       MARTIN, pages 1 through 207; that a review of the
    10

    11
                                                                       transcript was requested; and that the transcript is
    12
                                                                       a true and complete record of my stenographic notes.
    13

    14                                                                 · · · · · · · I further certify that I am not a relative,
    15
                                                                       employee, attorney, or counsel of any of the parties, nor
    16

    17                                                                 am I a relative or employee of any of the parties'

    18
                                                                       attorneys or counsel connected with the action, nor am I
    19

    20                                                                 financially interested in the action.

    21
                                                                       · · · · · · · DATED this 23rd day of October, 2019.
    22

    23                                                                 · · · · · · · _____________________________

    24
                                                                       · · · · · · · Nancy Cannizzaro, RMR
    25




                                                    U.S. LEGAL SUPPORT                                            EXHIBIT 1
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Case 5:17-cv-02514-JGB-SHK DocumentAmber
                                    210-1 Martin
                                          Filed 11/04/19 Page 55 of 55 Page ID
                                October
                                   #:4223 09, 2019                    210 to 211
                                                             Page 210
    ·1· · ·I have read the foregoing transcript of

    ·2· ·my deposition given on October 9, 2019, and

    ·3· ·it is true, correct and complete, to the best

    ·4· ·of my knowledge, recollection and belief,

    ·5· ·except for the corrections noted hereon

    ·6· ·and/or list of corrections, if any, attached

    ·7· ·on a separate sheet herewith.

    ·8

    ·9

    10

    11

    12· · · · · · · · · · ·________________________

    13· · · · · · · · · · ·AMBER MARTIN

    14

    15

    16

    17· · · · · · Subscribed and sworn to

    18· · · · · · before me this _____ day

    19· · · · · · of ________________, 2019.

    20

    21

    22· · · · · · ___________________________

    23· · · · · · Notary Public

    24

    25



                                                             Page 211
    ·1

    ·2· · · · · · · · E R R A T A· S H E E T

    ·3· · · · · ·I, AMBER MARTIN, do hereby certify that I

    ·4· ·have read the foregoing transcript of my testimony, and

    ·5· ·further certify that it is a true and accurate record

    ·6· ·of my testimony (with the exception of the corrections

    ·7· ·listed below).

    ·8· ·PAGE· LINE· · CORRECTION

    ·9· ·____· ____· · ______________________________________

    10· ·____· ____· · ______________________________________

    11· ·____· ____· · ______________________________________

    12· ·____· ____· · ______________________________________

    13· ·____· ____· · ______________________________________

    14· ·____· ____· · ______________________________________

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    23· ·____· ____· · ______________________________________

    24

    · · ·__________· · · · · · · ·___________________________

    25· ·Date· · · · · · · · · · ·AMBER MARTIN




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